                          UNITED STATES DEPARTMENT OF THE AIR FORCE

                   MASTER DEVELOPMENT AND MANAGEMENT AGREEMENT

                    FOR THE PRIVATIZATION OF MILITARY FAMILY HOUSING

             (Continental Group – Edwards AFB, Eielson AFB, Eglin AFB, Hurlburt Field,
                            McConnell AFB, and Seymour Johnson AFB)



                                               Between

                                THE UNITED STATES OF AMERICA
                                   ACTING BY AND THROUGH
                               THE SECRETARY OF THE AIR FORCE

                                                 and

                                CORVIAS AIR FORCE LIVING, LLC
                                 a Delaware limited liability company




                                    Dated as of September 1, 2013




     MDMA - Continental
     FINAL
USAF 000108




        Case 4:20-cv-00034-HRH
                EXH. 4 - USAF MasterDocument  107-4
                                     Development & MgmtFiled 03/04/22
                                                        Agreement       Page 1 of 97
                                                                  with CAFL
                                         Page 1 of 97
                                                  TABLE OF CONTENTS

                                                                                                                            Page

     ARTICLE I     DEFINITIONS AND INTERPRETATION.......................................................2
          Section 1.1  Definitions...............................................................................................2
          Section 1.2  General Rules of Construction.................................................................9
          Section 1.3  Agreement Term ...................................................................................10

     ARTICLE II DESCRIPTION OF THE PROJECT ...............................................................10
          Section 2.1 The Structure and Purpose of the Project ...............................................10
          Section 2.2 [RESERVED.........................................................................................11
          Section 2.3 AF Project Documents...........................................................................11

     ARTICLE III PROJECT DEVELOPMENT AND CONSTRUCTION..................................11
          Section 3.1 Incorporation of Documents ..................................................................11
          Section 3.2 Control of Development and Construction Phasing and Timing .............12
          Section 3.3 Changes to Construction Phasing and Timing........................................13
          Section 3.4 Separate General Contractors and Construction Administration.............13
          Section 3.5 Specific Project Design Agreements ......................................................13
          Section 3.6 NDSUs..................................................................................................16
          Section 3.7 Non-Performing NDSUs .......................................................................18

     ARTICLE IV PROJECT OPERATION AND MANAGEMENT ..........................................18
          Section 4.1 Separate Management Agents and Local Administration .......................18
          Section 4.2 Insurance Requirements.........................................................................18
          Section 4.3 Construction Insurance Requirements....................................................20
          Section 4.4 Insurance Policy Requirements..............................................................20
          Section 4.5 Use of Insurance Proceeds.....................................................................21
          Section 4.6 Renters Insurance ..................................................................................21
          Section 4.7 Reporting Provisions .............................................................................22

     ARTICLE V PROJECT FINANCING .................................................................................25
          Section 5.1 Single Lockbox Agreement ...................................................................25
          Section 5.2 Annual Project Budget and Annual Audit ..............................................25
          Section 5.3 Direct Loan Funding Requirements .......................................................25
          Section 5.4 Restrictions on Private Financing ..........................................................25
          Section 5.5 Intercreditor Agreement.........................................................................25
          Section 5.6 Liens and Mortgages .............................................................................25

     ARTICLE VI DEFAULT PROVISIONS ..............................................................................27
          Section 6.1 Events of Default...................................................................................27
          Section 6.2 [Reserved ..............................................................................................28
          Section 6.3 Remedies and Termination Rights .........................................................28
          Section 6.4 MDMA Event of Default Qualifications ................................................28


                                                                   i
     MDMA - Continental
     FINAL
USAF 000109

            Case 4:20-cv-00034-HRH
                    EXH. 4 - USAF MasterDocument  107-4
                                         Development & MgmtFiled 03/04/22
                                                            Agreement       Page 2 of 97
                                                                      with CAFL
                                                          Page 2 of 97
                                                     TABLE OF CONTENTS
                                                                                                                                       Page

               Section 6.5         Disputes ................................................................................................28
               Section 6.6         Excusable Delays ..................................................................................29
               Section 6.7         Approved Mortgagee Rights..................................................................30
               Section 6.8         Approved Mortgagee Rights in the Event of Termination ......................31

      ARTICLE VII ASSIGNMENT AND SUCCESSORS ............................................................32
           Section 7.1 Project Owner........................................................................................32
           Section 7.2 No Assignment ......................................................................................32
           Section 7.3 Permitted Transfers ...............................................................................34

      ARTICLE VIII INSTALLATION CLOSURE OPTION TO PURCHASE AND
                  REALIGNMENT..............................................................................................34
           Section 8.1 Base Closure or Realignment Provisions ...............................................34
           Section 8.2 Realignment ..........................................................................................35
           Section 8.3 Continuation of Lockbox Agreement .....................................................35
           Section 8.4 Effect of Exercise or Non-Exercise of Option to Purchase .....................35
           Section 8.5 Government Guaranty ...........................................................................35

      ARTICLE IX NOTICES .......................................................................................................36
           Section 9.1 Notices ..................................................................................................36
           Section 9.2 Notice Delivery .....................................................................................37

      ARTICLE X GENERAL PROVISIONS ..............................................................................38
           Section 10.1 No Joint Venture ...................................................................................38
           Section 10.2 Covenant against Contingent Fees .........................................................38
           Section 10.3 Officials Not to Benefit .........................................................................38
           Section 10.4 Facilities Nondiscrimination ..................................................................38
           Section 10.5 Gratuities...............................................................................................38
           Section 10.6 Equal Opportunity Clause......................................................................39
           Section 10.7 Remedies Cumulative; Failure of Government to Insist on
                         Compliance ...........................................................................................40
           Section 10.8 Headings or Titles .................................................................................40
           Section 10.9 Counterparts..........................................................................................40
           Section 10.10 Entire Agreement ..................................................................................40
           Section 10.11 Governing Law......................................................................................40
           Section 10.12 Partial Invalidity....................................................................................41
           Section 10.13 Identification of Government Agencies, Statutes, Programs and
                         Forms       .............................................................................................41
           Section 10.14 Approvals .............................................................................................41
           Section 10.15 Third Party Beneficiaries .......................................................................41
           Section 10.16 No Individual Liability of Party Officials...............................................41
           Section 10.17 Amendment ...........................................................................................41
           Section 10.18 Time of the Essence...............................................................................41




      MDMA - Continental
      FINAL
USAF 000110
         Case 4:20-cv-00034-HRH
                 EXH. 4 - USAF MasterDocument  107-4
                                      Development & MgmtFiled 03/04/22
                                                         Agreement       Page 3 of 97
                                                                   with CAFL
                                                              Page 3 of 97
                          UNITED STATES DEPARTMENT OF THE AIR FORCE


                   MASTER DEVELOPMENT AND MANAGEMENT AGREEMENT

                    FOR THE PRIVATIZATION OF MILITARY FAMILY HOUSING

        (CONTINENTAL GROUP— Edwards AFB, Eielson AFB, Eglin AFB, Hurlburt Field,
                      McConnell AFB, and Seymour Johnson AFB)


            THIS MASTER DEVELOPMENT AND MANAGEMENT AGREEMENT (this
     “Agreement”) is made and entered into as of September 1, 2013 (the “Effective Date”), by and
     between THE UNITED STATES OF AMERICA, acting through the SECRETARY OF THE
     AIR FORCE (the “Government”), and CORVIAS AIR FORCE LIVING, LLC, a Delaware
     limited liability company (the “Project Owner”). The Government and Project Owner are
     sometimes herein collectively referred to as the “Parties” and individually as a “Party.”

                                           WITNESSETH:

            WHEREAS, the Government has elected to privatize as a single project certain housing
     resources located on six Air Force bases: Edwards AFB in Kern County, California; Eielson
     AFB in Fairbanks North Star Borough, Alaska; Eglin AFB in Okaloosa County, Florida;
     Hurlburt Field in Okaloosa County, Florida; McConnell AFB in Sedgwick County, Kansas; and
     Seymour Johnson AFB in Wayne County, North Carolina (together the “Installations” and each
     separately an “Installation”).

             WHEREAS, pursuant to the terms of Solicitation No. AFCEE-09-0001 Request for
     Qualifications (the “RFQ”), the Government solicited proposals for a project involving the
     transfer, development, design, demolition, construction, renovation, management, operation,
     repair, maintenance and replacement of housing units and other buildings, structures,
     appurtenances, utility distribution systems and other improvements now or to be located on
     certain portions of the six Installations (collectively, the “Leased Premises Improvements”).
     The Leased Premises (as defined in the following Recital) and the Leased Premises
     Improvements are collectively the “Project.”

             WHEREAS, the RFQ contemplates that certain parcels on each of the Installations (as
     identified and more particularly described in Exhibits A-1 through A-6 hereto, and as modified
     from time to time in accordance with the Leases [as defined below] collectively, the “Leased
     Premises”), will be ground-leased to the Project Owner pursuant to the terms of that certain
     Department of the Air Force Lease of Property on Edwards Air Force Base, Kern County,
     California (Lease Number AFMC-ED-1-13-001); that certain Department of the Air Force Lease
     of Property on Eielson Air Force Base, Fairbanks North Star Borough, Alaska (Lease Number
     FTQW-13-2-0001); that certain Department of the Air Force Lease of Property on Eglin Air
     Force Base, Okaloosa County, Florida (Lease Number FTFA-EG-1-11-007); that certain
     Department of the Air Force Lease of Property on Hurlburt Field, Okaloosa County, Florida
     (Lease Number FTFA-EG-1-11-008), that certain Department of the Air Force Lease of Property


     MDMA - Continental
     FINAL
USAF 000111
            Case 4:20-cv-00034-HRH
                    EXH. 4 - USAF MasterDocument  107-4
                                         Development & MgmtFiled 03/04/22
                                                            Agreement       Page 4 of 97
                                                                      with CAFL
                                             Page 4 of 97
     on McConnell Air Force Base, Sedgwick County, Kansas (Lease Number
     O/LEA/AMC/MCC/11-0008); and that certain Department of the Air Force Lease of Property on
     Seymour Johnson Air Force Base, Wayne County, North Carolina (Lease Number USAF-ACC-
     VKAG-3-13-013), (together the “Leases” and each separately a “Lease”), that the existing
     Leased Premises Improvements within the Leased Premises will be conveyed by quitclaim deed
     to the Project Owner by the Government and that the Project will be developed and operated
     pursuant to the terms of this Agreement, the Leases and the other AF Project Documents (as
     hereinafter defined) executed by the Government, the Project Owner and others.

             WHEREAS, the RFQ further contemplates that the Project will be financed (a) by one or
     more loans made to the Project Owner by the Senior Lender which will be secured by first lien
     position trust deeds or mortgage liens on the Leased Premises Improvements and the leasehold
     interest of the Project Owner in the Leased Premises and a security interest in certain Project
     Receipts and (b) by a Government-funded direct loan to the Project Owner secured by a second
     lien position trust deed or mortgage on the Leased Premises Improvements and the leasehold
     interest of the Project Owner in the Leased Premises and security interests in certain Project
     Receipts.

              WHEREAS, the Project Owner has submitted the Selected Proposal.

            WHEREAS, certain of the terms of the Selected Proposal for the development,
     management and financing of the Project must be reflected in an agreement that coordinates
     certain development and management provisions across all Installations, all AF Project
     Documents and all Project Financing Documents.

             WHEREAS, the Government and the Project Owner have agreed to the terms of this
     Agreement, which are intended to reflect certain terms and conditions of the Project and to
     assure that the Project will be owned, financed and operated as one economic project
     notwithstanding the location of Leased Premises and Leased Premises Improvements in several
     states and notwithstanding the use of separate Leases and certain separate Project Financing
     Documents.

              NOW, THEREFORE, it is mutually covenanted and agreed as follows:

                                               ARTICLE I.

                               DEFINITIONS AND INTERPRETATION

             Section 1.1     Definitions. Capitalized terms used but not otherwise defined herein
     shall have the meanings set forth below:

              “65% Plans” shall have the meaning set forth in Section 3.5.6.

              “90% Plans” shall have the meaning set forth in Section 3.5.6.

              “100% Plans” shall have the meaning set forth in Section 3.5.6.


                                                    2
     MDMA - Continental
     FINAL
USAF 000112
            Case 4:20-cv-00034-HRH
                    EXH. 4 - USAF MasterDocument  107-4
                                         Development & MgmtFiled 03/04/22
                                                            Agreement       Page 5 of 97
                                                                      with CAFL
                                               Page 5 of 97
              “ADR” shall have the meaning set forth in Section 6.5.1.

              “AF Project Documents” shall have the meaning set forth in Section 2.3.1.

            “Affiliate” means, as to any Person, any other Person that, directly or indirectly,
     Controls, is Controlled by, or is under common Control with such Person.

            “Agreement” shall have the meaning set forth in the Preamble and shall include any
     modifications, amendments, supplements or restatements from time to time.

              “Agreement Term” shall have the meaning set forth in Section 1.3.

             “Applicable Law” means all federal, state and local laws, rules, regulations, orders,
     ordinances, and other governmental standards and requirements which are applicable to the
     Project Owner or the Project during the Agreement Term.

            “Approved Mortgagee” means a lender who is an “Approved Mortgagee” as defined in
     Section 5.6.2.

              “Approved Mortgagee Affiliate” shall have the meaning set forth in Section 5.6.5.

           “Approving Parties” shall have the meaning set forth in Section 1.01 of the Lockbox
     Agreement.

              “Base Closure Act” shall have the meaning set forth in Section 8.1.

            “Base Release Parcels” shall mean any one of the parcels designated as a “Base Release
     Parcel” in the Leases for Eglin AFB, Hurlburt Field, or McConnell AFB.

              “Books and Records” shall have the meaning set forth in Section 4.7.5.

           “BRAC Parcels” means the Leased Premises on an Installation that is the subject of a
     Congressional BRAC Approval.

             “Capital Repair and Replacement Plan” means the plan by that name attached as an
     exhibit to and incorporated by reference in the Project Operating Agreement, as amended and
     supplemented from time to time.

            “Community Development Plan” means the plan by that name attached as an exhibit to
     and incorporated by reference in the Project Operating Agreement, as amended and
     supplemented from time to time.

           “Completion Date” shall have the meaning set forth in Section 1.01 of the Lockbox
     Agreement.

              “Congressional BRAC Approval” shall have the meaning set forth in Section 8.1.




                                                    3
     MDMA - Continental
     FINAL
USAF 000113
            Case 4:20-cv-00034-HRH
                    EXH. 4 - USAF MasterDocument  107-4
                                         Development & MgmtFiled 03/04/22
                                                            Agreement       Page 6 of 97
                                                                      with CAFL
                                               Page 6 of 97
            “Construction Management Plan” means the plan by that name attached as an exhibit
     to and incorporated by reference in the Project Operating Agreement, as amended and
     supplemented from time to time.

            “Contracting Officer” shall mean the Person designated in writing by the Government
     to take those actions of a contracting officer under the Contract Disputes Act of 1978, as
     amended (41 U.S.C. §601 et seq.).

            “Control” (and the co-relative terms “Controlling,” “Controlled by,” and “under
     common Control with”) means the possession, directly or indirectly, of the power to direct or
     cause the direction of the management and policies of a Person, whether through the ownership
     of outstanding securities, equity, or other beneficial ownership interests, by contract or
     otherwise.

              “CPA” shall have the meaning set forth in Section 4.7.3.

             “Demolition Debt Service Coverage Ratio Requirement” shall have the meaning set
     forth in Section 1.01 of the Lockbox Agreement.

              “Demolition Requirement Notice” shall have the meaning set forth in Section 3.6.

            “Demolition Reserve Account” means the account by that name established pursuant to
     the Lockbox Agreement.

              “Design Criteria” shall have the meaning set forth in Section 3.5.1.

              “Design Criteria Exception Notice” shall have the meaning set forth in Section 3.5.7.

            “Development Phasing Schedule” means the schedule by that name attached to and
     incorporated by reference in the Construction Management Plan, as amended and supplemented
     from time to time.

           “Direct Loan” means the loan by the Government to the Project Owner pursuant to the
     Forward Commitment in the principal amount of Two Hundred One Million Two Hundred
     Thousand and No/100 Dollars ($201,200,000.00) for the purpose of financing part of the Project.

            “Direct Loan Documents” means the promissory note and note rider, the leasehold
     mortgages/deeds of trust and leasehold mortgage/deed of trust riders, the UCC-1 financing
     statements and the guaranty of recourse obligations, each in the form attached to the Forward
     Commitment as Exhibits C-1 through C-6 thereto, the Intercreditor Agreement, and all other
     documents executed in connection with the Direct Loan, as the same may be amended or
     modified in accordance with their terms.

              “Effective Date” shall have the meaning set forth in the Preamble.

              “Eligible Tenant” shall have the meaning set forth in Section 4.6.



                                                    4
     MDMA - Continental
     FINAL
USAF 000114
            Case 4:20-cv-00034-HRH
                    EXH. 4 - USAF MasterDocument  107-4
                                         Development & MgmtFiled 03/04/22
                                                            Agreement       Page 7 of 97
                                                                      with CAFL
                                                Page 7 of 97
             “Embargoed Person” means (a) a Person described in Section 1 of U.S. Executive Order
     13224, issued September 23, 2001, or otherwise designated by the U.S. Department of
     Treasury’s Office of Foreign Assets Control as a “Specially Designated National or Blocked
     Person” or otherwise has been designated by such Office as a Person (i) with whom an entity
     organized under the laws of the United States (or a state thereof) is prohibited from entering into
     transactions or (ii) from whom such an entity is prohibited from receiving money or other
     property or (b) any Person located in, or operating from, a country or territory that is subject to
     U.S. economic sanctions. The term “Embargoed Person” shall include any Person Controlled by
     an Embargoed Person.

              “Equal Opportunity Clause” shall have the meaning set forth in Section 10.6(a).

              “Environmental Allowance” shall have the meaning set forth in Section 3.5.9.

              “Environmental Requirements Costs” shall have the meaning set forth in Section3.5.9.

              “Estimated Cost Report” shall have the meaning set forth in Section 3.6.1.

              “Event of Default” shall have the meaning set forth in Section 6.1.

              “Excusable Delay” shall have the meaning set forth in Section 6.6.

              “Facility” shall have the meaning set forth in Section 10.4.

              “Final Dispute Decision” shall have the meaning set forth in Section 6.5.6.

              “Final Plans” shall have the meaning set forth in Section 3.5.1.

              “Final Plan Decision” shall have the meaning set forth in Section 3.5.7.

            “Fiscal Year” means the fiscal year of the Project Owner, which is the 12-month period
     ending December 31 of each calendar year.

             “Forward Commitment” means the Forward Commitment to fund the Direct Loan
     executed concurrently with this Agreement, from the Government and accepted and agreed to by
     the Project Owner, as amended and supplemented from time to time.

              “GAAP” shall have the meaning set forth in Section 4.7.3.

              “Government” shall have the meaning set forth in the Preamble.

            “Hazardous Materials Management Plan” means the plan by that name attached to and
     incorporated by reference in the Environmental Management Plan, as amended and
     supplemented from time to time.

              “Housing Design Plans” shall have the meaning set forth in Section 3.5.1.

              “Installation” and “Installations” shall have the meanings set forth in the Recitals.

                                                     5
     MDMA - Continental
     FINAL
USAF 000115
            Case 4:20-cv-00034-HRH
                    EXH. 4 - USAF MasterDocument  107-4
                                         Development & MgmtFiled 03/04/22
                                                            Agreement       Page 8 of 97
                                                                      with CAFL
                                                Page 8 of 97
              “Installation Commander” means the commander of an Installation.

             “Intercreditor Agreement” means that certain Intercreditor Agreement dated as of the
     Effective Date among the Government, the Senior Lender, and the Project Owner, as amended
     and supplemented from time to time.

            “Lease” and “Leases” shall have the meanings set forth in the Recitals; provided that, for
     the purposes of this Agreement, the term shall also include each new lease of the Leased
     Premises entered into by the Government, as lessor, and an Approved Mortgagee, as lessee, in
     accordance with Section 6.8.4.

            “Lease Event of Default” means any “Event of Default” as that term is defined in
     Condition 7.1 of each of the Leases.

             “Lease Expiration Date” means the date on which a Lease terminates in accordance
     with its terms.

              “Leased Premises” shall have the meaning set forth in the Recitals.

              “Leased Premises Improvements” shall have the meaning set forth in the Recitals.

             “Lease Term” means, with respect to each Lease, the period from the Term Beginning
     Date through the Term Expiration Date, both of which are disclosed in Condition 1.1 of the
     Leases.

           “Lockbox Agent” shall have the meaning set forth in Section 1.01 of the Lockbox
     Agreement.

           “Lockbox Agreement” means that certain Lockbox Agreement dated as of the Effective
     Date among the Government, Project Owner, Senior Lender, and the Lockbox Agent, as
     amended and supplemented from time to time.

             “Lockbox Revenue Account” means the Regular Units Revenue Account or NDSU
     Revenue Account, as applicable, established pursuant to Section 5.01 of the Lockbox Agreement
     and more fully described in Section 5.02 of the Lockbox Agreement or both accounts
     collectively, as the context may require.

              “Mandatory Clauses” shall have the meaning set forth in Section 3.1.1.

              “MDMA Event of Default” shall have the meaning set forth in Section 6.1.1.

              “Mortgagee’s Right to Postpone” shall have the meaning set forth in Section 6.8.1.

              “New AF Project Documents” shall have the meaning set forth in Section 6.8.4.

              “NDSU” shall have the meaning set forth in Section 3.6.

              “NDSU Demolition Plan” shall have the meaning set forth in Section 3.6.1.

                                                    6
     MDMA - Continental
     FINAL
USAF 000116
            Case 4:20-cv-00034-HRH
                    EXH. 4 - USAF MasterDocument  107-4
                                         Development & MgmtFiled 03/04/22
                                                            Agreement       Page 9 of 97
                                                                      with CAFL
                                               Page 9 of 97
            “NDSU Parcels” shall mean, with respect to each Leased Premises containing NDSUs,
     those parcels identified as “NDSU Parcels” in the applicable Leases.

              “Notice to Proceed” shall have the meaning set forth in Section 3.5.8.

            “Operating Expenses” shall have the meaning set forth in Section 1.01 of the Lockbox
     Agreement for “NDSU Operating Expenses” or “Regular Unit Operating Expenses” or both, as
     applicable.

           “Other Eligible Tenant” means any tenant other than a Target Tenant that is a permitted
     occupant of a housing unit in the Project pursuant to the Unit Occupancy Plan.

              “Party” and “Parties” shall have the meanings set forth in the Preamble.

            “Person” means any natural person, firm, joint venture, limited liability company,
     association, trust, partnership, corporation, public body or other legal entity.

              “Personal Default” shall have the meaning set forth in Section 6.7(d).

              “Phase” shall have the meaning set forth in Condition 17.2 of each Lease.

              “Plan Alterations” shall have the meaning set forth in Section 3.5.3.

              “Plan Dispute” shall have the meaning set forth in Section 3.5.7.

             “Privatized Housing Community” means the portion of the Project located on or near
     an Installation.

              “Project” shall have the meaning set forth in the Recitals.

           “Project Budget” shall have the meaning set forth in Section 1.01 of the Lockbox
     Agreement.

              “Project Debt” means the debt evidenced by the Project Financing Documents.

            “Project Financing Documents” means, collectively, the Senior Loan Documents and
     the Direct Loan Documents.

             “Project Operating Agreement” means the Project Operating Agreement dated as of the
     Effective Date between the Government and the Project Owner, and all exhibits thereto, as
     amended or modified from time to time.

             “Project Owner” means Corvias Air Force Living, LLC, a Delaware limited liability
     company, and any of its successors or assigns approved by the Government, as provided in
     Article VII of this Agreement.

           “Project Receipts” shall have the meaning given to such term in Section 1.01 of the
     Lockbox Agreement.

                                                     7
     MDMA - Continental
     FINAL
USAF 000117
           Case 4:20-cv-00034-HRH     Document
                    EXH. 4 - USAF Master         107-4
                                         Development     Filed
                                                     & Mgmt     03/04/22
                                                            Agreement      Page 10 of 97
                                                                      with CAFL
                                                Page 10 of 97
              “Project Term” shall have the meaning set forth in Section 4.2.

             “Project Termination Extension Date” shall have the meaning set forth in Section
     6.8.1.2.

              “Purchase Option” shall have the meaning set forth in Section 8.1.

              “Purchase Option Agreement” shall have the meaning set forth in Section 8.1.

              “Qualified Insurers” shall have the meaning set forth in Section 4.4.

            “Quitclaim Deed” means each Quitclaim Deed dated as of the Effective Date executed
     by the Government and conveying to the Project Owner the Leased Premises Improvements
     described therein.

           “Regular Units” shall have the meaning set forth in Section 1.01 of the Lockbox
     Agreement.

              “Reinvestment Study” shall have the meaning set forth in Section 3.6.4.

              “RFQ” shall have the meaning set forth in the Recitals.

            “Secretary” means the Secretary of the Air Force or his or her authorized representative,
     representing the United States Government.

             “Selected Proposal” means the document by that name attached to the Selected Proposal
     Certification.

             “Selected Proposal Certification” means the certificate executed by the Project Owner
     and the Government as of the date therein disclosed to which a true, complete and correct copy
     of the Selected Proposal is attached.

            “Senior Lender” means the holder of the Senior Loan, its successors and assigns
     pursuant to the Senior Loan Agreement. The initial Senior Lender is Pacific Life Insurance
     Company, a Nebraska corporation.

           “Senior Loan” means collectively the construction to permanent loan and bridge loan
     made by the Senior Lender to the Project Owner in the original principal amount of Two
     Hundred Forty-Six Million Three Hundred Thousand and no/100 Dollars ($246,300,000.00).

           “Senior Loan Documents” shall have the meaning set forth in Section 1.01 of the
     Lockbox Agreement.

              “Site Design Plans” shall have the meaning set forth in Section 3.5.1.

            “Soils Management Plan” means the plan by that name attached as an exhibit to and
     incorporated by reference in the Project Operating Agreement, as amended and supplemented
     from time to time.

                                                    8
     MDMA - Continental
     FINAL
USAF 000118
           Case 4:20-cv-00034-HRH     Document
                    EXH. 4 - USAF Master         107-4
                                         Development     Filed
                                                     & Mgmt     03/04/22
                                                            Agreement      Page 11 of 97
                                                                      with CAFL
                                               Page 11 of 97
              “Supplemental Reinvestment Plan” shall have the meaning set forth in Section 3.6.4.

            “Target Tenant” means (a) an active duty member of a Uniformed Service and such
     member’s family who are authorized to reside in a family housing unit on the Installation or (b)
     an individual designated by the Government as “key and essential personnel” and such
     individual’s family who are authorized to reside in a family housing unit on the Installation.

              “Tenant” means each Target Tenant and Other Eligible Tenant.

            “Tenant Lease” means the appropriate form of residential lease attached to the Project
     Operating Agreement, as such form is amended or supplemented from time to time.

              “Termination Notice” shall have the meaning set forth in Section 6.3(b).

              “Unassisted Negotiations” shall have the meaning set forth in Section 6.5.2.

           “Uniformed Services” shall have the meaning set forth in 10 U.S.C. § 101(a)(5), as
     amended from time to time.

            “Unit Occupancy Plan” means the plan by that name attached as an exhibit to and
     incorporated by reference in the Project Operating Agreement, as amended and supplemented
     from time to time.

              Section 1.2     General Rules of Construction.

                          (a)     The singular form of any word used herein, including the terms
     defined in Section 1.1 hereof, shall include the plural, and vice versa, unless the context
     otherwise requires. The use herein of a pronoun of any gender shall include correlative words of
     the other genders.

                             (b)     All references herein to “Articles,” “Sections,” and other
     subdivisions hereof are to the corresponding Articles, Sections or subdivisions of this Agreement
     as originally executed; and the words “herein,” “hereof,” “hereunder” and other words of similar
     import refer to this Master Development and Management Agreement as a whole and not to any
     particular Article, Section, or subdivision hereof.

                            (c)     The headings or titles of the several Articles and Sections hereof,
     and any table of contents appended to copies hereof, shall be solely for convenience of reference
     and shall not limit or otherwise affect the meaning, construction or effect of this Agreement or
     describe the scope or intent of any provisions hereof.

                            (d)    Every “request,” “order,” “demand,” “application,” “appointment,”
     “notice,” “statement,” “certificate,” “consent,” or similar action hereunder by any party shall,
     unless the form thereof is specifically provided, be in writing signed by a duly authorized
     representative of such party with a duly authorized signature.




                                                    9
     MDMA - Continental
     FINAL
USAF 000119
           Case 4:20-cv-00034-HRH     Document
                    EXH. 4 - USAF Master         107-4
                                         Development     Filed
                                                     & Mgmt     03/04/22
                                                            Agreement      Page 12 of 97
                                                                      with CAFL
                                               Page 12 of 97
                             (e)    The Parties acknowledge that each of them and their respective
     counsel have participated in the drafting and revision of this Agreement. Accordingly, the
     Parties agree that any rule of construction that disfavors the drafting Party shall not apply in the
     interpretation of this Agreement or any amendment or supplement or exhibit hereto or thereto.

                            (f)  The terms “Leased Premises” and “Leased Premises
     Improvements” as used herein shall by definition be amended as and when Base Release Parcels
     or NDSU Parcels are released from the property subject to the Leases pursuant to execution and
     recordation of Amendment and Partial Release agreements in accordance with, and as such terms
     are defined in, the Leases.

            Section 1.3      Agreement Term. This Agreement shall be effective from the Effective
     Date through and including the date that is ninety (90) days following the date on which the last
     Lease in effect terminates in accordance with the terms of such Lease (subject to the rights of an
     Approved Mortgagee to a new Lease in accordance with the terms of Section 6.8.4 hereof);
     provided, however, that such date shall be at least 366 days subsequent to the Project Owner’s
     payment and performance in full of the Project Debt (the “Agreement Term”).

                                                ARTICLE II.

                                   DESCRIPTION OF THE PROJECT

             Section 2.1      The Structure and Purpose of the Project. The Project consists of the
     transfer, development, demolition, design, construction, renovation, management, operation,
     maintenance, repair and replacement of housing units and other buildings, structures,
     appurtenances, utility distribution systems and other improvements now or to be located on
     Leased Premises within the boundaries of the Installations. The existing Leased Premises
     Improvements are identified and more particularly described in the Quitclaim Deeds dated as of
     the Effective Date from the Government to the Project Owner. The Government and Project
     Owner have combined the Leased Premises and the Leased Premises Improvements from the
     Installations into one economic project and the Project is being financed as one economic
     project. As a single economic project, Project Receipts from each of the Privatized Housing
     Communities that comprise the Project will be commingled and used to construct Leased
     Premises Improvements or to pay debt service and Operating Expenses arising from the
     construction or operation of Leased Premises Improvements on any of the Installations; provided
     that Regular Units Project Receipts shall be segregated from NDSU Project Receipts and
     deposited in separate accounts pertaining to the Regular Units or NDSU, as applicable, and as
     more particularly set forth in the Lockbox Agreement. Nevertheless, the Government and
     Project Owner acknowledge that certain agreements and plans are specific to the Privatized
     Housing Community at an individual Installation. Notwithstanding the fact that certain of the
     AF Project Documents therefore refer to Installation-specific agreements and plans and
     notwithstanding any inconsistent provision in any of the AF Project Documents, the Government
     and the Project Owner agree that the Project will be owned, financed, developed and managed as
     one economic project, subject to the distinctions between Regular Units and NDSU set forth
     herein and in the Lockbox Agreement and other AF Project Documents. This Agreement
     includes certain of the agreements of the Parties relating to the Project, certain provisions that are

                                                    10
     MDMA - Continental
     FINAL
USAF 000120
           Case 4:20-cv-00034-HRH     Document
                    EXH. 4 - USAF Master         107-4
                                         Development     Filed
                                                     & Mgmt     03/04/22
                                                            Agreement      Page 13 of 97
                                                                      with CAFL
                                                Page 13 of 97
     necessary to coordinate provisions contained in Installation-specific AF Project Documents, and
     certain Project financing requirements that affect the terms of the Project Financing Documents.

              Section 2.2      [RESERVED]

              Section 2.3      AF Project Documents.

                     2.3.1 Identification of AF Project Documents. The documents listed on
     Exhibit B to this Agreement, any other documents executed subsequent to the Effective Date by
     both the Government and Project Owner (and other Persons, if applicable) in connection with the
     Project and any exhibits to them, as the same may be amended or modified from time to time,
     collectively are referred to in this Agreement as the “AF Project Documents.” The AF Project
     Documents do not include the Project Financing Documents.

                     2.3.2 Interpretation of AF Project Documents. Provisions of the AF Project
     Documents may affect or describe only one of the Privatized Housing Communities comprising
     the Project. Such provisions shall not be deemed to limit the scope of the Project to a single
     Installation or Privatized Housing Community, and all such comparable provisions shall be read
     together along with the terms of and attachments to other AF Project Documents to set forth in
     full the description and requirements of the Project. The provisions of the AF Project
     Documents shall be deemed to refer to the Project as fully described and involving all
     Installations and Privatized Housing Communities comprising the Project unless the specific
     context indicates that the provision applies only to a single Installation or Privatized Housing
     Community.

                    2.3.3 Inconsistent Provisions. The provisions of this Agreement shall be
     deemed incorporated into and to amend any other AF Project Document (other than the Lockbox
     Agreement) to the extent any provision in such document is inconsistent with this Agreement.
     The provisions of the Lockbox Agreement control over any inconsistent provisions in this
     Agreement. Notwithstanding anything in this Section 2.3.3 to the contrary, in the event of an
     inconsistency between or among a Lease, the Project Operating Agreement and the Selected
     Proposal, the Project Operating Agreement shall prevail over the Selected Proposal, and such
     Lease shall prevail over each of the Project Operating Agreement and the Selected Proposal.

                                             ARTICLE III.

                            PROJECT DEVELOPMENT AND CONSTRUCTION

              Section 3.1      Incorporation of Documents.

                    3.1.1 Incorporation of Selected Proposal. The Selected Proposal is hereby
     incorporated into and made a part of this Agreement. The Mandatory Clauses listed in Appendix
     N of the RFQ are incorporated into this Agreement by reference. The Project Owner shall
     demolish, design, construct, renovate, replace, own, operate and maintain the Project in
     accordance with the Selected Proposal.



                                                 11
     MDMA - Continental
     FINAL
USAF 000121
           Case 4:20-cv-00034-HRH     Document
                    EXH. 4 - USAF Master         107-4
                                         Development     Filed
                                                     & Mgmt     03/04/22
                                                            Agreement      Page 14 of 97
                                                                      with CAFL
                                             Page 14 of 97
                    3.1.2 Incorporation of Project Operating Agreement. The Project Operating
     Agreement is hereby incorporated into and made a part of this Agreement. The Project
     Operating Agreement sets forth certain detailed procedures and requirements to be followed by
     the Project Owner in constructing, renovating, operating and maintaining the Project. Each of
     the Leases provides that the Project Owner shall construct, renovate, operate and maintain the
     Project in accordance with each of the following plans included as attachments to the Project
     Operating Agreement:

                         Construction Management Plan (including the QC Plan and the Demolition Plan)
                         Rental Rate Management Plan
                         Unit Occupancy Plan
                         Property Operations and Management Plan (including the General Landscape
                          Specification, the Snow Ice Management Specification, and the Emergency
                          Disaster Response)
                         Facilities Maintenance Plan
                         Capital Repair and Replacement Plan
                         Reinvestment Plan
                         Utilities Services Plan
                         Final Plans (plans and specifications to be attached upon acceptance by the
                          Government)
                         Community Development Plan (including Appendix A [Site Plans] and Appendix
                          B [Renovation Scopes]
                         Severability Plan (for each Installation)
                         Environmental Management Plan
                         Transition Plan
                         Financial and Fee Management Plan (including the Property Tax Elimination
                          Plan)
                         Historic Preservation Plan
                         Energy and Sustainability Plan
                         Resident Responsibility Guides for each Installation
                         NDSU Plan
                         Leases for Military/Non-Military Tenants

             Section 3.2     Control of Development and Construction Phasing and Timing. The
     Construction Management Plan and Community Development Plan are a consolidated
     development and construction plan for the entire Project, and include, in part, demolition,
     construction, and housing transition plans and schedules for each Installation. Notwithstanding
     any inconsistent provision in any of the Leases, the requirements of the Construction
     Management Plan and Community Development Plan may not be modified, amended or waived
     without the express written consent of the Government, the Senior Lender (to the extent required
     by the Senior Loan Documents) and the Project Owner. None of the plans for a specific
     Privatized Housing Community may be modified in any manner that is inconsistent with the
     Construction Management Plan or the Community Development Plan without the express
     written consent of the Government and the Senior Lender (to the extent required by the Senior


                                                      12
     MDMA - Continental
     FINAL
USAF 000122
           Case 4:20-cv-00034-HRH     Document
                    EXH. 4 - USAF Master         107-4
                                         Development     Filed
                                                     & Mgmt     03/04/22
                                                            Agreement      Page 15 of 97
                                                                      with CAFL
                                                  Page 15 of 97
     Loan Documents). The failure of the Project Owner to construct the Leased Premises
     Improvements on any of the Leased Premises in accordance with the Construction Management
     Plan and the Community Development Plan, as the same may be modified, amended or waived
     from time to time in accordance with this Agreement, will be subject to the default, cure,
     Excusable Delay, remedies and termination provisions of the Lease applicable to such Leased
     Premises and Section 6.8.4 hereof.

             Section 3.3      Changes to Construction Phasing and Timing. Notwithstanding any
     inconsistent provision in any of the Leases, the Government may agree with the Project Owner to
     modify the Construction Management Plan or the Community Development Plan and thereby
     change the work included in Phases or the phasing or timing of community development,
     demolition or construction activities on each of the Installations and Leased Premises. Such
     amendments to the Construction Management Plan or the Community Development Plan
     approved by the Government and reflected in a written amendment to the Construction
     Management Plan or the Community Development Plan signed by the Government and the
     Project Owner shall be binding between the Parties and shall be deemed incorporated into the
     affected Leases. The Construction Management Plan and Community Development Plan may
     not be changed by any Installation officials.

             Section 3.4      Separate General Contractors and Construction Administration.
     As reflected in the AF Project Documents, the Project Owner shall be permitted to use separate
     contractors or builders for work on each of the Installations. The consent of the Government for
     the Project Owner to use separate contractors or builders for portions of the Project shall not
     modify the Project Owner’s responsibilities under the AF Project Documents or change the
     scope of the Project. Construction and development activities may be administered separately
     with respect to each of the Installations under the terms and conditions of the applicable Lease,
     subject to the terms of this Agreement. The Project Owner agrees to engage contractors and
     builders to construct portions of the Project in accordance with any applicable requirements of
     the Construction Management Plan and the Community Development Plan, the applicable
     Leases and this Agreement, including without limitation, the Mandatory Clauses. In the event
     that any contractor or builder fails to comply with its contract and such failure also constitutes a
     failure by Project Owner to comply with the terms of any Lease, the Project Owner agrees to
     take actions reasonably designed to avoid a Lease Event of Default, including actions necessary
     to enforce the terms of the contract with the contractor or builder and, if a cure cannot be
     effected by such contractor or builder, actions necessary to terminate and replace the defaulting
     contractor or builder. Government consent to the substitution of a replacement contractor or
     builder with reasonable financial and construction qualifications will not be withheld
     unreasonably if such substitution is reasonably necessary to cure the failure of performance.

            Section 3.5      Specific Project Design Agreements. The Project Owner agrees to the
     following additional development and construction provisions:

                    3.5.1 Each of the Leases requires that any renovation or construction of the
     Leased Premises Improvements shall be completed as specified in the Construction Management
     Plan and Community Development Plan and in accordance with housing design plans and
     specifications (“Housing Design Plans”) and site design plans and specifications (which shall


                                                   13
     MDMA - Continental
     FINAL
USAF 000123
           Case 4:20-cv-00034-HRH     Document
                    EXH. 4 - USAF Master         107-4
                                         Development     Filed
                                                     & Mgmt     03/04/22
                                                            Agreement      Page 16 of 97
                                                                      with CAFL
                                               Page 16 of 97
     include utilities systems and landscaping and be referred to hereinafter as the “Site Design
     Plans”) that satisfy all “Design Criteria.” As used in this Agreement and in each Lease the term
     “Design Criteria” shall mean: (i) the housing and site design requirements set forth in Section
     3.3 of the RFQ (which Section 3.3 is incorporated herein by this reference); (ii) the housing and
     site design features and components included in the Selected Proposal; and (iii) the building
     codes and standards identified in Exhibit F to the applicable Lease; provided, however, only the
     desired features identified in Section 3.3 of the RFQ which are included in the Selected Proposal
     shall be Design Criteria. The term “Final Plans” shall mean any or all of the Housing Design
     Plans and Site Design Plans that are 100% complete. The Final Plans must satisfy the Design
     Criteria. The Design Criteria shall control any inconsistencies between the Final Plans and the
     Design Criteria unless the Government otherwise expressly agrees in writing.

                     3.5.2 All Housing Design Plans and Site Design Plans shall be submitted to the
     Government for review to confirm they are consistent with the Design Criteria. Final Plans and,
     to the extent required by Applicable Law, any other Housing Design Plans and Site Design
     Plans, submitted for Government review shall be prepared, signed and certified by a duly
     qualified architect or duly qualified engineer registered in the State where the Leased Premises
     Improvements are located or are to be located and shall include, where applicable, foundation,
     framing and structural component drawings signed and sealed by a licensed structural engineer.
     A construction schedule consistent with the Construction Management Plan and Community
     Development Plan for completion of the Leased Premises Improvements covered by such plans
     and a written statement of the elements, if any, of such plans, which deviate from the Design
     Criteria, must be submitted with the plans.

                      3.5.3 If at any time the Project Owner wants to propose changes to Housing
     Design Plans, Site Design Plans or Final Plans previously submitted to the Government, the
     Project Owner shall submit the proposed changes (“Plan Alterations”) to the Government. Plan
     Alterations must be prepared, and, to the extent required by Applicable Law, signed and certified
     by a duly qualified architect or duly qualified engineer registered in the State where the Leased
     Premises Improvements are located or are to be located and shall include, where applicable,
     foundation, framing and structural component drawings signed and sealed by a licensed
     architect, civil or structural engineer.

                   3.5.4 Any architect or structural engineer who signs any of the Housing Design
     Plans, Site Design Plans or Plan Alterations must be employed by the Project Owner or an
     approved contractor of the Project Owner.

                  3.5.5 The Government acknowledges and agrees that it has received and
     reviewed the Housing Design Plans and Site Design Plans identified in Exhibit C and the
     Government believes such plans are consistent with the Design Criteria except as noted in the
     comments referenced in Exhibit C.

                    3.5.6 The Project Owner shall submit Housing Design Plans and Site Design
     Plans to the Government in accordance with Section 1.4.1 of the Construction Management Plan.
     For any Housing Design Plans or Site Design Plans that are at least sixty-five percent (65%)
     complete (the “65% Plans”), ninety percent (90%) complete (the “90% Plans”) and one


                                                  14
     MDMA - Continental
     FINAL
USAF 000124
           Case 4:20-cv-00034-HRH     Document
                    EXH. 4 - USAF Master         107-4
                                         Development     Filed
                                                     & Mgmt     03/04/22
                                                            Agreement      Page 17 of 97
                                                                      with CAFL
                                             Page 17 of 97
     hundred percent (100%) complete (“100 % Plans”) the Government shall complete its review
     within twenty (20) days following delivery of them to the Government; provided, however, if
     any such Housing Design Plans include fittings, fixtures or finishes, then the Government shall
     complete its review within thirty (30) days. Simultaneously with the delivery of the 90 % Plans,
     the Project Owner shall obtain feedback from contractors and/or design professionals on such
     plans and thereafter, prepare and promptly submit the 100% Plans. Within fifteen (15) days of
     the delivery of each of the 65% Plans, the 90% Plans and the 100% Plans the Project Owner and
     Government shall meet at a mutually agreed upon time to review and discuss such plans. If the
     Government has not responded to a request by the Project Owner for approval of any proposed
     Housing Design Plans or Site Design Plans within the time period applicable hereunder, the
     Project Owner may provide notice to the Government to the effect that if the Government fails to
     act upon any such proposed plans within ten (10) Business Days following such notice, or such
     longer time period as the parties shall agree upon, the applicable Housing Design Plans or Site
     Design Plans shall be deemed approved.

                    3.5.7 If the Government believes that any of the Housing Design Plans, Site
     Design Plans or Plan Alterations submitted to it for its review is not consistent with the Design
     Criteria or Housing Design Plans, Site Design Plans or Plan Alterations previously accepted by
     the Government, then the Government shall provide prompt written notice to the Project Owner
     of such inconsistency and any corrective action proposed by the Government (a “Design
     Criteria Exception Notice”). If within twenty (20) days after delivery to the Project Owner of a
     Design Criteria Exception Notice the Project Owner and the Government are unable to agree on
     whether the plans satisfy the Design Criteria (a “Plan Dispute”), then such Plan Dispute shall be
     resolved in accordance with the procedures set forth in Section 6.5 and shall be referred to in this
     Agreement as a “Final Plan Decision.” If a Final Plan Decision is adverse to the Project Owner,
     then the Project Owner shall revise the applicable plan(s) as required by the Final Plan Decision
     and submit them to the Government within fourteen (14) days (or such later date agreed to in
     writing by the Government) following its receipt of the Final Plan Decision.

                    3.5.8 Within two weeks after the Government provides written confirmation to
     the Project Owner of its receipt of the Final Plans for all Leased Premises Improvements for any
     Phase of the Project (or a smaller portion of the Leased Premises Improvements as may be
     approved by the Government) identified in the Construction Management Plan or such other date
     mutually agreed to by the Parties, the Government will, subject to Project Owner’s continued
     compliance with this Agreement, the Leases and the other AF Project Documents, issue written
     authorization for the Project Owner to proceed with the construction of such Leased Premises
     Improvements (“Notice to Proceed”).

                    3.5.9 The Parties acknowledge that the presence of organochlorine pesticide
     residues, if any. at the Leased Premises as of the Effective Date will require management in
     accordance with the Soils Management Plan for each Installation but for which the extent of
     management and the full cost have not been determined as of the Effective Date. The Parties
     further acknowledge that the Project Owner has included $9,500,000 in its development budget
     as an allowance for use (a) in part to identify, investigate, and if required by Environmental
     Requirements or otherwise agreed to by the Government, to remediate or dispose of the pesticide
     residue and (b) in general, to comply with and/or address Environmental Requirements in the


                                                   15
     MDMA - Continental
     FINAL
USAF 000125
           Case 4:20-cv-00034-HRH     Document
                    EXH. 4 - USAF Master         107-4
                                         Development     Filed
                                                     & Mgmt     03/04/22
                                                            Agreement      Page 18 of 97
                                                                      with CAFL
                                               Page 18 of 97
     course of the development of the Project, as provided in Condition 10 of each Lease (the
     “Environmental Allowance”). The costs incurred in assessing and addressing Environmental
     Requirements at the Leased Premises and Leased Premises Improvements are hereinafter
     referred to as the “Environmental Requirements Costs.” The Parties agree that if the amount
     of the Environmental Allowance is less than the Environmental Requirements Costs, and to the
     extent that there are not amounts available to the Project Owner within the development budget
     or elsewhere to be used to pay such additional costs, the Project Owner and the Government
     shall negotiate in good faith such modifications to the scope of the Project as may be required to
     offset the excess Environmental Requirements Costs.

             Section 3.6      NDSUs. The Government may, in its sole and absolute discretion,
     deliver to the Project Owner at any time after the Completion Date written notice (a “Demolition
     Requirement Notice”) of the Government’s election to require the Project Owner to demolish
     all or any portion of the Leased Premises Improvements located on one or more NDSU Parcels
     (individually an “NDSU” and collectively the “NDSUs”). The Government agrees that it (i) will
     not issue a Demolition Requirement Notice more frequently than once in any three year period
     with respect to the NDSUs or NDSU Parcel(s) at a particular Installation and (ii) will not issue a
     Demolition Requirement Notice unless it has received from the Project Owner a certification
     pursuant to Section 5.22(a) of the Lockbox Agreement that the Demolition Debt Service
     Coverage Ratio Requirement is satisfied.

                     3.6.1 Within ninety (90) days after the Project Owner’s receipt of a Demolition
     Requirement Notice issued by the Government pursuant to Section 3.6, the Project Owner shall
     provide to the Government (a) a report prepared by a construction and demolition expert
     approved by the Government, such approval not to be unreasonably withheld or delayed, which
     report details and estimates (as of the time of the report, given that the costs of removal and
     restoration may change between the date the report is submitted and the date the removal and
     restoration is actually performed) the cost of removing the NDSUs as identified in the
     Demolition Requirement Notice and restoring the land upon which such NDSUs were located
     (the “Estimated Cost Report”), and (b) a written plan that sets forth how the Project Owner
     proposes to accomplish such removal and restoration work, including without limitation a
     proposed schedule for completing such work, in accordance with the requirements of the AF
     Project Documents (each an “NDSU Demolition Plan”); provided, that, the Project Owner will
     not be required to prepare an NDSU Demolition Plan if the available funds in the Demolition
     Reserve Account are less than the estimated cost of removal and restoration as set forth in the
     consultant’s report unless the Government agrees to make up any shortfall in the Demolition
     Reserve Account with available funds from the Reinvestment Account (as that term is defined in
     the Lockbox Agreement). The NDSU Demolition Plan shall also address any necessary
     relocation of tenants from the NDSUs as identified in the Demolition Requirement Notice, any
     title, survey, subdivision or similar costs that will be incurred as a result of the Demolition
     Requirement Notice and the subsequent release of the affected NDSU Parcel(s) from the affected
     Lease(s) as provided in Section 3.6.3 below; such relocation costs shall be paid from the
     Demolition Reserve Account.

                     3.6.2 The Project Owner shall not undertake any removal or restoration work
     until it receives the Government’s written approval of the applicable NDSU Demolition Plan;


                                                  16
     MDMA - Continental
     FINAL
USAF 000126
           Case 4:20-cv-00034-HRH     Document
                    EXH. 4 - USAF Master         107-4
                                         Development     Filed
                                                     & Mgmt     03/04/22
                                                            Agreement      Page 19 of 97
                                                                      with CAFL
                                              Page 19 of 97
     provided, that the Government shall not approve any NDSU Demolition Plan if there are
     insufficient funds immediately available in the Demolition Reserve Account to pay for the total
     cost of work under such plan, unless the Government agrees to fund any shortfall in the
     Demolition Reserve Account with available funds from the Reinvestment Account. Within
     thirty (30) days following receipt of the Government’s written approval of any NDSU
     Demolition Plan, which approval shall be a matter within the Government’s sole and absolute
     discretion, the Project Owner shall provide to the Government payment and performance bonds
     as set forth below and thereafter commence and diligently pursue to completion such work in
     accordance with the requirements of the NDSU Demolition Plan and the AF Project Documents.
     Each of the payment and performance bonds to be provided by the Project Owner pursuant to
     this Section 3.6.2 must: (i) be issued by a Qualified Surety; (ii) be in a form satisfactory to the
     Government and any Approved Mortgagee; (iii) be in the amount of the total cost of performing
     such removal and restoration work, as such cost is stipulated in the contract between the Project
     Owner and its general contractor; (iv) guarantee the performance of the contract for the removal
     and restoration work in accordance with the approved NDSU Demolition Plan and the contract;
     and (v) provide that the Government, the Project Owner and any Approved Mortgagee are dual
     obligees on such bonds, as their respective interests may appear.

                    3.6.3 If required by the Government in its sole and absolute discretion, the
     Government and Project Owner shall execute an Amendment and Partial Release for the
     applicable NDSU Parcels in accordance with Condition 1.4 of the applicable Leases upon the
     Project Owner’s completion to the reasonable satisfaction of the Government of any demolition
     and restoration required pursuant to an approved NDSU Demolition Plan.

                     3.6.4 Five (5) years prior to the required mid-term renovation of the Leased
     Premises Improvements at the Installations that still include NDSU Parcels, or such earlier date
     as may be mutually agreed to by the Government and the Project Owner, the Project Owner shall
     engage a consultant, approved by the Government, to conduct a study to recommend whether
     reinvestment in any of the remaining NDSUs would be financially beneficial to the Project (the
     “Reinvestment Study”). If after reviewing the Reinvestment Study, the Government and the
     Project Owner mutually agree that reinvestment in some or all of the NDSUs would be beneficial
     to the Project, the Project Owner shall provide to the Government a reinvestment plan for the
     affected Leased Premises Improvements, including such NDSUs for which it is agreed that
     reinvestment would be beneficial (the “Supplemental Reinvestment Plan”). Upon the approval
     of the Supplemental Reinvestment Plan by the Government (which approval may be withheld in
     the Government’s sole and absolute discretion), the rights of the Government pursuant to this
     Section 3.6 to require the Project Owner to demolish those NDSUs that will be improved by the
     Project Owner pursuant to the approved Supplemental Reinvestment Plan shall terminate. The
     Government shall provide notice to the Lockbox Agent to transfer to the Reinvestment Account
     any funds in the Demolition Reserve Account reserved for the demolition of the NDSUs to be
     either improved or demolished pursuant to the approved Supplemental Reinvestment Plan. If
     after reviewing the Reinvestment Study the Government determines, in its sole and absolute
     discretion, that reinvestment in the NDSUs would not be in the Government’s best interests, then
     the Supplemental Reinvestment Plan shall not include the improvement of the NDSUs, but may
     include the demolition of the NDSUs. The Government shall retain its right to require the
     Project Owner to demolish all or any portion of the NDSUs that are not demolished pursuant to

                                                   17
     MDMA - Continental
     FINAL
USAF 000127
           Case 4:20-cv-00034-HRH     Document
                    EXH. 4 - USAF Master         107-4
                                         Development     Filed
                                                     & Mgmt     03/04/22
                                                            Agreement      Page 20 of 97
                                                                      with CAFL
                                              Page 20 of 97
     the approved Supplemental Reinvestment Plan at any time that funds are available in the
     Demolition Reserve Account to pay for such demolition and any other approved associated costs.

             Section 3.7      Non-Performing NDSUs. If (a) the ratio of NDSU Project Receipts to
     NDSU Operating Expenses falls below 1.1 to 1 for two consecutive calendar months and (b) the
     Government has not sent a Demolition Requirement Notice to the Project Owner pursuant to
     Section 3.6 above, then the Project Owner and Government shall meet at a mutually agreed upon
     time to review and discuss whether the Project Owner should develop a plan to temporarily or
     permanently remove all or a portion of the NDSUs from the inventory of available housing on
     one or more of the Installations with NDSUs. If the Parties conclude such a plan is needed, the
     plan shall disclose how and the extent to which the NDSUs at the affected Installation(s) will be
     protected and preserved, as practicable, so they remain available for occupancy if demand for
     housing subsequently increases and the costs of implementing the plan. The Government may
     approve or reject the Project Owner’s plan in the Government’s sole discretion. If the plan is
     approved by the Government, the costs required to remove the affected NDSUs from available
     inventory and preserve the affected NDSUs shall be paid from the Demolition Reserve Account,
     and to the extent necessary, from the Reinvestment Account with the consent of the Government.

                                             ARTICLE IV.

                           PROJECT OPERATION AND MANAGEMENT

             Section 4.1       Separate Management Agents and Local Administration. To the
     extent approved by the Government and reflected in the AF Project Documents, the Project
     Owner may use separate management agents for operation of each Privatized Housing
     Community. The consent of the Government to use separate management agents for one or more
     of the Privatized Housing Communities shall not modify the Project Owner’s responsibilities
     under the AF Project Documents or change the scope of the Project. Operation, leasing,
     management, repair, renovation and utility plans and related activities will be administered
     separately with respect to each Privatized Housing Community under the terms and conditions of
     the Project Operating Agreement and each applicable Lease, subject to the terms of this
     Agreement. The Project Owner agrees to engage management agents to operate and manage the
     Privatized Housing Communities comprising the Project in accordance with the requirements of
     this Agreement, the Leases and the other AF Project Documents. In the event that any
     management agent fails to comply with its contract and such failure also constitutes a failure by
     the Project Owner to comply with the terms of this Agreement, any Lease or any other AF
     Project Document, the Project Owner agrees to take actions reasonably designed to avoid a
     Lease Event of Default, including actions necessary to enforce the terms of the contract with the
     management agent and, if a cure cannot be effected by such management agent, actions
     necessary to terminate and replace the defaulting management agent. Government consent to the
     substitution of a replacement management agent with reasonable financial and operations
     qualifications will not be withheld unreasonably if such substitution is reasonably necessary to
     cure the failure of performance.

           Section 4.2     Insurance Requirements. Until the earlier of (a) the date on which the
     Government terminates the last to be terminated of the Leases or (b) the last Lease Expiration

                                                  18
     MDMA - Continental
     FINAL
USAF 000128
           Case 4:20-cv-00034-HRH     Document
                    EXH. 4 - USAF Master         107-4
                                         Development     Filed
                                                     & Mgmt     03/04/22
                                                            Agreement      Page 21 of 97
                                                                      with CAFL
                                             Page 21 of 97
     Date to occur under any of the Leases (the “Project Term”), the Project Owner, at no expense to
     the Government, shall provide and maintain the following insurance:

                     4.2.1 All-risk property insurance, including 12 months’ business interruption
     insurance and loss of rents for actual loss sustained with an extended period of indemnity of 180
     days, on a replacement cost basis, with no coinsurance, for full replacement value of all Leased
     Premises Improvements; provided that “actual cash value” shall be deemed sufficient for Leased
     Premises Improvements, including NDSUs, scheduled to be demolished and not replaced during
     the initial development period of the Project. The replacement value of the Leased Premises
     Improvements shall be (a) determined by the Project Owner after consultation with its insurance
     advisors and (b) approved by the Government, such approval not to be unreasonably withheld.
     Upon written request of the Project Owner, which request shall not be made more than once in
     any 24 month period unless substantial changes have been made to the Leased Premises
     Improvements, the replacement value of the Leased Premises Improvements may be adjusted
     with the Government’s approval. Such insurance shall have: (i) an all risk and other non-
     catastrophic perils deductible no greater than $50,000, unless otherwise approved in writing by
     the Government; (ii) earthquake (including sinkhole), sprinkler leakage, flood, windstorm and
     Named Windstorm, sewer backup, boiler, and machinery coverage with commercially
     reasonable limits and deductibles in the current market for similarly situated residential housing
     developments as approved by the Government; (iii) terrorism insurance if commercially
     available at reasonable rates; and (iv) ordinance or law coverage to include portions of the
     Project’s undamaged building(s), demolition of building(s) and building(s) increased cost of
     construction.

                            4.2.1.1 Crime Insurance in an amount not less than $1,000,000 per
     claim to include loss of third party property.

                      4.2.2 Commercial general liability insurance, on an occurrence basis, insuring
     against claims for bodily injury, death and property damage, occurring upon, in or about any of
     the Leased Premises including any building thereon and adjoining sidewalks, streets and
     passageways. Such insurance is to be effective at all times throughout the Lease Term of each
     applicable Lease, with a deductible no greater than $250,000, unless otherwise approved in
     writing by the Government, with limits of not less than $20,000,000 per occurrence, general
     aggregate and products and completed operations aggregate and shall include coverage for fire,
     legal liability and medical payments. Any general aggregate shall apply on a per location or per
     Installation basis. The Government and any Approved Mortgagee shall be named as additional
     insureds. This coverage may be provided under primary liability and umbrella excess liability
     policies and shall include: (i) business auto liability insurance which insures against claims for
     bodily injury and property damage arising from the use of “any auto” with a combined single
     limit of $1,000,000 per accident; (ii) environmental liability or pollution legal liability insurance,
     which includes coverage for mold, to the extent available at commercially reasonable rates; and
     (iii) underground storage tank environmental insurance for any underground storage tanks
     located on any of the Leased Premises and owned by the Project Owner; and (iv) directors and
     officers liability insurance (claims-made policy form). Limits of environmental policies, if
     available, shall be determined and approved by the Government. All liability policies shall be
     primary and non-contributory to any insurance maintained by the Government or any Approved


                                                    19
     MDMA - Continental
     FINAL
USAF 000129
           Case 4:20-cv-00034-HRH     Document
                    EXH. 4 - USAF Master         107-4
                                         Development     Filed
                                                     & Mgmt     03/04/22
                                                            Agreement      Page 22 of 97
                                                                      with CAFL
                                                Page 22 of 97
     Mortgagee. The insurance carried and maintained by the Project Owner pursuant to this section
     shall provide coverage to protect the Government from any damage and liability for which the
     Project Owner is liable or responsible or agrees to hold harmless and indemnify the Government
     under this Agreement, any Lease or any other AF Project Document.

                   4.2.3 Professional liability insurance in the amount of no less than $5,000,000
     per claim and annual aggregate. Such insurance is to be effective at all times throughout the
     term of this Agreement and for two (2) years following the expiration or earlier termination of
     this Agreement, with respect to all aspects of the Project involving the transfer, development,
     design, demolition, construction, renovation, management, operation, repair, maintenance and
     replacement of housing units and other buildings, structures, appurtenances, utility systems and
     other improvements.

             Section 4.3    Construction Insurance Requirements. During the Project Term, the
     Project Owner either shall carry and maintain the insurance required below at its expense, or
     shall require any contractor performing work on any of the Leased Premises to carry and
     maintain such insurance at no expense to the Government:

                   4.3.1 Commercial general liability and business auto liability insurance
     provided for in Section 4.2.2 shall be maintained for the limits specified thereunder and shall
     provide coverage for the mutual benefit of the Project Owner, the Government and any
     Approved Mortgagee as additional insureds.

                    4.3.2 All-risk builder’s risk insurance required by Section 4.2.1 which, if not
     then covered under the provisions of existing policies, shall be covered by special endorsement
     thereto or through a separate policy complying with the requirements of Section 4.2.1 in respect
     to any improvements, structures, alterations, or additions to or installations during the
     construction period, including all materials and equipment therefor, incorporated in, on or about
     any of the Leased Premises (including excavations, foundations, and footings); and

                   4.3.3 Workers compensation or similar insurance covering all persons employed
     in connection with the applicable work on the Project and with respect to whom death or bodily
     injury claims could be asserted against the Government or the Project Owner, in form and
     amounts required by law (statutory limits) and employers’ liability with limits of $1,000,000
     each coverage and policy limit.

              Section 4.4     Insurance Policy Requirements. All policies of insurance that this
     Agreement requires the Project Owner to carry and maintain or cause to be carried or maintained
     pursuant to this Article IV shall be effected under valid and enforceable policies, in such forms
     and amounts as may, from time to time, be required under this Agreement, issued by Qualified
     Insurers (as defined below). “Qualified Insurers” are insurers authorized to do business in
     states where the Leased Premises are located. The Qualified Insurers for a majority of the
     coverage shall have a long-term unsecured debt rating from AM Best of no lower than A-/VIII or
     better. All policies issued by the respective insurers for commercial general liability insurance,
     all-risk property insurance, and crime insurance provided for above in this Agreement shall be
     for the mutual benefit of the Government, any Approved Mortgagee and the Project Owner and


                                                  20
     MDMA - Continental
     FINAL
USAF 000130
           Case 4:20-cv-00034-HRH     Document
                    EXH. 4 - USAF Master         107-4
                                         Development     Filed
                                                     & Mgmt     03/04/22
                                                            Agreement      Page 23 of 97
                                                                      with CAFL
                                              Page 23 of 97
     will name the Government and any Approved Mortgagee as additional insureds or loss payees as
     to their respective interests. All required insurance policies shall be reasonably satisfactory to
     the Government and provide that: (a) any losses shall be payable notwithstanding any act or
     failure to act or negligence of the Project Owner, the Government, any Approved Mortgagee or
     any other person; (b) no cancellation, reduction in amount, or material change in coverage
     thereof shall be effective until at least sixty (60) days after receipt by the Government and any
     Approved Mortgagee of written notice thereof; and (c) provide that the insurer shall have no
     right of subrogation against the Government or any Approved Mortgagee. In no circumstances
     will the Project Owner be entitled to assign to any third party rights of action that the Project
     Owner may have against the Government. Notwithstanding the foregoing, any cancellation of
     insurance coverage based on nonpayment of the premium shall be effective upon ten (10) days’
     written notice to the Government and any Approved Mortgagee. The Project Owner understands
     and agrees that cancellation of any insurance coverage required to be carried and maintained by
     the Project Owner under this Agreement will constitute a failure to comply with the terms of this
     Agreement and each Lease, and the Government shall have the right to exercise remedies under
     this Agreement and under each Lease for default and breach upon receipt of any such
     cancellation notice, but only if such noncompliance is not cured prior to cancellation of such
     insurance coverage. The Project Owner shall deliver or cause to be delivered upon execution of
     this Agreement (and thereafter not fewer than fifteen (15) days prior to the expiration date of
     each policy furnished pursuant to this Agreement), at the Government’s option, a certified copy
     of each policy of insurance required by this Agreement as soon as each such policy is made
     available by the insurer, or a certificate of insurance evidencing the insurance required by this
     Agreement, in a form acceptable to the Government and including such endorsements necessary
     to afford additional insured or loss payee status or evidence other conditions as required per
     provisions above, or both.

             Section 4.5      Use of Insurance Proceeds. Any insurance proceeds received as a
     result of any casualty loss to Leased Premises Improvements covered by a Lease shall be applied
     as set forth in Section 5.10 (with respect to Regular Units) or Section 5.21 (with respect to
     NDSUs) of the Lockbox Agreement.

             Section 4.6       Renters Insurance. At the time of the execution of each Tenant Lease,
     the Project Owner shall advise the Tenant in writing and the Tenant shall acknowledge in writing
     that neither the Government nor the Project Owner acts as an insurer of the personal property and
     leasehold improvements of the Tenant and that it is the sole responsibility of the Tenant to apply
     for and maintain at all times renters insurance. Project Owner shall make available renters
     insurance that satisfies the requirements set forth below to each Target Tenant and Other Eligible
     Tenant who is an active-duty service member (each, together with their family members who
     will reside in the housing unit identified in such Tenant’s Tenant Lease, herein referred to as an
     “Eligible Tenant.” The Project Owner shall make renters insurance available to Eligible
     Tenants as part of the Tenant Lease application process. The Project Owner shall confirm that
     the insurer providing such renters insurance uses commercially reasonable criteria to determine
     whether an Eligible Tenant qualifies for coverage. Renters insurance offered by the Project
     Owner and accepted by an Eligible Tenant shall be provided at the sole cost and expense of the
     Project Owner and shall be a comprehensive, named-peril replacement cost value policy with a
     replacement cost endorsement of no less than $20,000 per Eligible Tenant with liability coverage

                                                  21
     MDMA - Continental
     FINAL
USAF 000131
           Case 4:20-cv-00034-HRH     Document
                    EXH. 4 - USAF Master         107-4
                                         Development     Filed
                                                     & Mgmt     03/04/22
                                                            Agreement      Page 24 of 97
                                                                      with CAFL
                                              Page 24 of 97
     of $100,000 per family. The policy shall cover the personal property of, and leasehold
     improvements installed by, the Eligible Tenant on the Leased Premises or in the housing unit
     identified in the Tenant Lease executed by such Eligible Tenant, and insure against loss or
     damage caused by (i) theft, fire, lightning, windstorm, hail, explosion, riot or civil commotion,
     aircraft, vehicles, smoke, vandalism, malicious mischief, breakage, falling objects, ice, snow and
     sleet; (ii) water from an accidental plumbing or HVAC system discharge; (iii) the sudden and
     accidental tearing apart, cracking, burning, or bulging of an HVAC, fire prevention or sprinkler
     system or an appliance for heating water; (iv) frozen plumbing, HVAC or household appliances;
     and (v) electrical surges. Renters insurance may have a deductible of up to $250 per occurrence.
     Insured Eligible Tenants will be responsible for the payment of the deductible.

              Section 4.7    Reporting Provisions.

                    4.7.1 Record Keeping. At all times during the Agreement Term, the Project
     Owner shall maintain at its principal place of business or such other place as agreed by the
     Parties, a complete and accurate set of files, books and records of all business activities and
     operations conducted in connection with performance under the AF Project Documents. The
     Project Owner’s records and accounts shall reflect, with respect to each Privatized Housing
     Community, all items of revenue and expense allocable to the management and operation of such
     Privatized Housing Community, as well as information regarding the status of each such
     Privatized Housing Community including appraisal, title to improvements, marketing and other
     information as required. At all times during the Agreement Term, the Government may, at such
     reasonable times, inspect and request copies of any of the Project Owner’s records, files, reports,
     and related material pertaining to each Privatized Housing Community and the Project and to the
     performance by the Project Owner under the AF Project Documents.

                     4.7.2 Financial Reports. Within thirty (30) days after the end of each calendar
     quarter, the Project Owner shall prepare and deliver to the Government a quarterly financial
     report for each Privatized Housing Community and for the Project that includes: (i) an income
     statement, (ii) a balance sheet, (iii) statements of activity for the accounts and subaccounts
     governed by the Lockbox Agreement, (iv) proposed modifications to the approved Project
     Budget, and (v) a reconciliation of actual activity compared to budgeted activity for the accounts
     and subaccounts governed by the Lockbox Agreement. An authorized representative of the
     Project Owner shall certify to his or her knowledge after reasonable investigation that each of
     these statements as true and accurate. In lieu of these financial reports, the Government, in its
     sole discretion, may accept financial reports that are required by the Approved Mortgagee.

                      4.7.3 Annual Financial Information. Annual financial information shall
     include the auditor’s report, financial statements with notes thereto, financial statement
     supplementary information, the auditor’s management letter, the auditor’s engagement letter, the
     client’s letter to the auditor concerning related parties and related party transactions, the local
     property tax returns for the Privatized Housing Communities that comprise the Project (if any),
     and the federal income tax return for the Project Owner. The auditor’s management letter, the
     auditor’s report or the financial statements must disclose any illegal act noted by the auditor
     regardless of materiality. Financial statements shall be prepared on the basis of generally
     accepted accounting principles (“GAAP”) or on the basis used for the Project Owner’s federal


                                                   22
     MDMA - Continental
     FINAL
USAF 000132
           Case 4:20-cv-00034-HRH     Document
                    EXH. 4 - USAF Master         107-4
                                         Development     Filed
                                                     & Mgmt     03/04/22
                                                            Agreement      Page 25 of 97
                                                                      with CAFL
                                              Page 25 of 97
     income tax return. If the financial statements are prepared on the tax basis, then the footnotes
     must include all disclosures required by GAAP. The supplemental schedules must include the
     beginning and ending balances and activity within each cash and reserve account, and the
     amount of local property taxes paid or due or a statement that the identified Privatized Housing
     Community is not subject to such taxes. The supplemental schedule that includes property taxes
     must disclose the amount of property taxes that the Project Owner budgeted in its final pro forma
     submittal to the Government and the amount of actual property taxes paid. A supplemental
     schedule shall identify all owners of any interest in the Project Owner and the interest held by
     each. If the Project Owner or any owner of the Project Owner is a corporation, all officers and
     directors of such corporation should be disclosed in the schedule, and if the Project Owner or any
     owner is a limited liability company or partnership, all members and partners should be disclosed
     in the schedule. A supplemental schedule shall list the number of Target Tenants and the
     number of Other Eligible Tenants by month, the number of vacant housing units by month, the
     percentage of housing units rented to Target Tenants by month, the percentage of housing units
     rented to Other Eligible Tenants by month, and the percentage of housing units available for
     occupancy but vacant by month. The income tax return must be the federal income tax return of
     the Project Owner. The auditor must be a certified public accounting firm (“CPA”) that
     participates in the peer review program of the American Institute of Certified Public
     Accountants. The annual financial information and the auditor’s latest peer review report must
     be furnished directly by the CPA to the Government no later than three (3) months after the end
     of the Fiscal Year (or such longer period as may be agreed to by the Government in writing);
     provided that tax returns shall be furnished to the Government promptly after their filing.
     Compiled or reviewed financial statements shall not meet the requirements of this Section.

                    4.7.4 Customer Satisfaction Survey. The Project Owner, at its sole expense,
     shall administer, and comment upon the results of an annual Tenant satisfaction survey
     comprised of content and format to be provided to the Project Owner by the Government. The
     Project Owner shall use a marketing research firm acceptable to the Government to complete this
     task. The marketing research firm must provide self-addressed and stamped envelopes, comment
     cards, and a copy of the survey to each Tenant. The marketing research firm must analyze the
     data received from Tenants and compile Tenant comments in accordance with the evaluation
     procedures provided to it by the Government. The Project Owner shall comment on the survey
     responses and Tenant comments, and propose corrective actions if warranted.

                     4.7.5 Additional Record Keeping and Delivery. The Project Owner agrees
     that the Government, the Comptroller General of the United States or the Auditor General of the
     United States Air Force, or any of its duly authorized representatives, shall, until the expiration
     of three (3) years after the expiration or earlier termination of this Agreement, have access to and
     the right to examine any books, documents, papers, and records of the Project Owner involving
     transactions related to the Project. The Project Owner shall keep and maintain accurate, true, and
     complete books and records that shall fully reflect the financial condition, occupancy, physical
     condition, maintenance, and operational status of the Project, together with all business licenses
     and permits required to be kept and maintained pursuant to the provisions of any Applicable Law
     (collectively, the “Books and Records”). All Books and Records shall be kept at the Project
     Owner’s principal office, or at the Project headquarters, or at such other place as the Government
     and the Project Owner both agree upon in writing. A back-up set of the Books and Records shall

                                                   23
     MDMA - Continental
     FINAL
USAF 000133
           Case 4:20-cv-00034-HRH     Document
                    EXH. 4 - USAF Master         107-4
                                         Development     Filed
                                                     & Mgmt     03/04/22
                                                            Agreement      Page 26 of 97
                                                                      with CAFL
                                               Page 26 of 97
     be kept at a separate location. The Government may photocopy any of the Books and Records,
     at the sole expense of the Project Owner. The Project Owner shall deliver to the Government,
     upon such schedule as the Government may establish from time to time, and in such media,
     including electronic media as the Government shall select, all information and supporting
     documentation which the Project Owner has maintained, or which the Government needs to file
     any report to the Department of the Air Force, the Department of Defense, including but not
     limited to Program Evaluation Plan (PEP) reports (Executive Summary, Fact Sheet including
     Authorities Matrix, Risks and Protections Matrix, and Project Matrix), or required to be
     submitted by the Government to any governmental or nongovernmental agency, or which the
     Government needs to assess the financial condition, performance, occupancy, physical condition,
     maintenance and operational status of the Project. Such items shall: (a) be in a form satisfactory
     to the Government, (b) be certified to the Government as true, complete, and accurate in all
     material respects to his or her knowledge by the Project Owner representative signing such
     certification after due inquiry, and (c) be taken from the Books and Records. The Project Owner
     shall furnish promptly to the Government the following documents, statements, reports, and
     other information in the manner provided below:

                            4.7.5.1 Upon request: (i) a rent roll for the Project or any one of the
     Privatized Housing Communities comprising the Project showing the name of each Tenant, the
     housing unit occupied, the lease expiration date, the rent payable for the current month, and the
     date through which rent has been paid; (ii) a monthly property management report for each
     Privatized Housing Community, showing the number of inquiries made and rental applications
     received from prospective tenants and deposits received from Tenants, and materials relating to
     marketing and leasing efforts for each Privatized Housing Community; (iii) a monthly
     maintenance report for each Privatized Housing Community, showing the number of
     maintenance requests from Tenants and the disposition of such requests, maintenance records
     and expenditures, and any other information requested by the Government; (iv) within thirty (30)
     days after the end of each month in which the Project Owner has received notice that a default
     under a Lease has occurred and/or is continuing, monthly income statements for the Privatized
     Housing Community covered by such Lease, including calculations of net cash flow; and (v) any
     other information requested by the Government.

                          4.7.5.2 Within thirty (30) days after any tax filing related to the Project
     or Project Owner with the required federal, state or local agencies, such tax filing.

                           4.7.5.3 Within fifteen (15) days following Project Owner’s receipt of
     same, copies of any default or deficiency notice delivered to the Project Owner relating to the
     Project or Project Owner.

                           4.7.5.4 Within ten (10) days after receipt of a request by the
     Government (or such longer period of time as may be approved by the Government), such
     additional information relating to the Project or Project Owner, as reasonably requested by the
     Government.




                                                  24
     MDMA - Continental
     FINAL
USAF 000134
           Case 4:20-cv-00034-HRH     Document
                    EXH. 4 - USAF Master         107-4
                                         Development     Filed
                                                     & Mgmt     03/04/22
                                                            Agreement      Page 27 of 97
                                                                      with CAFL
                                              Page 27 of 97
                                              ARTICLE V.

                                        PROJECT FINANCING

             Section 5.1       Single Lockbox Agreement. One Lockbox Agreement will control all
     revenues and disbursements for the entire Project. The Lockbox Agreement has made provision
     for the collection in a single location of Project Receipts and for the disbursement from accounts
     established to assure the funding of essential Project requirements. All accounts for the Project
     shall be established in accordance with the provisions of the Lockbox Agreement and deposits to
     and disbursements from such accounts shall be in accordance with the provisions of the Lockbox
     Agreement. Also, with prior written approval of the Approving Parties, the Project Owner may
     establish separate operating accounts for each Privatized Housing Community to facilitate
     separate operation and maintenance activities at such Privatized Housing Community and the
     Lockbox Agent may transfer funds to such an account from time to time in accordance with the
     Lockbox Agreement; provided that separate operating accounts shall be maintained for Regular
     Units and for NDSUs, as provided in the Lockbox Agreement.

             Section 5.2     Annual Project Budget and Annual Audit. The Project Budget
     created and approved pursuant to the terms of the Lockbox Agreement shall be the controlling
     budget for all purposes under the AF Project Documents and the Project Financing Documents.
     The Project Owner agrees to provide the same budget information to the Government as it
     provides to the Senior Lender. The Project Budget shall consolidate the annual budgets prepared
     for each Privatized Housing Community but such Privatized Housing Community budgets shall
     be used solely to monitor the financial performance of each Privatized Housing Community.
     Notwithstanding the foregoing, separate Project Budgets shall be maintained for Regular Units
     and for NDSUs.

            Section 5.3      Direct Loan Funding Requirements. The Direct Loan shall be funded
     in accordance with the Forward Commitment.

             Section 5.4    Restrictions on Private Financing.         Any private financing of the
     Project must comply with Section 5.6 of this Agreement.

            Section 5.5   Intercreditor Agreement.     All agreements coordinating the
     requirements of the Direct Loan and the Senior Loan are included in the Intercreditor
     Agreement.

              Section 5.6    Liens and Mortgages.

                     5.6.1 Except as provided in Section 5.6.2 below, the Project Owner shall not:
     (i) engage in any financing or other transaction creating any mortgage or security interest upon
     (a) its leasehold interest in any of the Leased Premises or (b) any Leased Premises
     Improvements; (ii) place or suffer to be placed any lien or other encumbrance upon (a) its
     leasehold interest in any of the Leased Premises or (b) any Leased Premises Improvements;
     (iii) suffer any levy or attachment to be made on (a) its leasehold interest in any of the Leased
     Premises or (b) any Leased Premises Improvements; or (iv) pledge, mortgage, assign, encumber,


                                                  25
     MDMA - Continental
     FINAL
USAF 000135
           Case 4:20-cv-00034-HRH     Document
                    EXH. 4 - USAF Master         107-4
                                         Development     Filed
                                                     & Mgmt     03/04/22
                                                            Agreement      Page 28 of 97
                                                                      with CAFL
                                              Page 28 of 97
     or otherwise grant a security interest in (a) its leasehold interest in any of the Leased Premises or
     (b) any Leased Premises Improvements or the rents, issues, profits or other income of any of the
     Leased Premises or any of the Leased Premises Improvements. The Project Owner shall not be
     in breach of this Section 5.6.1 if the Project Owner (1) is diligently contesting such lien or other
     encumbrance and (2) has delivered to the Government funds or obtained a bond in form and
     substance and with an issuing company reasonably satisfactory to the Government in an amount
     acceptable to the Government, or made other arrangements acceptable to the Government as
     evidenced in writing.

                     5.6.2 During the Project Term, the Project Owner may encumber by mortgage,
     deed of trust or security agreement to secure one or more loans subject to Section 5.6.3 below
     (a) its leasehold interest in the Leased Premises and (b) the Leased Premises Improvements,
     including, without limitation, any Project Receipts, including NDSU Project Receipts (as defined
     in the Lockbox Agreement). The proposed holder of any such mortgage, deed of trust or security
     agreement must be approved in writing by the Government prior to the execution of such loan on
     the terms and conditions in this Agreement. Any mortgagee that is not an Embargoed Person
     and is approved by the Government or successor or assign of such mortgagee that is not an
     Embargoed Person approved by the Government shall be referred to in this Agreement and any
     Lease as an “Approved Mortgagee.” The Government agrees to execute an estoppel certificate
     and any other similar documentation as reasonably may be required by an Approved Mortgagee
     to evidence the Government’s consent to the conditional assignment or mortgage of the Project
     Owner’s interest in the AF Project Documents and to certify the status of the Project and
     performance by the Project Owner of its obligations under the AF Project Documents as of the
     date of such certification. Notwithstanding any foreclosure, the Project Owner shall remain
     liable for the performance of all the terms, covenants, and conditions of the AF Project
     Documents that by the terms thereof are to be carried out and performed by the Project Owner.

                    5.6.3 No mortgage or deed of trust shall extend to or affect the fee, the
     reversionary interest, or the estate of the Government in the Leased Premises. No mortgage,
     deed of trust or security agreement shall be binding upon any of the Leased Premises until it is
     approved by the Government and a copy thereof has been delivered to the Government. In
     accordance with Section 6(a) of the Intercreditor Agreement, each mortgage or deed of trust shall
     require every Approved Mortgagee to release its security interest (i) in all or part of the NDSU
     Parcels, as applicable, and the NDSUs and other Leased Premises Improvements, if any, located
     thereon, upon notification from the Project Owner to the Senior Lender of the completion of any
     approved NDSU Demolition Plan, and (ii) in the Base Release Parcel(s) and the Leased Premises
     Improvements, if any, located thereon upon notification from the Project Owner to the Senior
     Lender of the completion of the requirements for the release of such parcel(s) under the
     applicable Lease or Leases.

                   5.6.4 The Project Owner shall notify the Government promptly of any lien or
     encumbrance on (a) any of the Leased Premises, (b) the Project Owner’s interest in any of the
     Leased Premises or (c) any of the Leased Premises Improvements, whether created by act of the
     Project Owner or otherwise, of which the Project Owner has notice.




                                                    26
     MDMA - Continental
     FINAL
USAF 000136
           Case 4:20-cv-00034-HRH     Document
                    EXH. 4 - USAF Master         107-4
                                         Development     Filed
                                                     & Mgmt     03/04/22
                                                            Agreement      Page 29 of 97
                                                                      with CAFL
                                               Page 29 of 97
                     5.6.5 If an Approved Mortgagee or an Approved Mortgagee Affiliate (as
     defined below) acquires by deed-in-lieu, at a foreclosure of its mortgage or deed of trust, or
     otherwise, (a) the Project Owner’s leasehold interest in any of the Leased Premises or (b) the
     Leased Premises Improvements, this Agreement and all AF Project Documents shall continue in
     full force and effect. The acquisition by anyone other than an Approved Mortgagee or an
     Approved Mortgagee Affiliate of (a) the Project Owner’s leasehold interest in any of the Leased
     Premises or (b) any Leased Premises Improvements shall require the prior written approval of
     the Government. No agent or nominee shall be appointed to operate and manage any portion of
     the Leased Premises or the Leased Premises Improvements without obtaining the prior written
     approval of the Government. Such approval shall be withheld or granted under the terms and
     conditions described in this Agreement. Notwithstanding anything to the contrary contained in
     this Section 5.6.5, the Government may withhold approval of any purchaser (other than the
     Approved Mortgagee or an Approved Mortgagee Affiliate) of (a) the Project Owner’s leasehold
     interest in the Leased Premises or (b) any Leased Premises Improvements if the Government
     determines in its sole discretion such purchaser could pose a threat or breach of security to the
     Installation. As used in this Section 5.6.5, “Approved Mortgagee Affiliate” means a
     corporation, limited liability company, or other entity that controls, is owned and controlled by,
     or is under common ownership and control with, an Approved Mortgagee.

                                               ARTICLE VI.

                                        DEFAULT PROVISIONS

            Section 6.1     Events of Default. Each of the following shall constitute an “Event of
     Default” under this Agreement:

                     6.1.1 MDMA Event of Default. Any failure of the Project Owner to comply
     with any provision of this Agreement (other than occurrences described in any other provision of
     this Section 6.1), where such failure continues for thirty (30) days after delivery of written notice
     thereof by the Government to the Project Owner; provided that if such default is not reasonably
     susceptible to cure within such thirty (30) day period, the Project Owner shall have such longer
     period as may be approved in writing in advance by the Government, which approval shall not
     be unreasonably withheld, to cure such default so long as the Project Owner commences curing
     such default within the initial thirty (30) day period and diligently prosecutes such cure to
     completion in accordance with a schedule approved in writing by the Government, which
     approval shall not be unreasonably withheld (an “MDMA Event of Default”); provided further
     that the occurrence of an MDMA Event of Default shall also be subject to the provisions of
     Section 6.4;

                    6.1.2 Lease Event of Default. A Lease Event of Default that the Government
     expressly declares to be an Event of Default under this Agreement, which declaration may be
     made in the sole and absolute discretion of the Government; and

                    6.1.3 Failure to Maintain Insurance. The failure by the Project Owner to
     maintain any insurance required to be maintained pursuant to this Agreement and such failure
     continues for ten (10) days after delivery of written notice thereof by the Government to the

                                                    27
     MDMA - Continental
     FINAL
USAF 000137
           Case 4:20-cv-00034-HRH     Document
                    EXH. 4 - USAF Master         107-4
                                         Development     Filed
                                                     & Mgmt     03/04/22
                                                            Agreement      Page 30 of 97
                                                                      with CAFL
                                               Page 30 of 97
     Project Owner; provided that if the required insurance has lapsed or would otherwise lapse
     within the ten (10) day cure period, such cure period is shortened to three (3) Business Days.

              Section 6.2     [Reserved].

             Section 6.3        Remedies and Termination Rights. If an Event of Default exists, then
     subject to the rights, if any, of any Approved Mortgagees set forth in the AF Project Documents
     or the Intercreditor Agreement, the Government may:

                           (a)     declare (i) a “Lockbox Event of Default” of Project Owner arising
     under and as defined in the Lockbox Agreement, and (ii) an “Event of Default” arising under and
     as defined in the other AF Project Documents and/or the Direct Loan Documents by reason of
     the occurrence of such Event of Default, and thereafter exercise each and every remedy available
     to the Government under the Lockbox Agreement and such other AF Project Documents and/or
     the Direct Loan Documents;

                              (b)    terminate any or all of the AF Project Documents upon written
     notice to the Project Owner without cost or liability to the Government (such notice referred to
     herein as a “Termination Notice” and shall be effective as of the date specified therein, which
     shall be at least five but not more than 30 days after its receipt by the Project Owner); and

                            (c)    exercise any and all other rights available to the Government at
     law or in equity.

             Section 6.4      MDMA Event of Default Qualifications. An MDMA Event of Default
     under this Agreement shall not be deemed to have occurred for any period of time during which
     (a) an Excusable Delay exists with respect to the alleged default or (b) the Project Owner and the
     Government are attempting to resolve a dispute about an alleged default as provided in Section
     6.5 below. The Project Owner’s period for cure with respect to the alleged default for which
     Excusable Delay exists shall be tolled for the period of time such Excusable Delay exists. For a
     dispute, if, pursuant to the dispute resolution procedures set forth in Section 6.5, a default is
     determined to have occurred, the Project Owner’s period for cure shall not begin until the day
     after the Final Dispute Decision on the dispute is issued and such default shall not become an
     MDMA Event of Default until any applicable cure period has expired.

              Section 6.5     Disputes.

                     6.5.1 Each Party acknowledges and agrees (i) that all issues, claims or disputes
     involving the Government under this Agreement, the Direct Loan Documents or any of the other
     AF Project Documents are subject to the Contract Disputes Act of 1978, as amended, 41 U.S.C.
     § 601 et seq., and (ii) consistent with 5 U.S.C. § 572, that the alternative dispute resolution
     procedures (“ADR”) provided in Section 6.5.2 below are voluntary procedures that supplement
     rather than replace other dispute resolution techniques available to the Government.

                   6.5.2 If a dispute should arise, the Parties shall first attempt to resolve the
     dispute without involvement of other Persons (“Unassisted Negotiations”). Either Party may
     request in writing that Unassisted Negotiations commence. As part of the Unassisted

                                                  28
     MDMA - Continental
     FINAL
USAF 000138
           Case 4:20-cv-00034-HRH     Document
                    EXH. 4 - USAF Master         107-4
                                         Development     Filed
                                                     & Mgmt     03/04/22
                                                            Agreement      Page 31 of 97
                                                                      with CAFL
                                              Page 31 of 97
     Negotiations, the Parties shall consider employing joint fact finding if material factual disputes
     are involved and shall use other early resolution techniques appropriate to the circumstances. If
     the dispute involves material issues of fact, the Parties may employ a neutral third party to
     provide a confidential evaluation of the issues of fact.

                     6.5.3 If the dispute is not resolved within sixty (60) days of the request for
     Unassisted Negotiations and the Parties do not mutually agree to continue Unassisted
     Negotiations, the Parties shall employ ADR procedures involving nonbinding mediation of the
     dispute by a neutral third party. The ADR procedures to be employed in resolution of the dispute
     shall be documented in an ADR agreement executed by the Parties and shall include a
     confidential evaluation of both the facts and the law and the issuance of confidential
     recommendations by a neutral third party. A template of an ADR agreement acceptable to the
     Government which may be amended to address the specific facts and circumstances of the
     dispute is found at www.adr.af.mil. If either Party concludes that an ADR procedure is
     inappropriate for resolution of the dispute after taking into consideration the factors enumerated
     at 5 U.S.C. § 572(b), such procedure shall not be used to resolve the dispute. A Party rejecting
     an ADR procedure as inappropriate shall provide a written statement to the other Party of its
     reasons for rejection of such procedure.

                     6.5.4 If the Parties are unable to resolve the dispute following Unassisted
     Negotiations and use of ADR procedures, the Party disputing the Government’s position shall
     submit a written statement of its claim that complies with all requirements of the Contract
     Disputes Act of 1978, 41 U.S.C. § 605 to the Contracting Officer. The Contracting Officer shall
     issue a final decision under 41 U.S.C. §§ 601-613. The Contracting Officer’s final decision may
     be appealed as provided in 41 U.S.C. §§ 607 and 609.

                   6.5.5 The Parties understand and agree that the Government’s obligation to
     make any payment arising out of an agreement between the Parties resolving a dispute is
     contingent upon the availability of funds proper for such payment.

                     6.5.6 Any order or judgment under this Section 6.5 with respect to a dispute that
     is not subject to appeal shall be considered a “Final Dispute Decision.” For purposes of clarity,
     the final decision of the Contracting Officer shall not constitute a Final Dispute Decision if an
     action regarding such dispute is timely brought under 41 U.S.C. § 609.

             Section 6.6      Excusable Delays. The period for a Party’s performance of an
     obligation or undertaking provided for in any of the AF Project Documents shall be extended for
     a period equivalent to the period of time such performance is prevented or unavoidably delayed,
     retarded or hindered by an act of God, fire, earthquake, flood, explosion, war, invasion,
     insurrection, riot, mob violence, sabotage, act of terrorism, inability to procure or a general
     shortage of labor, equipment, facilities, materials or supplies in the open market, failure or
     unavailability of transportation, strike, lockout, action of labor unions, a taking by eminent
     domain, concealed or subsurface conditions unknown on the Effective Date, requisition, laws,
     orders of government or of civil, military or naval authorities (but only such orders that affect the
     Project Owner’s ability to exercise its rights or perform its obligations under the AF Project
     Documents), governmental restrictions (including without limitation, access restrictions imposed


                                                    29
     MDMA - Continental
     FINAL
USAF 000139
           Case 4:20-cv-00034-HRH     Document
                    EXH. 4 - USAF Master         107-4
                                         Development     Filed
                                                     & Mgmt     03/04/22
                                                            Agreement      Page 32 of 97
                                                                      with CAFL
                                               Page 32 of 97
     by the Government and arising without fault or negligence on the part of the Project Owner that
     significantly hinder the Project Owner’s ability to access any of the Leased Premises and
     perform its responsibilities in a timely manner), or any other cause, whether similar or dissimilar
     to the foregoing not within the reasonable control and without the fault or negligence of such
     Party, and/or any of its respective officers, agents, servants, employees and/or any others who
     may be on any of the Leased Premises at the invitation of the Project Owner or the invitation of
     any of the aforementioned persons, specifically excluding, however, delays for adjustments of
     insurance and delays due to shortage or unavailability of funds (singularly an “Excusable
     Delay,” and collectively, “Excusable Delays”). In the case of Excusable Delays relating to
     construction obligations, such excused period of delay shall include such additional time as may
     be required for mobilization and demobilization of affected contractors and subcontractors as
     agreed to by the Government and the Project Owner. Nothing contained in this Section 6.6 shall
     extend or delay the period of time for the Project Owner’s performance or satisfaction of an
     obligation under any of the AF Project Documents that is not prevented or delayed by an act or
     occurrence giving rise to an Excusable Delay.

           Section 6.7      Approved Mortgagee Rights.              With respect to an Approved
     Mortgagee, the following shall apply:

                           (a)   If an Approved Mortgagee has given written notice to the
     Government of its address, any notice to the Project Owner of a failure to perform under this
     Agreement or any other AF Project Document or any notice of an MDMA Event of Default or an
     “Event of Default” as defined under any other AF Project Document shall be delivered
     simultaneously to such Approved Mortgagee and no notice of a failure to perform or notice of an
     MDMA Event of Default or other “Event of Default” under any other AF Project Document
     given by the Government to the Project Owner shall be deemed effective until like notice is
     given to such Approved Mortgagee.

                            (b)   An Approved Mortgagee shall have the same rights to cure any
     default as the Project Owner has under this Agreement or any other AF Project Document and
     the Government shall accept performance by such Approved Mortgagee as if the Project Owner
     had performed.

                           (c)     The Government will not accept any cancellation of this
     Agreement, any Lease or any other AF Project Document by the Project Owner or materially
     modify this Agreement or any other AF Project Document without the prior written consent of
     each Approved Mortgagee, which consent shall not be unreasonably withheld or denied. The
     Project Owner shall provide each Approved Mortgagee with notice of any proposed material
     modification or cancellation of this Agreement or any other AF Project Document.

                           (d)     No Approved Mortgagee, Approved Mortgagee Affiliate or
     purchaser at a foreclosure sale that has been approved by the Government pursuant to Section
     5.6.5 of this Agreement, shall be required to cure any “Personal Default,” as defined below, of
     the Project Owner. As used herein, “Personal Default” means any default of the Project Owner
     that cannot be cured by the payment of money or performance of demolition, design,



                                                   30
     MDMA - Continental
     FINAL
USAF 000140
           Case 4:20-cv-00034-HRH     Document
                    EXH. 4 - USAF Master         107-4
                                         Development     Filed
                                                     & Mgmt     03/04/22
                                                            Agreement      Page 33 of 97
                                                                      with CAFL
                                              Page 33 of 97
     construction, renovation, operation, and maintenance work, including any bankruptcy of the
     Project Owner.

              Section 6.8    Approved Mortgagee Rights in the Event of Termination.

                   6.8.1 If the Government elects to terminate the AF Project Documents and/or
     Direct Loan Documents pursuant to Section 6.3, each Approved Mortgagee shall have the right
     to postpone (“Mortgagee’s Right to Postpone”) and extend the termination date specified in the
     Termination Notice, subject to the following conditions:

                             6.8.1.1 Prior to the termination date specified in the Termination
     Notice, the Approved Mortgagee must give the Government written notice of its exercise of the
     Mortgagee’s Right to Postpone and simultaneously cure all monetary defaults and deliver to the
     Government as security for the cure of all other defaults other than Personal Defaults an amount
     sufficient to effect such cure.

                            6.8.1.2 The Mortgagee’s Right to Postpone shall extend the date
     specified in the Termination Notice for the termination of the AF Project Documents for a period
     of up to six (6) months or such longer period as may be reasonably requested by the Approved
     Mortgagee and approved by the Government, which approval shall not be unreasonably
     withheld. The Government will grant a reasonable extension of the date for termination of a AF
     Project Document pursuant to the Mortgagee’s Right to Postpone (“Project Termination
     Extension Date”) so long as the Approved Mortgagee (i) promptly commences all steps
     necessary to cure any defaults other than Personal Defaults of the Project Owner under the AF
     Project Documents, including such steps as may be required for the Approved Mortgagee to
     obtain possession or control of the Leased Premises, and diligently prosecutes the same to
     completion; and (ii) provides the Government with monthly updates in writing that describe in
     reasonable detail the steps the Approved Mortgagee has taken and will take in the future to cure
     any such defaults, and the anticipated time-frame for curing such default. Such extension shall
     also apply to any Improvement Removal Notice (as defined in the Lease) given by the
     Government to the Project Owner pursuant to Condition 9.2 of the Lease.

                          6.8.1.3 Prior to the termination date specified in the Termination
     Notice, such Approved Mortgagee shall assume performance and observance of the covenants
     and other agreements of the Project Owner in the AF Project Documents.

                          6.8.1.4 If prior to the Project Termination Extension Date, all defaults
     under the AF Project Documents other than Personal Defaults are cured or otherwise resolved as
     memorialized in a written agreement, then the Government shall withdraw the Termination
     Notice and Improvement Removal Notice, if any.

                   6.8.2 Nothing herein contained shall be deemed to impose any obligation on the
     part of the Government to deliver physical possession of the Leased Premises or any Leased
     Premises Improvements to such Approved Mortgagee.




                                                 31
     MDMA - Continental
     FINAL
USAF 000141
           Case 4:20-cv-00034-HRH     Document
                    EXH. 4 - USAF Master         107-4
                                         Development     Filed
                                                     & Mgmt     03/04/22
                                                            Agreement      Page 34 of 97
                                                                      with CAFL
                                             Page 34 of 97
                     6.8.3 If more than one Approved Mortgagee shall seek to exercise any of the
     rights provided for in Sections 6.7 or 6.8, the holder of the mortgage or deed of trust having
     priority of lien over the liens of the other Approved Mortgagees shall be entitled, as against the
     others, to exercise such rights. Should a dispute arise among the Approved Mortgagees
     regarding the priority of their respective liens, all of the Approved Mortgagees must provide
     written confirmation to the Government that they have settled that dispute; provided, however,
     that any such dispute shall not toll the termination date specified in the Termination Notice.

                      6.8.4 In the event the AF Project Documents are terminated by the Government
     for any reason, the Approved Mortgagee(s) (or an Approved Mortgagee Affiliate) in the order of
     the priority of their respective liens, may request new AF Project Documents (“New AF Project
     Documents”) from the Government and the Government shall execute and deliver such New AF
     Project Documents provided the applicable Approved Mortgagee (or an Approved Mortgagee
     Affiliate) (i) pays all past due amounts due to the Government (but excluding any amounts owed
     to the Government by the Project Owner under the Direct Loan Documents) pursuant to the
     terms of the AF Project Documents (provided that the Government shall use commercially
     reasonable efforts to include in any default and termination notices sent to an Approved
     Mortgagee a summary of all amounts then past due to the Government) and (ii) cures or
     otherwise resolves in a manner acceptable to the Government any non-monetary defaults, except
     for Personal Defaults, of Project Owner under the AF Project Documents. Such New AF Project
     Documents shall be for the remaining term of this Agreement and shall be on the same terms and
     conditions as set forth in the AF Project Documents.

                                              ARTICLE VII.

                                  ASSIGNMENT AND SUCCESSORS

             Section 7.1     Project Owner. At any time, there shall be only one Project Owner, the
     identity of which shall require prior written approval by the Government and be the Project
     Owner under each of the AF Project Documents and the borrower or issuer, as applicable, under
     the Project Financing Documents.

             Section 7.2      No Assignment. The Project Owner shall neither transfer nor assign its
     interests in the Project (other than in connection with the liens of the Approved Mortgagee
     securing payment and performance under the Senior Loan Documents and residential tenant
     leases as contemplated by the Leases or such subleases as may be approved under the terms of
     any of the Leases) or the AF Project Documents, without the prior written consent of the
     Government. For purposes of this Agreement a prohibited transfer or assignment shall be
     deemed to include any transfer that directly or indirectly results in a change of Control of the
     Project Owner or the transfer of the direct or indirect beneficial ownership interests of the Project
     Owner in the Project that exceeds either (i) 5% of the ownership interests of the Project Owner in
     the Project in any one year or (ii) 20% of the ownership interests of the Project Owner in the
     Project on a cumulative basis. Such consent shall not be unreasonably withheld or delayed,
     subject to the following conditions:




                                                    32
     MDMA - Continental
     FINAL
USAF 000142
           Case 4:20-cv-00034-HRH     Document
                    EXH. 4 - USAF Master         107-4
                                         Development     Filed
                                                     & Mgmt     03/04/22
                                                            Agreement      Page 35 of 97
                                                                      with CAFL
                                               Page 35 of 97
                           (a)    No transfer or assignment of the Project Owner’s interests shall
     occur (other than as provided above) except in connection with the assignment of all of the
     Project Owner’s interests in the Project and the AF Project Documents. No transfer or
     assignment shall be approved if the Project Owner is in default under any of the provisions of the
     AF Project Documents, or has otherwise failed to comply with the terms of an AF Project
     Document under circumstances that would constitute a default with the passage of time or the
     giving of notice.

                            (b)     Any transfer or assignment granted by the Project Owner shall be
     consistent with all of the terms and conditions of this Agreement, the Leases and the other AF
     Project Documents, and the rights of the transferee or assignee shall terminate immediately upon
     the expiration or any earlier termination of such AF Project Documents, without any liability on
     the part of the Government to the Project Owner or any transferee or assignee. Under any
     transfer or assignment made, the transferee or assignee shall be deemed to have assumed all of
     the obligations of the Project Owner under this Agreement, the Leases and the other AF Project
     Documents and no transfer or assignment shall relieve the Project Owner of any of its
     obligations under the AF Project Documents, except as otherwise agreed in writing by the
     Government.

                             (c)    The Government reserves the right to review in its discretion the
     financial, construction, management and other qualifications of the proposed transferee or
     assignee and to approve or not approve the proposed transfer or assignment if the Government,
     in its discretion, determines that the qualifications are not comparable to those of the transferor
     or assignor or the transfer or assignment may compromise the mission or security of the
     Installations.

                            (d)    The Project Owner shall furnish the Government, for its prior
     written consent, a copy of each transfer or assignment agreement it proposes to execute. Such
     consent may include the requirement to delete, add, or change provisions in the transfer or
     assignment instrument as the Government shall deem necessary to protect its interests. Consent
     to any sublease or assignment shall not be taken or construed to diminish or enlarge any of the
     rights or obligations of any of the parties to the AF Project Documents. Consent or rejection of
     any required changes shall be provided within ten (10) business days of receipt of the proposed
     agreement.

                            (e)     Any agreement of sublease or assignment must comply with the
     specific requirements, if any, for assignment or transfer in any of the AF Project Documents and
     expressly provide that: the transfer or assignment, as the case may be, is subject to all of the
     terms and conditions of the AF Project Documents; all rights of the transferee or assignee shall
     terminate on the expiration or earlier termination of each of the AF Project Documents; the
     transferee or assignee, as the case may be, shall assume all of the Project Owner’s obligations
     and responsibilities under the AF Project Documents; and in case of any conflict between any
     provisions of any of the AF Project Documents and any provisions of the agreement of transfer
     or assignment, the AF Project Documents will control. A copy of each AF Project Document
     must be attached to the agreement of sublease or assignment.



                                                   33
     MDMA - Continental
     FINAL
USAF 000143
           Case 4:20-cv-00034-HRH     Document
                    EXH. 4 - USAF Master         107-4
                                         Development     Filed
                                                     & Mgmt     03/04/22
                                                            Agreement      Page 36 of 97
                                                                      with CAFL
                                              Page 36 of 97
                             (f)     Failure to comply with this Section 7.2 shall constitute a breach of
     this Agreement by the Project Owner. The Government shall not be obligated to recognize any
     right of any Person to an interest in the Project or to own or operate any facilities and/or
     improvements or conduct any other activity or activities on any of the Leased Premises acquired
     in violation of this Section 7.2.

             Section 7.3    Permitted Transfers. Notwithstanding anything to the contrary
     contained in this Agreement or any of the other AF Project Documents, the occurrence of any of
     the following events shall not constitute a violation of Section 7.2 or any other Section of this
     Agreement or any of the other AF Project Documents:

                            (a)    A transfer that occurs by devise, descent, or by operation of law
     upon the death of a natural person;

                           (b)     The grant of an easement or similar agreement or license as
     permitted by Section 2.1 of the Leases;

                           (c)    The creation of a tax lien or a mechanics’, materialman’s, or
     judgment lien against the Leased Premises that does not constitute a breach of Section 5.6.1 of
     this Agreement;

                            (d)     A transfer to any Affiliate of the Project Owner, if at the time of
     such transfer there does not exist an Event of Default;

                          (e)     Any direct or indirect transfer of a member interest in the
     managing member after which the parent of the managing member owns no less than 51% of the
     direct or indirect ownership interests in, and maintains, directly or indirectly, Control over,
     Project Owner; and

                            (f)    A transfer to an Approved Mortgagee pursuant to Section 5.6.5.

                                              ARTICLE VIII.

           INSTALLATION CLOSURE OPTION TO PURCHASE AND REALIGNMENT

             Section 8.1      Base Closure or Realignment Provisions. One of the purposes of the
     Government in structuring a Project with housing on multiple Installations is to minimize the
     adverse impact of a base closure or realignment, as those terms are used in the Base Closure Act,
     or a Congressional BRAC Approval decision on the Government, the Project Owner, and the
     Project Debt under the terms of the AF Project Documents and to keep the Project functioning as
     a single economic project notwithstanding such a decision. If during the Lease Term applicable
     to the affected Installation Congress approves the closure of any of the Installations (each, a
     “Congressional BRAC Approval”) under the Base Closure and Realignment Act, 10 U.S.C. §
     2687, P.L. 101 – 510, as amended by Public Law No. 107-107 or under any other base closure or
     realignment law (collectively, a “Base Closure Act”), then to the extent permitted by Applicable
     Law, the Government shall offer the Project Owner the option to purchase the affected Leased


                                                   34
     MDMA - Continental
     FINAL
USAF 000144
           Case 4:20-cv-00034-HRH     Document
                    EXH. 4 - USAF Master         107-4
                                         Development     Filed
                                                     & Mgmt     03/04/22
                                                            Agreement      Page 37 of 97
                                                                      with CAFL
                                               Page 37 of 97
     Premises (the “Purchase Option”) pursuant to the terms and conditions set forth in a separate
     BRAC Purchase Option Agreement between the Government and the Project Owner dated as of
     the Effective Date (the “Purchase Option Agreement”).

             Section 8.2       Realignment. If Congress approves a realignment of any Installation
     that will result in a reduction in the number of Target Tenants assigned to such Installation, then
     the Parties shall negotiate in good faith with one another to agree upon any amendments to the
     AF Project Documents necessitated by such realignment.

             Section 8.3     Continuation of Lockbox Agreement. Unless otherwise agreed among
     the Government, the Project Owner and each Approved Mortgagee, the Lockbox Agreement
     shall remain in full force and effect and the Lockbox Agent shall continue to collect Project
     Receipts from the Privatized Housing Community on the Installation that is affected by the base
     closure or realignment resulting from a Congressional BRAC Approval. The Government, the
     Project Owner and each Approved Mortgagee shall follow the processes contemplated by
     Section 3.08 of the Lockbox Agreement.

              Section 8.4    Effect of Exercise or Non-Exercise of Option to Purchase.

                     8.4.1 Unless otherwise agreed among the Government, the Project Owner and
     each Approved Mortgagee, the exercise by the Project Owner of the option to purchase the
     BRAC Parcels that arises by reason of a Congressional BRAC Approval and any closing
     pursuant thereto shall not remove from the Project the BRAC Parcels, the Leased Premises
     Improvements thereon and the Project Receipts from the BRAC Parcels or effect a release of the
     liens on the BRAC Parcels securing the Project Debt. Unless otherwise agreed among the
     Government, the Project Owner and each Approved Mortgagee, and if necessary to effect the
     intent of this Section 8.4 and its subsections under Applicable Law, the closing of the transfer of
     the BRAC Parcels pursuant to an exercise of the option by the Project Owner shall be delayed
     until such time as (i) both (A) the Government, the Project Owner and each Approved Mortgagee
     have agreed on the allocation between the BRAC Parcels and the remaining Leased Premises of
     the Project Debt and (B) all applicable debt instruments have been modified in accordance with
     any agreement of the Government, each Approved Mortgagee and the Project Owner, or (ii) all
     Project Debt has been paid in full.

                    8.4.2 If a Congressional BRAC Approval occurs and the Project Owner does
     not exercise its Purchase Option pursuant to the Purchase Option Agreement, then the Parties
     shall negotiate in good faith with one another to agree upon any amendments to the AF Project
     Documents necessitated by the Congressional BRAC Approval and any base closing pursuant
     thereto.

            Section 8.5     Government Guaranty. Nothing in this Article VIII shall alter or
     diminish the obligations of the Government pursuant to the Military Housing Loan Guaranty
     Agreement of even date from the Government for the benefit of the Senior Lender.




                                                   35
     MDMA - Continental
     FINAL
USAF 000145
           Case 4:20-cv-00034-HRH     Document
                    EXH. 4 - USAF Master         107-4
                                         Development     Filed
                                                     & Mgmt     03/04/22
                                                            Agreement      Page 38 of 97
                                                                      with CAFL
                                              Page 38 of 97
                                             ARTICLE IX.

                                               NOTICES

             Section 9.1      Notices. Whenever a Party shall desire to give or serve upon any other
     Party any notice, demand, order, direction, determination, requirement, consent or approval,
     request or other communication with respect to this Agreement, such notice, demand, order,
     direction, determination, requirement, consent or approval, request or other communication shall
     be in writing and shall not be effective for any purpose unless same shall be given or served as
     provided in Section 9.2 below and addressed as follows:

     If to the Project Owner:                    Corvias Air Force Living, LLC
                                                 1405 South County Trail, Suite 530
                                                 East Greenwich, Rhode Island 02818
                                                 Attn: William E. Culton, Jr., General Counsel

     With a copy to:                             Holland & Knight LLP
                                                 801 17th Street NW, Suite 100
                                                 Washington, DC 20006
                                                 Attn: Anthony Freedman

     If to the Approved Mortgagees:              Pacific Life Insurance Company
                                                 700 Newport Center Drive
                                                 Newport Beach, CA 92660
                                                 Attn: Vice President – Asset Management
                                                 Loan No.: 212800601

     With a copy to:                             Pacific Life Insurance Company
                                                 Email: REDocumentManagement@pacificlife.com

     With a copy to:                             Dechert LLP
                                                 1095 Avenue of the Americas
                                                 New York, NY 10036
                                                 Attn: Timothy A. Stafford

     If to the Government:                       Department of the Air Force
                                                 Deputy Assistant Secretary of the Air Force
                                                 (Installations)
                                                 1665 Air Force Pentagon
                                                 Washington, D.C. 20330-1665
                                                 (only notices of Lockbox Events of Default)




                                                 36
     MDMA - Continental
     FINAL
USAF 000146
           Case 4:20-cv-00034-HRH     Document
                    EXH. 4 - USAF Master         107-4
                                         Development     Filed
                                                     & Mgmt     03/04/22
                                                            Agreement      Page 39 of 97
                                                                      with CAFL
                                             Page 39 of 97
     With copies to:                             Department of the Air Force
                                                 Office of the General Counsel
                                                 Deputy General Counsel
                                                 (Installations, Energy and Environment)
                                                 1740 Air Force Pentagon
                                                 Washington, DC 20330-1740
                                                 (only notices of Lockbox Events of Default)

                                                 AFCEC/CFH
                                                 Address:
                                                 2261 Hughes Avenue, Suite 155
                                                 JBSA Lackland, TX 78236-9853
                                                 Delivery Address:
                                                 3515 S. Gen. McMullen, Door 1
                                                 San Antonio, TX 78226-1858
                                                 (all notices, requests and other communications
                                                 to any party and financial records and reports)

                                                 and

                                                 AFCEC/CIMP
                                                 Address:
                                                 2261 Hughes Avenue, Suite 155
                                                 JBSA, TX 78236-9853
                                                 Delivery Address:
                                                 3515 S. Gen. McMullen, Door 1
                                                 San Antonio, TX 78226-1858
                                                 (all notices, requests and other communications
                                                 to any party and financial records and reports)

     or at such other address or addresses as the Parties may from time to time designate by notice
     given by certified mail.

            Section 9.2       Notice Delivery. Every notice, demand, order, direction, determination,
     requirement, consent or approval, request, or communication hereunder shall be personally
     served, sent by certified first-class mail, return receipt requested, or by recognized overnight
     delivery service. Any such notice, demand, order, direction, determination, requirement, consent
     or approval, request, or other communication shall be deemed to have been delivered on the date
     of the receipt of such delivery or transmission at the address set forth above (or such other
     address designated pursuant hereto), or, if sent by certified first-class mail, return receipt
     requested, and delivery is refused, upon the date of refusal to accept service.




                                                 37
     MDMA - Continental
     FINAL
USAF 000147
           Case 4:20-cv-00034-HRH     Document
                    EXH. 4 - USAF Master         107-4
                                         Development     Filed
                                                     & Mgmt     03/04/22
                                                            Agreement      Page 40 of 97
                                                                      with CAFL
                                             Page 40 of 97
                                               ARTICLE X.

                                        GENERAL PROVISIONS

             Section 10.1      No Joint Venture. Nothing contained in this Agreement or any other
     AF Project Document will make, nor will be construed to make, the Parties hereto partners or
     joint venturers with each other, it being understood and agreed that the only relationship between
     the Government and the Project Owner (i) under the AF Project Documents is that of lessor and
     lessee and (ii) under the Direct Loan Documents is that of lender and borrower. Nothing in this
     Agreement or any other AF Project Document will render, nor be construed to render, either of
     the Parties hereto liable to any third party for the debts or obligations of the other Party hereto.

              Section 10.2    Covenant against Contingent Fees. The Project Owner warrants that
     no person or agency has been employed or retained to solicit or secure any of the AF Project
     Documents upon an agreement or understanding for a commission, percentage, brokerage, or
     contingent fee, except bona fide employees or bona fide established commercial agencies
     maintained by the Project Owner for the purpose of securing business. For breach or violation of
     this warranty, the Government shall have the right to annul the AF Project Documents without
     liability or in its discretion to require the Project Owner to pay the full amount of such
     commission, percentage, brokerage, or contingent fee.

             Section 10.3    Officials Not to Benefit. No member of or delegate to the Congress of
     the United States of America or resident commissioner of the United States of America shall be a
     party to any of the AF Project Documents or to any benefit that may arise therefrom.

             Section 10.4      Facilities Nondiscrimination. As used in this Section, the term
     “Facility” means lodgings, stores, shops, restaurants, cafeterias, restrooms, and any other facility
     of a public nature in any building covered by, or built on land covered by, the Leases. The
     Project Owner agrees that it will not discriminate against any person because of race, color,
     religion, sex, or national origin in furnishing, or by refusing to furnish, to such person or persons
     the use of any Facility, including any and all services, privileges, accommodations, and activities
     provided on the Leased Premises. This does not require the furnishing to the general public the
     use of any facility customarily furnished by the Project Owner solely to Tenants or to
     Government military and civilian personnel, and the guests and invitees of any of them.

             Section 10.5    Gratuities. The Government may, by written notice to the Project
     Owner, terminate the AF Project Documents if, after notice and hearing, the Secretary of the Air
     Force or a designee determines that the Project Owner, or any agent or representative of the
     Project Owner, offered or gave a gratuity (e.g., an entertainment or gift) to any officer, official,
     or employee of the Government and intended, by the gratuity, to obtain a lease or other
     agreement or favorable treatment under a lease or other agreement, except for gifts or benefits of
     nominal value offered to Tenants in the ordinary course of business. The facts supporting this
     determination may be reviewed by any court having lawful jurisdiction. If the AF Project
     Documents are so terminated, the Government shall be entitled to exemplary damages of not less
     than three (3) nor more than ten (10) times the cost incurred by the Project Owner in giving



                                                    38
     MDMA - Continental
     FINAL
USAF 000148
           Case 4:20-cv-00034-HRH     Document
                    EXH. 4 - USAF Master         107-4
                                         Development     Filed
                                                     & Mgmt     03/04/22
                                                            Agreement      Page 41 of 97
                                                                      with CAFL
                                               Page 41 of 97
     gratuities to the Person concerned, as determined by the Secretary of the Air Force or a designee
     and any other damages allowed by Applicable Law.

             Section 10.6     Equal Opportunity Clause. Unless the Project is exempt under the
     rules, regulations and relevant orders of the Department of Labor (41 C.F.R. § 60), during the
     Project Term, the Project Owner agrees to comply with conditions (a) through (h) below:

                          (a)   The Project Owner shall not discriminate against any employee or
     applicant for employment because of race, color, religion, sex, or national origin (the “Equal
     Opportunity Clause”).

                              (b)     The Project Owner shall take proactive steps to ensure that
     applicants are employed, and that employees are treated during employment without regard to
     their race, color, religion, sex, or national origin. Such action shall include, but not be limited to
     employment, upgrading, demotion, transfer, recruitment or recruitment advertising, layoff or
     termination, rates of pay or other forms of compensation, and selection for training, including
     apprenticeship.

                         (c)     The Project Owner shall post, in conspicuous places available to
     employees and applicants for employment at its principal place of business and each Privatized
     Housing Community, any notices to be provided by the Government that explain the Equal
     Opportunity Clause.

                           (d)   The Project Owner shall, in all solicitations or advertisements for
     employees placed by or on behalf of the Project Owner, state that all qualified applicants will
     receive consideration for employment without regard to race, color, religion, sex, or national
     origin.

                           (e)     The Project Owner shall send to each labor union or representative
     of workers with which it has a collective bargaining agreement or other contract or
     understanding, any notice provided by the Government advising the labor union or workers’
     representative of the Project Owner’s commitments under the Equal Opportunity Clause, and
     post copies of the notice in conspicuous places available to employees and applicants for
     employment.

                          (f) The Project Owner shall comply with all provisions of Executive
     Order No. 11246, as amended, and of the rules, regulations, and relevant orders of the
     Department of Labor.

                            (g)    The Project Owner shall furnish all information required by
     Executive Order No. 11246, as amended, and by the rules, regulations, and orders of the
     Department of Labor, or pursuant thereto, and shall permit access to its books, records, and
     accounts by the Department of Labor for purposes of investigation to ascertain compliance with
     such rules, regulations and orders.

                           (h)     Noncompliance by the Project Owner with this Section 10.6 shall
     constitute a breach under this Agreement, and the Project Owner may be declared ineligible for

                                                    39
     MDMA - Continental
     FINAL
USAF 000149
           Case 4:20-cv-00034-HRH     Document
                    EXH. 4 - USAF Master         107-4
                                         Development     Filed
                                                     & Mgmt     03/04/22
                                                            Agreement      Page 42 of 97
                                                                      with CAFL
                                                Page 42 of 97
     further Government leases and other contracts in accordance with procedures authorized in
     Executive Order No. 11246, as amended, or by rule, regulation, or order of the Department of
     Labor, or as otherwise provided by law.

              Notwithstanding any other provision in this Agreement, disputes about the Equal
     Opportunity Clause will be governed by the procedures in 41 C.F.R. § 60-1.1.

             Section 10.7     Remedies Cumulative; Failure of Government to Insist on
     Compliance. The specified remedies to which the Government may resort under the terms of
     the AF Project Documents are distinct, separate, and cumulative, and are not intended to be
     exclusive of any other remedies or means of redress to which the Government may be lawfully
     entitled in case of any breach or threatened breach by the Project Owner of any provisions of the
     AF Project Documents. The failure of the Government to insist in any one or more instances,
     upon strict performance of any of the terms, covenants, or conditions of this Agreement or the
     other AF Project Documents shall not be construed as a waiver or a relinquishment of the
     Government’s right to the future performance of any such terms, covenants, or conditions, but
     the obligations of the Project Owner with respect to such future performance shall continue in
     full force and effect. No waiver by the Government of any provisions of this Agreement or the
     other AF Project Documents shall be deemed to have been made unless expressed in writing and
     signed by an authorized representative of the Government.

           Section 10.8      Headings or Titles. The brief headings or titles preceding each Section
     are merely for purposes of identification, convenience, and ease of reference, and will be
     completely disregarded in the construction of this Agreement.

            Section 10.9     Counterparts. This Agreement is executed in three (3) counterparts
     each of which is deemed an original of equal dignity with the other and which is deemed one and
     the same instrument as the others.

             Section 10.10 Entire Agreement. It is expressly agreed that this written instrument,
     together with the provisions of other documents that are expressly incorporated herein by the
     terms of this Agreement, embodies the entire agreement between the Parties regarding the terms
     hereof. The terms and conditions with respect to the use of the Leased Premises by the Project
     Owner are set forth in the Leases and other terms and conditions relating to the development and
     management of the Project are contained in other AF Project Documents. There are no
     understandings or agreements, verbal or otherwise, between the Parties except as expressly set
     forth herein, in the other AF Project Documents or in the Project Financing Documents. This
     instrument may only be modified or amended by mutual agreement of the Parties in writing and
     signed by each of the Parties hereto.

             Section 10.11 Governing Law. This Agreement shall be governed and construed in
     accordance with the applicable laws of the United States of America and any rules, regulations or
     orders issued by or promulgated thereunder applicable to the transactions entered into by the
     Government. Without limiting the generality of the foregoing, all disputes shall be subject to the
     Contracts Disputes Act of 1978, as amended, 41 U.S.C. § 601 et seq. as provided in Section 6.5
     hereof.


                                                  40
     MDMA - Continental
     FINAL
USAF 000150
           Case 4:20-cv-00034-HRH     Document
                    EXH. 4 - USAF Master         107-4
                                         Development     Filed
                                                     & Mgmt     03/04/22
                                                            Agreement      Page 43 of 97
                                                                      with CAFL
                                              Page 43 of 97
            Section 10.12 Partial Invalidity. If any term or provision of this Agreement, or the
     application of the term or provision to any Person or circumstance is, to any extent, invalid or
     unenforceable, the remainder of this Agreement, or the application of the term or provision to
     Persons or circumstances other than those as to which the term or provision is held invalid or
     unenforceable, will not be affected by the application, and each remaining term or provision of
     this Agreement will be valid and will be enforced to the fullest extent permitted by law.

            Section 10.13 Identification of Government Agencies, Statutes, Programs and
     Forms. Any reference in this Agreement, by name or number, to a government department,
     agency, statute, regulation, program, or form shall include any successor or similar department,
     agency, statute, regulation, program or form.

            Section 10.14 Approvals. Any approval or consent of the Parties required for any
     matter under this Agreement shall be in writing and shall not be unreasonably withheld or
     delayed unless otherwise indicated in this Agreement.

             Section 10.15 Third Party Beneficiaries. Except as otherwise expressly provided
     with respect to Approved Mortgagees in this Agreement, (i) there shall be no third party
     beneficiaries of this Agreement; and (ii) none of the provisions of this Agreement shall be for the
     benefit of, or enforceable by, any creditors of the Project Owner.

             Section 10.16 No Individual Liability of Government Officials. No covenant or
     agreement contained in this Agreement or any other AF Project Document or Project Financing
     Document shall be deemed to be the covenant or agreement of any individual officer, agent,
     employee or representative of the Government or the Project Owner, in his or her individual
     capacity and none of such persons shall be subject to any personal liability or accountability by
     reason of such person’s execution of this Agreement or any other AF Project Document or any
     Project Financing Document, whether by virtue of any constitution, statute or rule of law or by
     the enforcement of any assessment or penalty, or otherwise. The provisions of this Section 10.16
     shall survive the expiration or early termination of this Agreement.

             Section 10.17 Amendment. This Agreement may be amended at any time by mutual
     agreement of the Parties in writing and signed by a duly authorized representative of each of the
     respective Parties hereto. Amendments to this Agreement executed on behalf of the Government
     must be signed at the level of Deputy Assistant Secretary of the Air Force (Installations) or
     higher.

            Section 10.18 Time of the Essence.          Time is of the essence to each and every
     provision of this Agreement.


                                        [Signature Pages Follow]




                                                   41
     MDMA - Continental
     FINAL
USAF 000151
           Case 4:20-cv-00034-HRH     Document
                    EXH. 4 - USAF Master         107-4
                                         Development     Filed
                                                     & Mgmt     03/04/22
                                                            Agreement      Page 44 of 97
                                                                      with CAFL
                                              Page 44 of 97
                        GOVERNMENT SIGNATURE PAGE TO
               MASTER DEVELOPMENT AND MANAGEMENT AGREEMENT
                             CONTINENTAL GROUP


             IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be executed
     by their duly authorized representatives as of the Effective Date.


                                             THE UNITED STATES OF AMERICA, acting by
                                             and through the Secretary of the Air Force




                                                    TIMOTHY K^RIDGES
                                                    Deputy Assistant Secretary of the Air Force
                                                    (Installations)




USAF 000152

       Case 4:20-cv-00034-HRH     Document
                EXH. 4 - USAF Master         107-4
                                     Development     Filed
                                                 & Mgmt     03/04/22
                                                        Agreement      Page 45 of 97
                                                                  with CAFL
                                           Page 45 of 97
                     PROJECT OWNER SIGNATURE PAGE TO
              MASTER DEVELOPMENT AND MANAGEMENT AGREEMENT




                                         PROJECT OWNER:

                                         CORVIAS AIR FORCE LIVING, LLC,
                                         a Delaware limited liability company

                                         By:   Corvias Military Living^ LLC, its sole
                                               Member


                                               By:
                                                       James Heath Burleson
                                                       Authorized Representative




USAF 000153

       Case 4:20-cv-00034-HRH     Document
                EXH. 4 - USAF Master         107-4
                                     Development     Filed
                                                 & Mgmt     03/04/22
                                                        Agreement      Page 46 of 97
                                                                  with CAFL
                                       Page 46 of 97
                                                EXHIBIT A-1

                                      EDWARDS AIR FORCE BASE
                                          “Edwards Parcels”




                                                    A-1
         MDMA - Continental
         FINAL
   USAF 000154
Case 4:20-cv-00034-HRH     Document
         EXH. 4 - USAF Master         107-4
                              Development     Filed
                                          & Mgmt     03/04/22
                                                 Agreement      Page 47 of 97
                                                           with CAFL
                                Page 47 of 97
                                                   LEGAL DESCRIPTION

                                                        Edwards AFB

     Those certain parcels of land situated in Sections 27, 28, 33 and 34, Township 10 North, Range 10 West, San
     Bernardino Meridian, in the County of Kern, State of California, more particularly described as follows:

     PARCEL 1 – MESQUITE MEADOWS

     COMMENCING at a 3.5 inch brass disk stamped “9670 1996”, having California State Plane Coordinates (CCS83,
     Zone V) of North 2157344.84, East 6582531.10, said monument bears South 41°50'51" East 9876.58 feet from a 3.5
     inch brass disk stamped “USACE GRW16 1991”, having California State Plane Coordinates (CCS83, Zone V) of
     North 2164702.14, East 6575941.94; thence North 45°16'00" West 6473.83 feet to a point on a non-tangent curve
     concave southeasterly and having a radius of 110.15 feet, a radial line of said curve from said point bears
     South 71°09'18" East; said point being the TRUE POINT OF BEGINNING; thence along said curve southerly
     22.78 feet through a central angle of 11°50'54" to a point of compound curvature with a curve concave northeasterly
     and having a radius of 18.00 feet, a radial line of said curves from said point bears South 83°00'12" East; thence
     along said curve southeasterly 21.71 feet through a central angle of 69°06'11"; thence tangent from said curve
     South 62°06'23" East 6.44 feet; thence South 59°41'07" East 12.79 feet; thence South 65°31'35" East 249.37 feet to
     the beginning of a tangent curve concave southwesterly and having a radius of 860.00 feet; thence along said curve
     southeasterly 479.29 feet through a central angle of 31°55'55"; thence tangent from said curve South 33°35'40" East
     63.78 feet; thence South 35°20'28" East 55.53 feet; thence South 37°02'15" East 19.22 feet; thence
     South 52°56'43" West 35.78 feet; thence South 14°32'02" West 168.58 feet; thence South 24°27'55" West 491.94
     feet; thence North 63°44'49" West 1.81 feet; thence South 24°17'14" West 4.44 feet; thence South 64°23'00" East
     1.78 feet; thence South 24°26'10" West 105.89 feet; thence North 65°38'12" West 141.79 feet to a point on a non-
     tangent curve concave northerly and having a radius of 60.50 feet, a radial line of said curve from said point bears
     North 19°11'46" West; thence along said curve westerly 37.27 feet through a central angle of 35°17'44"; thence non-
     tangent from said curve South 24°33'20" West 121.01 feet; thence North 65°29'28" West 211.77 feet; thence
     North 65°23'20" West 36.79 feet; thence North 65°28'07" West 136.71 feet to the beginning of a tangent curve
     concave northeasterly and having a radius of 287.00 feet; thence along said curve northwesterly 259.55 feet through
     a central angle of 51°48'57" to a point of compound curvature with a curve concave easterly and having a radius of
     273.00 feet, a radial line of said curves from said point bears North 76°20'50" East; thence along said curve
     northerly 137.68 feet through a central angle of 28°53'47"; thence non-tangent from said curve North 25°18'09" East
     9.56 feet; thence North 65°33'16" West 37.15 feet; thence North 24°26'44" East 96.45 feet; thence
     South 65°33'16" East 40.77 feet; thence North 24°26'37" East 482.00 feet; thence North 26°08'50" East 14.27 feet;
     thence North 65°21'37" West 14.19 feet; thence North 24°38'23" East 143.95 feet; thence North 24°28'02" East
     57.89 feet; thence North 20°15'49" East 49.15 feet; thence North 66°48'01" West 19.41 feet; thence
     North 23°11'59" East 86.97 feet to the TRUE POINT OF BEGINNING.

                       CONTAINING: 20.16 Acres, more or less


     PARCEL 2 – JUNIPER RIDGE

     COMMENCING at a 3.5 inch brass disk stamped “9670 1996”, having California State Plane Coordinates (CCS83,
     Zone V) of North 2157344.84, East 6582531.10, said monument bears South 41°50'51" East 9876.58 feet from a 3.5
     inch brass disk stamped “USACE GRW16 1991”, having California State Plane Coordinates (CCS83, Zone V) of
     North 2164702.14, East 6575941.94; thence North 81°14'59" West 5130.18 feet to the TRUE POINT OF
     BEGINNING; thence North 89°45'00" East 160.49 feet to a point on a non-tangent curve concave northwesterly
     and having a radius of 503.33 feet, a radial line of said curve from said point bears North 00°04'16" West; thence
     along said curve easterly 203.60 feet through a central angle of 23°10'34" to an intersection with a non-tangent curve
     concave southeasterly and having a radius of 947.73 feet, a radial line of said curve from said intersection bears
     South 18°55'23" East; thence along said curve easterly 102.75 feet through a central angle of 06°12'42"; thence non-
     tangent from said curve North 76°43'37" East 1070.38 feet to a point on a non-tangent curve concave southwesterly
     and having a radius of 39.51 feet, a radial line of said curve from said point bears South 06°28'32" East; thence
     along said curve easterly and southeasterly 60.86 feet through a central angle of 88°15'30"; thence non-tangent from




USAF 000155
          Case 4:20-cv-00034-HRH     Document
                   EXH. 4 - USAF Master         107-4
                                        Development     Filed
                                                    & Mgmt     03/04/22
                                                           Agreement      Page 48 of 97
                                                                     with CAFL
                                                      Page 48 of 97
     said curve South 05°33'22" East 161.33 feet to a point on a non-tangent curve concave westerly and having a radius
     of 286.37 feet, a radial line of said curve from said point bears South 85°13'44" West; thence along said curve
     southerly 113.91 feet through a central angle of 22°47'26"; thence non-tangent from said curve
     South 20°49'11" West 214.58 feet to a point on a non-tangent curve concave easterly and having a radius of 686.23
     feet, a radial line of said curve from said point bears South 68°58'54" East; thence along said curve southerly 433.21
     feet through a central angle of 36°10'12"; thence non-tangent from said curve South 18°22'17" East 375.19 feet;
     thence South 72°46'35" West 167.74 feet; thence South 62°55'08" West 133.20 feet; thence South 45°11'51" West
     86.82 feet; thence South 77°43'45" West 78.49 feet; thence South 60°33'55" West 283.86 feet; thence
     South 50°09'39" West 65.69 feet; thence South 64°56'24" West 106.62 feet; thence South 28°54'08" East 63.15 feet;
     thence South 60°56'27" West 114.12 feet; thence North 29°03'33" West 74.87 feet; thence South 60°07'20" West
     273.40 feet; thence South 71°58'39" West 99.09 feet; thence North 84°37'54" West 92.13 feet; thence
     North 62°12'41" West 56.60 feet; thence North 22°52'25" West 107.59 feet; thence North 13°09'52" West 185.09
     feet; thence North 08°06'14" West 105.76 feet; thence North 08°38'03" East 178.93 feet; thence
     North 76°09'59" West 148.91 feet; thence North 00°02'10" East 933.48 feet to a point on a non-tangent curve
     concave southeasterly and having a radius of 38.15 feet, a radial line of said curve from said point bears
     South 85°58'29" East; thence along said curve northeasterly and easterly 59.81 feet through a central angle of
     89°49'32" to the TRUE POINT OF BEGINNING.

                       CONTAINING: 51.02 Acres, more or less

     PARCEL 3 – JOSHUA ACRES

     COMMENCING at a 3.5 inch brass disk stamped “9670 1996”, having California State Plane Coordinates (CCS83,
     Zone V) of North 2157344.84, East 6582531.10, said monument bears South 41°50'51" East 9876.58 feet from a 3.5
     inch brass disk stamped “USACE GRW16 1991”, having California State Plane Coordinates (CCS83, Zone V) of
     North 2164702.14, East 6575941.94; thence North 27°27'40” West 1880.37 feet to the TRUE POINT OF
     BEGINNING; thence South 03°01'52" East 279.49 feet; thence South 15°30'55" East 92.35 feet; thence
     South 12°09'01" East 300.91 feet; thence North 83°46'49" West 107.76 feet to the beginning of a tangent curve
     concave southerly and having a radius of 400.00 feet; thence along said curve westerly 137.78 feet through a central
     angle of 19°44'09"; thence tangent from said curve South 76°29'02" West 33.55 feet to the beginning of a tangent
     curve concave northerly and having a radius of 585.00 feet; thence along said curve westerly 226.17 feet through a
     central angle of 22°09'06"; thence tangent from said curve North 81°21'52" West 140.99 feet to the beginning of a
     tangent curve concave southerly and having a radius of 600.00 feet; thence along said curve westerly 100.39 feet
     through a central angle of 09°35'11"; thence tangent from said curve South 89°02'57" West 10.66 feet to the
     beginning of a tangent curve concave southerly and having a radius of 680.00 feet; thence along said curve westerly
     121.96 feet through a central angle of 10°16'35"; thence tangent from said curve South 78°46'22" West 35.19 feet to
     the beginning of a tangent curve concave northerly and having a radius of 360.00 feet; thence along said curve
     westerly 180.84 feet through a central angle of 28°46'56"; thence non-tangent from said curve South 55°03'47" West
     186.77 feet; thence South 79°09'06" West 138.57 feet; thence North 78°24'04" West 124.71 feet; thence
     South 30°51'36" West 11.29 feet to a point on a non-tangent curve concave northeasterly and having a radius of
     30.00 feet, a radial line of said curve from said point bears South 66°34'20" East; thence along said curve southerly
     and southeasterly 37.77 feet through a central angle of 72°07'40"; thence non-tangent from said curve
     South 27°55'08" West 42.59 feet to a point on a non-tangent curve concave southeasterly and having a radius of
     30.00 feet, a radial line of said curve from said point bears South 21°59'53" West; thence along said curve westerly
     and southwesterly 42.39 feet through a central angle of 80°57'01"; thence tangent from said curve
     South 31°02'52" West 110.66 feet to the beginning of a tangent curve concave northwesterly and having a radius of
     216.70 feet; thence along said curve southwesterly and westerly 268.63 feet through a central angle of 71°01'32";
     thence tangent from said curve North 77°55'36" West 130.13 feet to the beginning of a tangent curve concave
     southeasterly and having a radius of 303.25 feet; thence along said curve westerly 303.86 feet through a central
     angle of 57°24'37" to a point of compound curvature with a curve concave easterly and having a radius of 30.00
     feet, a radial line of said curves from said point bears South 45°20'13" East; thence along said curve southerly and
     southeasterly 55.58 feet through a central angle of 106°09'02" to a point of reverse curvature with a curve concave
     southwesterly and having a radius of 761.80 feet, a radial line of said curve from said point bears
     South 28°30'45" West; thence along said curve southeasterly 108.78 feet through a central angle of 08°10'53" to a
     point of reverse curvature with a curve concave northerly and having a radius of 31.00 feet, a radial line of said
     curve from said point bears North 36°41'38" East; thence along said curve easterly and easterly 39.26 feet through a




USAF 000156
          Case 4:20-cv-00034-HRH     Document
                   EXH. 4 - USAF Master         107-4
                                        Development     Filed
                                                    & Mgmt     03/04/22
                                                           Agreement      Page 49 of 97
                                                                     with CAFL
                                                      Page 49 of 97
     central angle of 72°33'27" to a point of cusp with a curve concave southeasterly and having a radius of 227.00 feet, a
     radial line of said curve from said point bears South 35°51'49" East; thence along said curve southwesterly 83.09
     feet through a central angle of 20°58'20" to a point of cusp with a curve concave southwesterly and having a radius
     of 30.00 feet, a radial line of said curve from said point bears North 56°50'09" West; thence along said curve
     northerly and northwesterly 45.72 feet through a central angle of 87°19'12" to a point of compound curvature with a
     curve concave southwesterly and having a radius of 729.72 feet, a radial line of said curves from said point bears
     South 35°50'39" West; thence along said curve northwesterly 40.99 feet through a central angle of 03°13'07"; thence
     radially from said curve South 32°37'32" West 34.77 feet; thence South 04°41'07" West 83.58 feet; thence
     South 06°01'30" West 50.14 feet; thence South 03°32'36" East 150.95 feet; thence South 23°07'35" West 145.28
     feet; thence South 34°03'37" West 58.95 feet; thence South 53°36'31" West 44.38 feet; thence South 52°52'47" West
     80.90 feet; thence South 82°44'46" West 97.18 feet; thence North 76°19'29" West 80.34 feet; thence
     North 61°24'44" West 85.06 feet; thence North 37°48'53" West 109.25 feet; thence North 21°29'20" West 97.85
     feet; thence North 12°58'27" West 60.95 feet; thence North 04°21'19" West 159.29 feet; thence
     North 07°41'10" East 69.49 feet; thence North 07°19'43" East 18.19 feet; thence North 18°52'01" East 219.12 feet;
     thence North 71°07'59" West 69.32 feet; thence North 20°57'39" East 128.10 feet; thence South 67°02'25" East
     85.94 feet; thence North 09°38'47" East 79.07 feet; thence North 20°10'12" East 116.54 feet; thence
     North 32°10'17" East 60.36 feet; thence North 41°58'23" East 91.12 feet; thence North 55°02'33" East 100.07 feet;
     thence North 72°13'14" East 80.57 feet; thence North 76°33'44" East 352.10 feet; thence North 68°34'12" East 59.00
     feet; thence North 75°00'04" East 127.89 feet to a point on a non-tangent curve concave southwesterly and having a
     radius of 480.00 feet, a radial line of said curve from said point bears South 53°07'10" West; thence along said curve
     northwesterly 67.22 feet through a central angle of 08°01'26"; thence tangent from said curve North 44°54'16" West
     48.24 feet to the beginning of a tangent curve concave southerly and having a radius of 39.00 feet; thence along said
     curve northwesterly and westerly 58.10 feet through a central angle of 85°21'22"; thence non-tangent from said
     curve North 44°51'53" East 110.01 feet; thence North 36°37'56" East 16.88 feet; thence South 44°21'44" East
     101.04 feet to a point on a non-tangent curve concave northwesterly and having a radius of 334.00 feet, a radial line
     of said curve from said point bears North 44°52'48" West; thence along said curve northeasterly 64.08 feet through a
     central angle of 10°59'32"; thence tangent from said curve North 34°07'40" East 37.15 feet to the beginning of a
     tangent curve concave southeasterly and having a radius of 463.75 feet; thence along said curve northeasterly 109.13
     feet through a central angle of 13°28'58"; thence non-tangent from said curve North 34°46'37" West 136.15 feet;
     thence North 54°41'45" East 121.80 feet; thence North 68°55'50" East 173.35 feet; thence North 82°43'30" East
     138.66 feet; thence South 83°10'33" East 166.70 feet; thence North 82°46'23" East 36.73 feet; thence
     North 46°49'08" East 78.35 feet; thence South 45°31'05" East 133.72 feet to a point on a non-tangent curve concave
     southeasterly and having a radius of 616.00 feet, a radial line of said curve from said point bears
     South 30°11'09" East; thence along said curve northeasterly 127.58 feet through a central angle of 11°51'59" to a
     point of compound curvature with a curve concave southerly and having a radius of 742.00 feet, a radial line of said
     curves from said point bears South 18°19'10" East; thence along said curve easterly 521.31 feet through a central
     angle of 40°15'15"; thence tangent from said curve South 68°03'55" East 68.02 feet to the beginning of a tangent
     curve concave northwesterly and having a radius of 32.00 feet; thence along said curve easterly and northeasterly
     46.56 feet through a central angle of 83°21'45"; thence tangent from said curve North 28°34'20" East 67.95 feet to
     the beginning of a tangent curve concave northwesterly and having a radius of 234.00 feet; thence along said curve
     northerly 123.78 feet through a central angle of 30°18'28"; thence tangent from said curve North 01°44'08" West
     139.55 feet to the beginning of a tangent curve concave southwesterly and having a radius of 22.50 feet; thence
     along said curve northwesterly and northwesterly 34.38 feet through a central angle of 87°33'37" to a point of cusp;
     thence tangent from said curve South 89°17'45" East 77.25 feet to a point of cusp with a curve concave
     southeasterly and having a radius of 22.50 feet, a radial line of said curve from said point bears
     South 00°42'15" West; thence along said curve westerly and southerly 36.30 feet through a central angle of
     92°26'23"; thence tangent from said curve South 01°44'08" East 136.55 feet to the beginning of a tangent curve
     concave northwesterly and having a radius of 266.00 feet; thence along said curve southerly 140.71 feet through a
     central angle of 30°18'28"; thence tangent from said curve South 28°34'20" West 60.80 feet to the beginning of a
     tangent curve concave northeasterly and having a radius of 28.00 feet; thence along said curve southerly and
     southeasterly 46.61 feet through a central angle of 95°22'31" to a point of compound curvature with a curve concave
     northeasterly and having a radius of 656.00 feet, a radial line of said curves from said point bears
     North 23°11'49" East; thence along said curve easterly 123.49 feet through a central angle of 10°47'08" to the
     TRUE POINT OF BEGINNING.

                       CONTAINING: 51.82 Acres, more or less




USAF 000157
          Case 4:20-cv-00034-HRH     Document
                   EXH. 4 - USAF Master         107-4
                                        Development     Filed
                                                    & Mgmt     03/04/22
                                                           Agreement      Page 50 of 97
                                                                     with CAFL
                                                      Page 50 of 97
     PARCEL 4– ACACIA HILLS AND PALO VERDE HEIGHTS

     COMMENCING at a 3.5 inch brass disk stamped “9670 1996”, having California State Plane Coordinates (CCS83,
     Zone V) of North 2157344.84, East 6582531.10, said monument bears South 41°50'51" East 9876.58 feet from a 3.5
     inch brass disk stamped “USACE GRW16 1991”, having California State Plane Coordinates (CCS83, Zone V) of
     North 2164702.14, East 6575941.94; thence South 77°41'55" West 4767.56 feet to the TRUE POINT OF
     BEGINNING; thence North 54°33'49" East 163.37 feet; thence North 64°18'22" East 88.30 feet; thence
     North 74°13'47" East 128.86 feet; thence North 71°13'13" East 123.05 feet; thence North 66°47'51" East 84.84 feet;
     thence North 58°15'07" East 178.39 feet; thence North 58°41'20" East 125.70 feet; thence North 59°25'08" East
     31.94 feet; thence North 60°05'19" East 137.67 feet; thence North 71°20'09" East 83.59 feet; thence
     North 74°07'48" East 119.24 feet; thence North 79°38'33" East 65.45 feet; thence North 16°34'41" West 107.91 feet;
     thence North 71°14'04" East 112.46 feet; thence South 16°34'41" East 125.44 feet; thence North 78°05'58" East
     121.04 feet; thence North 89°17'25" East 100.42 feet; thence South 78°18'28" East 124.27 feet; thence
     South 63°33'35" East 118.08 feet; thence South 44°41'37" East 128.29 feet; thence South 25°09'47" East 108.91
     feet; thence South 07°29'58" East 124.40 feet; thence South 00°36'51" West 265.59 feet; thence
     North 84°35'15" East 89.58 feet; thence South 05°24'45" East 148.82 feet; thence South 77°02'16" West 62.83 feet;
     thence South 12°57'44" East 65.88 feet; thence South 11°24'43" East 128.96 feet; thence South 02°53'10" East
     121.57 feet; thence South 06°12'10" West 131.91 feet; thence South 20°46'39" East 226.37 feet; thence
     North 69°13'21" East 44.30 feet; thence South 25°50'50" East 64.11 feet; thence South 06°25'44" West 69.05 feet;
     thence South 02°02'46" West 121.55 feet; thence South 31°20'48" West 392.46 feet; thence North 59°38'32" West
     108.90 feet; thence South 36°48'55" West 96.21 feet to the beginning of a tangent curve concave northwesterly and
     having a radius of 135.00 feet; thence along said curve southwesterly 76.76 feet through a central angle of
     32°34'45"; thence tangent from said curve South 69°23'40" West 17.01 feet to the beginning of a tangent curve
     concave northwesterly and having a radius of 265.00 feet; thence along said curve westerly 94.71 feet through a
     central angle of 20°28'39"; thence tangent from said curve South 89°52'19" West 35.32 feet; thence
     South 16°07'09" West 88.19 feet; thence North 81°16'11" West 28.48 feet; thence South 09°22'57" West 69.32 feet;
     thence North 80°45'59" West 212.41 feet; thence North 50°22'41" West 48.74 feet; thence North 73°18'22" West
     117.94 feet; thence North 56°33'06" West 29.92 feet; thence North 73°28'53" West 142.55 feet; thence
     North 45°51'37" West 138.26 feet; thence North 40°51'40" West 175.45 feet; thence North 71°10'09" West 260.95
     feet; thence South 78°14'39" West 212.77 feet; thence North 26°02'03" West 374.20 feet; thence
     North 64°05'01" East 88.57 feet; thence North 55°01'12" West 63.18 feet; thence North 32°53'36" West 120.24 feet;
     thence North 23°23'44" West 87.72 feet; thence South 64°42'25" West 46.81 feet; thence North 25°17'35" West
     139.25 feet; thence North 64°42'25" East 73.96 feet; thence North 24°28'59" West 48.12 feet; thence
     North 24°09'30" West 28.27 feet; thence North 18°08'58" West 89.65 feet; thence North 07°41'04" East 79.85 feet;
     thence North 14°18'55" West 95.46 feet; thence North 03°47'32" West 97.20 feet; thence North 29°19'46" East
     103.53 feet to the TRUE POINT OF BEGINNING.

                      CONTAINING: 80.53 Acres, more or less

     PARCEL 5 – COMMUNITY PARK

     COMMENCING at a 3.5 inch brass disk stamped “9670 1996”, having California State Plane Coordinates (CCS83,
     Zone V) of North 2157344.84, East 6582531.10, said monument bears South 41°50'51" East 9876.58 feet from a 3.5
     inch brass disk stamped “USACE GRW16 1991”, having California State Plane Coordinates (CCS83, Zone V) of
     North 2164702.14, East 6575941.94; thence South 89°58'29" West 2034.04 feet to the TRUE POINT OF
     BEGINNING; thence North 90°00'00" East 326.77 feet to the beginning of a tangent curve concave southwesterly
     and having a radius of 20.00 feet; thence along said curve easterly and southeasterly 31.37 feet through a central
     angle of 89°52'34" to a point of reverse curvature with a curve concave easterly and having a radius of 2500.00 feet,
     a radial line of said curve from said point bears North 89°52'34" East; thence along said curve southerly 770.90 feet
     through a central angle of 17°40'04" to a point of reverse curvature with a curve concave southwesterly and having a
     radius of 2550.00 feet, a radial line of said curve from said point bears South 72°12'30" West; thence along said
     curve southerly 388.77 feet through a central angle of 08°44'07" to a point of compound curvature with a curve
     concave westerly and having a radius of 425.00 feet, a radial line of said curves from said point bears
     South 80°56'37" West; thence along said curve southerly 212.05 feet through a central angle of 28°35'12" to a point
     of compound curvature with a curve concave northwesterly and having a radius of 975.00 feet, a radial line of said




USAF 000158

          Case 4:20-cv-00034-HRH     Document
                   EXH. 4 - USAF Master         107-4
                                        Development     Filed
                                                    & Mgmt     03/04/22
                                                           Agreement      Page 51 of 97
                                                                     with CAFL
                                                     Page 51 of 97
     curves from said point bears North 70°28'11" West; thence along said curve southwesterly 173.06 feet through a
     central angle of 10°10'11"; thence tangent from said curve South 29°42'00" West 492.85 feet to the beginning of a
     tangent curve concave northwesterly and having a radius of 391.00 feet; thence along said curve southwesterly
     447.68 feet through a central angle of 65°36'07"; thence non-tangent from said curve North 05°26'55" East 3.03 feet
     to the beginning of a tangent curve concave westerly and having a radius of 170.00 feet; thence along said curve
     northerly 81.45 feet through a central angle of 27°27'02" to a point of compound curvature with a curve concave
     southwesterly and having a radius of 50.00 feet, a radial line of said curves from said point bears
     South 67°59'53" West; thence along said curve northwesterly 37.44 feet through a central angle of 42°53'53"; thence
     tangent from said curve North 64°54'00" West 97.33 feet; thence North 66°38'00" West 39.29 feet; thence
     South 25°03'00" West 59.72 feet; thence South 28°49'00" West 36.32 feet to a point on a non-tangent curve concave
     northeasterly and having a radius of 391.00 feet, a radial line of said curve from said point bears
     North 37°47'34" East; thence along said curve northwesterly 37.11 feet through a central angle of 05°26'15" to a
     point of compound curvature with a curve concave northeasterly and having a radius of 250.00 feet, a radial line of
     said curves from said point bears North 43°13'49" East; thence along said curve northwesterly 87.50 feet through a
     central angle of 20°03'11"; thence tangent from said curve North 26°43'00" West 108.11 feet to the beginning of a
     tangent curve concave northeasterly and having a radius of 550.00 feet; thence along said curve northerly 156.19
     feet through a central angle of 16°16'15" to a point of compound curvature with a curve concave easterly and having
     a radius of 2850.00 feet, a radial line of said curves from said point bears North 79°33'15" East; thence along said
     curve northerly 389.78 feet through a central angle of 07°50'10" to a point of reverse curvature with a curve concave
     southwesterly and having a radius of 4200.00 feet, a radial line of said curve from said point bears
     South 87°23'25" West; thence along said curve northerly 1208.41 feet through a central angle of 16°29'06" to a point
     of reverse curvature with a curve concave southeasterly and having a radius of 20.00 feet, a radial line of said curve
     from said point bears North 70°54'19" East; thence along said curve northerly and northeasterly 31.47 feet through a
     central angle of 90°09'23" to a point of compound curvature with a curve concave southerly and having a radius of
     2450.00 feet, a radial line of said curves from said point bears South 18°56'18" East; thence along said curve
     easterly 809.81 feet through a central angle of 18°56'18" to the TRUE POINT OF BEGINNING.

                       CONTAINING: 48.65 Acres, more or less

     PARCEL 6 – TAMARISK HEIGHTS

     COMMENCING at a 3.5 inch brass disk stamped “9670 1996”, having California State Plane Coordinates (CCS83,
     Zone V) of North 2157344.84, East 6582531.10, said monument bears South 41°50'51" East 9876.58 feet from a 3.5
     inch brass disk stamped “USACE GRW16 1991”, having California State Plane Coordinates (CCS83, Zone V) of
     North 2164702.14, East 6575941.94; thence South 85°52'25" West 1158.92 feet to the TRUE POINT OF
     BEGINNING; thence South 84°31'58" East 391.05 feet; thence North 00°07'00" West 121.05 feet; thence
     South 89°34'46" East 114.41 feet; thence South 00°02'36" West 108.20 feet; thence North 86°24'40" East 78.93 feet;
     thence North 80°51'20" East 216.61 feet; thence South 84°46'37" East 135.69 feet; thence North 89°48'49" East
     29.19 feet; thence South 68°48'16" East 117.95 feet; thence South 21°40'25" East 27.46 feet; thence
     South 33°18'33" East 102.40 feet; thence South 17°11'43" East 90.46 feet; thence South 00°19'37" West 92.32 feet;
     thence South 03°07'33" West 92.76 feet; thence South 15°48'42" East 34.07 feet; thence South 00°18'26" West
     100.01 feet; thence South 01°47'50" West 106.59 feet; thence South 17°03'08" West 20.30 feet; thence
     South 00°14'28" West 93.40 feet; thence South 02°34'52" West 39.59 feet; thence South 19°27'09" West 119.08
     feet; thence South 35°31'04" West 118.88 feet; thence South 53°32'51" West 225.87 feet; thence
     South 37°18'19" West 19.95 feet; thence South 44°24'57" West 92.85 feet; thence South 54°59'45" West 128.93
     feet; thence South 73°36'40" West 123.55 feet; thence South 68°33'10" West 38.81 feet; thence
     North 88°02'03" West 100.37 feet; thence North 74°47'58" West 101.20 feet; thence North 70°08'32" West 25.28
     feet; thence North 86°22'36" West 191.50 feet; thence North 82°43'37" West 130.93 feet; thence
     North 64°13'57" West 38.58 feet; thence North 60°35'32" West 93.24 feet; thence North 42°08'05" West 118.50
     feet; thence North 19°27'10" West 113.67 feet; thence North 02°28'07" West 21.45 feet; thence
     North 03°10'13" West 85.83 feet; thence North 14°07'15" West 60.05 feet; thence South 74°52'17" West 61.09 feet;
     thence North 15°31'38" West 142.39 feet; thence North 74°52'17" East 55.69 feet; thence North 13°54'41" West
     107.66 feet; thence North 22°22'51" West 108.02 feet; thence North 12°50'06" West 244.24 feet; thence
     North 02°48'26" East 103.58 feet; thence North 32°11'01" East 158.89 feet; thence North 52°35'39" East 114.53
     feet; thence North 88°05'39" East 111.47 feet; thence South 83°23'59" East 142.51 feet to the TRUE POINT OF
     BEGINNING.




USAF 000159
          Case 4:20-cv-00034-HRH     Document
                   EXH. 4 - USAF Master         107-4
                                        Development     Filed
                                                    & Mgmt     03/04/22
                                                           Agreement      Page 52 of 97
                                                                     with CAFL
                                                      Page 52 of 97
     CONTAINING: 42.39 Acres, more or less

                       All bearings, distances and coordinates shown hereon are grid in terms of the California State
     Plane Coordinates of 1983 (NAD83, Epoch 2011.00), Zone V, and are based locally on the Continuous Operating
     Reference Stations (CORS) HIVI, PHLB, P579 and RSTP as published by the National Geodetic Survey (NGS). To
     obtain ground distances, divide the distances hereon by 0.99981890.
     SUBJECT TO all Covenants, Rights, Rights-of-Way and Easements of Record.




USAF 000160
          Case 4:20-cv-00034-HRH     Document
                   EXH. 4 - USAF Master         107-4
                                        Development     Filed
                                                    & Mgmt     03/04/22
                                                           Agreement      Page 53 of 97
                                                                     with CAFL
                                                   Page 53 of 97
                                                EXHIBIT A-2

                                       EIELSON AIR FORCE BASE
                                            “Eielson Parcels”




                                                    A-2
          MDMA - Continental
          FINAL
   USAF 000161
Case 4:20-cv-00034-HRH     Document
         EXH. 4 - USAF Master         107-4
                              Development     Filed
                                          & Mgmt     03/04/22
                                                 Agreement      Page 54 of 97
                                                           with CAFL
                                Page 54 of 97
                                                         Eielson AFB


     PARCEL BW1 LEGAL DESCRIPTION

     A parcel of land located partially in Sections 1 and 2, Township 3 South, Range 3 East, Fairbanks Meridian, Alaska,
     as shown on an ALTA survey prepared by Design Alaska, Inc., dated 8-24-13, and being more particularly
     described as follows:

     Commencing at a recovered 3” brass cap monument stamped EF-23 set on top of a concrete utilidor at the southwest
     corner of North Street and Koyuk Avenue, said monument having established Alaska State Plane, Zone 3, NAD83,
     USft. coordinates of (N)3905081.94, (E)1471250.53; THENCE on a grid bearing (all bearings thenceforth based on
     grid meridian of said Zone 3) S 26° 12’ 26” E, 1501.68’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS
     9327, a corner of lands now or formerly Anderson Elementary School and Lot CPS2-A, this being the true POINT
     OF BEGINNING for this description; THENCE along lands now or formerly Anderson Elem. School S 73° 42’ 41”
     E, 417.75’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS-9236; THENCE leaving said Anderson
     Elementary School lot S 64° 00’ 07” E, 257.29’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327;
     THENCE S 14° 31’ 51” W, 93.03’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE S
     58° 55’ 10” E, 81.64’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE N 68° 34’ 04” E,
     108.93’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE S 66° 57’ 20” E, 178.08’ to a
     recovered 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE S 02° 11’ 39” E, 151.51’ to a recovered
     5/8” rebar and 2” aluminum cap stamped LS 9327 on the westerly side of Ravens Way; THENCE along the westerly
     side of Ravens Way S 41° 57’ 25” W, 186.24’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327,
     near the northwesterly intersection of Ravens Way and Broadway Street; THENCE along the northerly side of
     Broadway Street N 55° 18’ 03” W, 123.75’ to the beginning of a non tangent curve; THENCE continuing along said
     street, along said non tangent curve to the left having a radius of 1371.18’, an arc length of 329.56’, and a chord
     bearing and distance of N 62° 45’ 29” W, 328.77’ to a point on said non tangent curve; THENCE continuing along
     said street, along said non tangent curve to the left having a radius of 1772.11’ an arc length of 412.89’, and a chord
     bearing and distance of N 78° 16’ 59” W, 411.96’ to a point on a non tangent curve; THENCE continuing along said
     street, along said non tangent curve to the left having a radius of 1850.18’, an arc length of 655.33’, and a chord
     bearing and distance of S 85° 55’ 31” W, 651.91’ to a recovered 5/8” rebar and 2” aluminum cap, stamped LS 9327;
     THENCE leaving the northerly side of Broadway Street, along lands now or formerly Lot CPS2-A N 06° 59’ 50”
     W, 302.52’ to a recovered 5/8” rebar and 2” aluminum cap, stamped LS 9327; THENCE continuing along said lot N
     55° 59’ 23” E, 135.48’ to a recovered 5/8” rebar and 2” aluminum cap, stamped LS 9327; THENCE continuing
     along said lot N 85° 01’ 22” E, 548.93’ to the POINT OF BEGINNING.

     Containing 520,733 SF, 11.9544 Acres, more or less.

     PARCEL BW2 LEGAL DESCRIPTION

     A parcel of land located in Sections 1, 2, 11, and 12, Township 3 South, Range 3 East, Fairbanks Meridian, Alaska,
     as shown on an ALTA survey prepared by Design Alaska, Inc., dated 8-24-13, and being more particularly
     described as follows:

     Commencing at a recovered 3” brass cap monument stamped EF-19 set on top of a concrete utilidor at the southeast
     corner of North Street and Arctic Avenue, said monument having established Alaska State Plane, Zone 3, NAD83,
     USft. coordinates of (N)3904787.24, (E)1470436.71; THENCE on a grid bearing (all bearings thenceforth based on
     grid meridian of said Zone 3) S 36° 21’ 09” E, 2433.39’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS
     9327, near the easterly corner of Deborah Avenue along lands now or formerly known as Eielson Jr/Sr High School,
     this being the true POINT OF BEGINNING for this description; THENCE leaving said lands of Eielson Jr/Sr High
     School, along the easterly side of Deborah Avenue N 19° 25’ 39” W, 507.12’ to a recovered 5/8” rebar and 2”
     aluminum cap stamped LS 9327, near the southeasterly intersection of Deborah Avenue and Broadway street, the
     beginning of a non tangent curve; THENCE leaving the northeasterly intersection of Deborah Avenue and
     Broadway Street, along the southerly side of Broadway Street, along said non tangent curve to the right having a



USAF 000162

          Case 4:20-cv-00034-HRH     Document
                   EXH. 4 - USAF Master         107-4
                                        Development     Filed
                                                    & Mgmt     03/04/22
                                                           Agreement      Page 55 of 97
                                                                     with CAFL
                                                      Page 55 of 97
     radius of 2511.92, an arc length of 472.37’, and a chord bearing and length of S 84°06’ 12” E, 471.67’ to the
     beginning of a non-tangent curve; THENCE continuing along said street, along said non-tangent curve to the right
     having a radius of 1261.25’, an arc length of 585.93’ and a chord bearing and length of S 63° 52’ 14” E, 580.67’ to a
     point on a non-tangent curve, said point being a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327 near
     the southwesterly intersection of Ravens Way and Broadway Street; THENCE leaving Broadway Street and along
     the westerly side of Ravens Way along a non-tangent curve to the left having a radius of 6955.84’, an arc length of
     243.61’, and a chord bearing and length of S 30° 08’36” W, 243.60’ to a recovered 5/8” rebar and 2” aluminum cap
     stamped LS 9327; THENCE leaving Ravens Way and along lands now or formerly known as Eielson Jr/Sr High
     School N 82° 11’ 08” W, 548.01’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS-9236; THENCE along
     the same S 76° 23’ 19” W, 161.10’ to the POINT OF BEGINNING.

     Containing 334,812 SF, 7.6862 Acres, more or less.

     PARCEL CPN1 LEGAL DESCRIPTION

     A parcel of land located in Section 2, Township 3 South, Range 3 East, Fairbanks Meridian, Alaska, as shown on an
     ALTA survey prepared by Design Alaska, Inc., dated 8-24-13, and being more particularly described as follows:

     Commencing at a recovered 3” brass cap monument stamped EF-23 set on top of a concrete utilidor at the southwest
     corner of Koyuk Avenue and North Street, said monument having established Alaska State Plane, Zone 3, NAD83,
     USft. coordinates of (N)3905081.94, (E)1471250.53; THENCE on a grid bearing (all bearings thenceforth based on
     grid meridian of said Zone 3) N 10° 56’ 02” E, 86.31’ to a set 5/8” rebar and 2” aluminum cap stamped LS 9327 in
     the bed of Koyuk Avenue; THENCE through the bed of Koyuk Avenue and lands now or formerly Lot CPN2 and
     lands now or formerly Lot GH2 and crossing the bed of Polaris Street N 19° 47’ 51” W, 849.52’ to the true POINT
     OF BEGINNING for this description; THENCE along lands now or formerly Lot GH1 N 19° 47’ 51” W, 5.48’ to a
     recovered 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE continuing along said lot N 14° 07’ 53” W,
     129.85’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE continuing along said lot N 23°
     26’ 01” E, 204.93’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327, and the beginning of a non-
     tangent curve; THENCE along said non-tangent curve to the right having a radius of 590.91’, an arc length of
     876.91’, and a chord bearing and distance of N 71° 56’ 30” E, 798.63’ to a recovered 5/8” rebar and 2” aluminum
     cap stamped LS 9327; THENCE leaving said non-tangent curve, S 56° 56’ 46” E, 446.39’ to a recovered 5/8” rebar
     and 2” aluminum cap stamped LS 9327, a point on the westerly side of French Creek Drive; THENCE along the
     westerly side of French Creek Drive S 22° 58’ 30” E, 237.33’ to a set 5/8” rebar and 2” aluminum cap stamped LS
     9327 at the northwesterly intersection of French Creek Drive and Polaris Street; THENCE leaving the northwesterly
     intersection of French Creek Drive and Polaris Street along the northerly side of Polaris Street S 74° 13’ 32” W,
     326.93’ to the beginning of a tangent curve; THENCE continuing along said road, along a tangent curve to the right
     having a radius of 120.01’ and an arc length of 94.34’ and a chord bearing and length of N 83° 15’ 12” W, 91.93’ to
     a point of tangency; THENCE continuing along said road N 60° 43’ 56” W, 310.25’ to the beginning of a tangent
     curve; THENCE along said tangent curve to the left having a radius of 115.01’ and an arc length of 99.58’ and a
     chord bearing and distance of N 85° 32’ 09” W, 96.50’ to a point of tangency; THENCE continuing along said road
     S 69° 39’ 37” W, 534.58’ to the POINT OF BEGINNING.

     Containing 511,075 SF, 11.7327 Acres, more or less.

     PARCEL CPN2-A LEGAL DESCRIPTION

     A parcel of land located partially in Section 1 and Section 2, Township 3 South, Range 3 East, Fairbanks Meridian,
     Alaska, as shown on an ALTA survey prepared by Design Alaska, Inc., dated 8/24/13, and being more particularly
     described as follows:

     Commencing at a recovered 3” brass cap monument stamped EF-23 set on top of a concrete utilidor at the southwest
     corner of Koyuk Avenue and North Street, said monument having established Alaska State Plane, Zone 3, NAD83,
     USft. coordinates of (N)3905081.94, (E)1471250.53; THENCE on a grid bearing (all bearings thenceforth based on
     grid meridian of said Zone 3) N 10° 56’ 02” E, 86.31’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS
     9327 in the bed of Koyuk Avenue; THENCE through the bed of Koyuk Avenue and along lands now or formerly
     Lot GH2-A, N 19° 47’ 51” W, 342.64’ to a set Magnail in the bed of Koyuk Avenue, this being the true POINT OF



USAF 000163
          Case 4:20-cv-00034-HRH     Document
                   EXH. 4 - USAF Master         107-4
                                        Development     Filed
                                                    & Mgmt     03/04/22
                                                           Agreement      Page 56 of 97
                                                                     with CAFL
                                                     Page 56 of 97
     BEGINNING for this description; THENCE through the bed of Koyuk Avenue and along lands now or formerly Lot
     GH2-A, N 19° 47’ 51” W, 446.87’ to a point; THENCE leaving the bed of Koyuk Avenue along the southerly side
     of Polaris Street N 69° 39’ 37” E, 459.96’ to a point; THENCE leaving the southerly side of Polaris Street S 20°
     20’ 23” E, 71.28’ to a point; THENCE S 63° 49’ 11” E, 59.24’ to a point; THENCE N 29° 16’ 04” E, 119.63’ to a
     point on the southerly side of Polaris Street; THENCE along the southerly side of Polaris Street S 60° 43’ 56” E,
     287.42’ to a point and the beginning of a tangent curve; THENCE continuing along said road, along said tangent
     curve to the left having a radius of 180.02’ and an arc length of 141.52’ and a chord bearing and distance of S 83°
     15’ 12” E, 137.90’ to a point of tangency; THENCE continuing along said road N 74° 13’ 32” E, 328.36’ to a
     recovered 5/8” rebar and 2” aluminum cap stamped LS 9327 near the southwesterly intersection of French Creek
     Drive and Polaris Street; THENCE along the westerly side of French Creek Drive S 17° 30’ 10” E, 453.31’ to a
     recovered 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE along the northerly side of North Street S
     70° 01’ 53” W, 860.03’ to a set 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE along lands now or
     formerly Lot CPN2-B N 18° 27’ 19” W, 289.32’ to a set 5/8” rebar and 2” aluminum cap stamped LS 9327;
     THENCE along lands now or formerly Lot CPN2-B S 73° 39’ 11” W, 157.44’ to a set 5/8” rebar and 2” aluminum
     cap stamped LS 9327; THENCE along lands now or formerly Lot CPN2-C S 82° 07’ 53” W, 207.28’ to the POINT
     OF BEGINNING.

     Containing 679,171 SF, 15.5916 Acres, more or less.

     PARCEL CPN2-B LEGAL DESCRIPTION

     A parcel of land located in Section 2, Township 3 South, Range 3 East, Fairbanks Meridian, Alaska, as shown on an
     ALTA survey prepared by Design Alaska, Inc., dated 8/24/13, and being more particularly described as follows:

     Commencing at a recovered 3” brass cap monument stamped EF-23 set on top of a concrete utilidor at the southwest
     corner of Koyuk Avenue and North Street, said monument having established Alaska State Plane, Zone 3, NAD83,
     USft. coordinates of (N)3905081.94, (E)1471250.53; THENCE on a grid bearing (all bearings thenceforth based on
     grid meridian of said Zone 3) N 10° 56’ 02” E, 86.31’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS
     9327 in the bed of Koyuk Avenue; THENCE along the northerly side of North Street N 70° 01’ 53” E, 183.23’ to a
     set 5/8” rebar and 2” aluminum cap stamped LS 9327, this being the true POINT OF BEGINNING for this
     description; THENCE along lands now or formerly Lot CPN2-C N 16° 03’ 04” W, 299.86’ to a set 5/8” rebar and
     2” aluminum cap stamped LS 9327; THENCE along lands now or formerly Lot CPN2-A N 73° 39’ 11” E, 157.44’
     to a set 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE along lands now or formerly Lot CPN2-A S
     18° 27’ 19” E, 289.32’ to a set 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE along the northerly side
     of North Street S 70° 01’ 53” W 169.99’ to the POINT OF BEGINNING.

     Containing 48,193 SF, 1.1064 Acres, more or less.

     PARCEL CPN2-C LEGAL DESCRIPTION

     A parcel of land located in Section 2, Township 3 South, Range 3 East, Fairbanks Meridian, Alaska, as shown on an
     ALTA survey prepared by Design Alaska, Inc., dated 8/24/13, and being more particularly described as follows:

     Commencing at a recovered 3” brass cap monument stamped EF-23 set on top of a concrete utilidor at the southwest
     corner of Koyuk Avenue and North Street, said monument having established Alaska State Plane, Zone 3, NAD83,
     USft. coordinates of (N)3905081.94, (E)1471250.53; THENCE on a grid bearing (all bearings thenceforth based on
     grid meridian of said Zone 3) N 10° 56’ 02” E, 86.31’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS
     9327 in the bed of Koyuk Avenue, this being the true POINT OF BEGINNING for this description; THENCE
     through the bed of Koyuk Avenue and along lands now or formerly Lot GH2-A, N 19° 47’ 51” W, 342.64’ to a set
     Magnail in the bed of Koyuk Avenue; THENCE leaving Koyuk Avenue along lands now or formerly CPN2-A N
     82° 07’ 53” E, 207.28’ to a set 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE along lands now or
     formerly Lot CPN2-B S 16° 03’ 04” E, 299.86’ to a set 5/8” rebar and 2” aluminum cap stamped LS 9327 along the
     northerly side of North Street; THENCE along the northerly side of North Street S 70° 01’ 53” W, 183.23’ to the
     POINT OF BEGINNING.




USAF 000164
          Case 4:20-cv-00034-HRH     Document
                   EXH. 4 - USAF Master         107-4
                                        Development     Filed
                                                    & Mgmt     03/04/22
                                                           Agreement      Page 57 of 97
                                                                     with CAFL
                                                     Page 57 of 97
     Containing 62,158 SF, 1.4270 Acres, more or less.

     PARCEL CPN3-A LEGAL DESCRIPTION

     A parcel of land located in Section 2, Township 3 South, Range 3 East, Fairbanks Meridian, Alaska, as shown on an
     ALTA survey prepared by Design Alaska, Inc., dated 8/24/13, and being more particularly described as follows:

     Commencing at a recovered 3” brass cap monument stamped EF-23 set on top of a concrete utilidor at the southwest
     corner of North Street and Koyuk Avenue, said monument having established Alaska State Plane, Zone 3, NAD83,
     USft. coordinates of (N)3905081.94, (E)1471250.53; THENCE on a grid bearing (all bearings thenceforth based on
     grid meridian of said Zone 3) crossing the bed of Koyuk Avenue N 61° 05’ 10” E, 76.97’ to a recovered 5/8” rebar
     and 2” aluminum cap stamped LS 9327 near the southeasterly intersection of Koyuk Avenue and North Street, this
     being the true POINT OF BEGINNING for this description; THENCE leaving the southeasterly intersection of
     Koyuk Avenue and North Street, along the southerly side of North Street N 70° 01’ 19” E, 376.62’ to a set 5/8”
     rebar and 2” aluminum cap stamped LS 9327; THENCE leaving the southerly side of North Street, along lands now
     or formerly Lot CPN3-B S 06° 38’ 52” E, 287.88’ to a set 5/8” rebar and 2” aluminum cap stamped LS 9327 near
     the northeast corner of Bald Eagle Court and Caribou Loop; THENCE along lands now or formerly CPN3-B S 54°
     10’ 02” E, 102.30’ to a set 5/8” rebar and 2” aluminum cap stamped LS 9327 on the northerly side of Caribou Loop;
     THENCE along lands now or formerly CPN3-B S 01° 50’ 11” E, 168.89’ to a recovered 5/8” rebar and 2”
     aluminum cap stamped LS 9327; THENCE S 17° 43’ 15” E, 287.73’ to a recovered 5/8” rebar and 2” aluminum cap
     stamped LS 9327 on the northerly side of Kodiak Street; THENCE along the northerly side of Kodiak Street S 70°
     17’ 03” W, 304.47’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327 at the northeasterly
     intersection of Koyuk Avenue and Kodiak Street; THENCE leaving the northeasterly intersection of Koyuk Avenue
     and Kodiak Street, along the easterly side of Koyuk Avenue N 19° 55’ 55” W, 811.35’ to the POINT OF
     BEGINNING.

     Containing 268,722 SF, 6.1690 Acres, more or less.

     PARCEL CPN3-B LEGAL DESCRIPTION

     A parcel of land located in Section 2, Township 3 South, Range 3 East, Fairbanks Meridian, Alaska, as shown on an
     ALTA survey prepared by Design Alaska, Inc., dated 8/24/13, and being more particularly described as follows:

     Commencing at a recovered 3” brass cap monument stamped EF-23 set on top of a concrete utilidor at the southwest
     corner of North Street and Koyuk Avenue, said monument having established Alaska State Plane, Zone 3, NAD83,
     USft. coordinates of (N)3905081.94, (E)1471250.53; THENCE on a grid bearing (all bearings thenceforth based on
     grid meridian of said Zone 3) crossing the bed of Koyuk Avenue N 61° 05’ 10” E, 76.97’ to a recovered 5/8” rebar
     and 2” aluminum cap stamped LS 9327 near the southeasterly intersection of Koyuk Avenue and North Street;
     THENCE leaving the southeasterly intersection of Koyuk Avenue and North Street, along the southerly side of
     North Street N 70° 01’ 19” E, 376.62’ to a set 5/8” rebar and 2” aluminum cap stamped LS 9327, this being the true
     POINT OF BEGINNING for this description; THENCE continuing along the southerly side of North Street N 70°
     01’ 19” E, 158.12’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE leaving the
     southerly side of North Street, S 18° 57’ 47” E 103.99’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS
     9327; THENCE N 77° 10’ 19” E, 99.50’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327;
     THENCE N 19° 05’ 37” W, 116.37’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327 on the
     southerly side of North Street; THENCE along the southerly side of North Street N 70° 01’ 19” E, 340.09’ to a
     recovered 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE leaving the southerly side of North Street S
     15° 24’ 25” E, 350.01’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE S 58° 37’ 19”
     W, 240.94’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE along lands now or
     formerly Lot CPN3-C S 67° 03’ 21” W, 199.20’ to a set 5/8” rebar and 2” aluminum cap stamped LS 9327;
     THENCE along lands now or formerly CPN3-C S 18° 23’ 22” E, 124.38’ to a set 5/8” rebar and 2” aluminum cap
     stamped LS 9327; THENCE S 71° 47’ 32” W, 191.98’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS
     9327; THENCE along lands now or formerly CPN3-A N 01° 50’ 11” W, 168.89’ to a set 5/8” rebar and 2”
     aluminum cap stamped LS 9327 along the southerly side of Caribou Loop; THENCE along lands now or formerly
     CPN3-A N 54° 10’ 02” W, 102.30’ to a set 5/8” rebar and 2” aluminum cap stamped LS 9327 at the northeasterly




USAF 000165
          Case 4:20-cv-00034-HRH     Document
                   EXH. 4 - USAF Master         107-4
                                        Development     Filed
                                                    & Mgmt     03/04/22
                                                           Agreement      Page 58 of 97
                                                                     with CAFL
                                                    Page 58 of 97
     intersection of Bald Eagle Lane and Caribou Loop; THENCE N 06° 38’ 52” W, 287.88’ to the POINT OF
     BEGINNING.

     Containing 250,732 SF, 5.7560 Acres, more or less.

     PARCEL CPN3-C LEGAL DESCRIPTION

     A parcel of land located in Section 2, Township 3 South, Range 3 East, Fairbanks Meridian, Alaska, as shown on an
     ALTA survey prepared by Design Alaska, Inc., dated 8/24/13, and being more particularly described as follows:

     Commencing at a recovered 3” brass cap monument stamped EF-23 set on top of a concrete utilidor at the southwest
     corner of North Street and Koyuk Avenue, said monument having established Alaska State Plane, Zone 3, NAD83,
     USft. coordinates of (N)3905081.94, (E)1471250.53; THENCE on a grid bearing (all bearings thenceforth based on
     grid meridian of said Zone 3) crossing the bed of Koyuk Avenue N 61° 05’ 10” E, 76.97’ to a recovered 5/8” rebar
     and 2” aluminum cap stamped LS 9327 near the southeasterly intersection of Koyuk Avenue and North Street;
     THENCE leaving the southeasterly intersection of Koyuk Avenue and North Street, along the southerly side of
     North Street N 70° 01’ 19” E, 534.74’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE
     leaving the southerly side of North Street, S 18° 57’ 47” E 103.99’ to a recovered 5/8” rebar and 2” aluminum cap
     stamped LS 9327; THENCE N 77° 10’ 19” E, 99.50’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS
     9327; THENCE N 19° 05’ 37” W, 116.37’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327 on the
     southerly side of North Street; THENCE along the southerly side of North Street N 70° 01’ 19” E, 340.09’ to a
     recovered 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE leaving the southerly side of North Street S
     15° 24’ 25” E, 350.01’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE S 58° 37’ 19”
     W, 240.94’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327, this being the true POINT OF
     BEGINNING for this description; THENCE S 15° 53’ 43” E, 140.95’ to a recovered 5/8” rebar and 2” aluminum
     cap stamped LS 9327; THENCE S 71° 47’ 32” W, 192.45’ to a set 5/8” rebar and 2” aluminum cap stamped LS
     9327; THENCE along lands now or formerly CPN3-B N 18° 23’ 22” W, 124.38’ to a set 5/8” rebar and 2”
     aluminum cap stamped LS 9327; THENCE along lands now or formerly CPN3-B N 67° 03’ 21” E, 199.20’ to the
     POINT OF BEGINNING.

     Containing 25,904 SF, 0.5947 Acres, more or less.

     PARCEL CPS1 LEGAL DESCRIPTION

     A parcel of land located in Section 2, Township 3 South, Range 3 East, Fairbanks Meridian, Alaska, as shown on an
     ALTA survey prepared by Design Alaska, Inc., dated 8-24-13, and being more particularly described as follows:

     Commencing at a recovered 3” brass cap monument stamped EF-23 set on top of a concrete utilidor at the southwest
     corner of North Street and Koyuk Avenue, said monument having established Alaska State Plane, Zone 3, NAD83,
     USft. coordinates of (N)3905081.94, (E)1471250.53; THENCE on a grid bearing (all bearings thenceforth based on
     grid meridian of said Zone 3) S 21° 11’ 08” E, 561.87’ to a set 5/8” rebar and 2” aluminum cap stamped LS 9327 on
     the westerly side of Koyuk Avenue, this being the true POINT OF BEGINNING for this description; THENCE
     along the westerly side of Koyuk Avenue S 19° 44’ 26” E, 237.35’ to a recovered 5/8” rebar and 2” aluminum cap
     stamped LS 9327 at the northwesterly corner of Koyuk Avenue and Kodiak Street; THENCE leaving the
     northwesterly intersection of Koyuk Avenue and Kodiak Street along the northerly side of Kodiak Street S 70° 17’
     03” W, 596.57’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE leaving the northerly
     side of Kodiak Street N 19° 03’ 40” W, 281.62’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327;
     THENCE N 69° 31’ 44” E, 275.58’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE S
     87° 20’ 59” E, 123.93’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE N 70° 29’ 16”
     E, 203.09’ to the POINT OF BEGINNING.

     Containing 156,825 SF, 3.6002 Acres, more or less.

     PARCEL CPS2-A LEGAL DESCRIPTION




USAF 000166
          Case 4:20-cv-00034-HRH     Document
                   EXH. 4 - USAF Master         107-4
                                        Development     Filed
                                                    & Mgmt     03/04/22
                                                           Agreement      Page 59 of 97
                                                                     with CAFL
                                                    Page 59 of 97
     A parcel of land located in Section 2, Township 3 South, Range 3 East, Fairbanks Meridian, Alaska, as shown on an
     ALTA survey prepared by Design Alaska, Inc., dated 8/24/13, and being more particularly described as follows:

     Commencing at a recovered 3” brass cap monument stamped EF-20 set on top of a concrete utilidor along the south
     side of North Street, said monument having established Alaska State Plane, Zone 3, NAD83, USft. coordinates of
     (N)3905237.44, (E)1471663.57; THENCE on a grid bearing (all bearings thenceforth based on grid meridian of said
     Zone 3) S 19° 32’ 08” E, 864.02’ to a recovered 5/8” rebar with 1-1/2” aluminum cap stamped 6484-S on the south
     side of Kodiak Street at the entrance to Anderson Elementary School; THENCE along the south side of Kodiak
     Street S 69° 53’ 29” W, 263.12’ to a set 5/8” rebar and 2” aluminum cap, stamped LS 9327, this being the true
     POINT OF BEGINNING for this description; THENCE along lands now or formerly CPS2-B S 18° 58’ 00” E,
     358.07’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS-9236; THENCE along lands now or formerly
     Anderson Elementary School S 19° 30’ 03” E, 275.24’ to a recovered 5/8” rebar and 2” aluminum cap, stamped LS
     9327; THENCE departing from said Anderson Elementary School lot and along lands now or formerly Lot BW1 S
     85° 01’ 22” W, 548.93’ to a recovered 5/8” rebar and 2” aluminum cap, stamped LS 9327; THENCE continuing
     along said lot S 55°59’ 23” W, 135.48’ to a recovered 5/8” rebar and 2” aluminum cap, stamped LS 9327; THENCE
     continuing along said lot S 06° 59’ 50” E, 302.52’ to a recovered 5/8” rebar and 2” aluminum cap, stamped LS 9327
     on the northerly side of Broadway Street; THENCE along the northerly side of Broadway Street S 75° 46’ 41” W,
     312.31’ to a recovered 5/8” rebar and 2” aluminum cap, stamped LS 9327 at the northeast corner of Arctic Avenue
     and Broadway Street; THENCE leaving the northerly side of Broadway Street, along the easterly side of Arctic
     Avenue N 19° 50’ 57” W, 785.09’ to a recovered 5/8” rebar and 2” aluminum cap, stamped LS 9327 at the southeast
     corner of Arctic Avenue and Kodiak Street; THENCE leaving the easterly side of Arctic Avenue, along the
     southerly side of Kodiak Street N 69° 53’ 29” E, 1047.21’ to the POINT OF BEGINNING.

     Containing 660,317 SF, 15.1588 Acres, more or less.

     PARCEL CPS2-B LEGAL DESCRIPTION

     A parcel of land located in Section 2, Township 3 South, Range 3 East, Fairbanks Meridian, Alaska, as shown on an
     ALTA survey prepared by Design Alaska, Inc., dated 8/24/13, and being more particularly described as follows:

     Commencing at a recovered 3” brass cap monument stamped EF-20 set on top of a concrete utilidor along the south
     side of North Street, said monument having established Alaska State Plane, Zone 3, NAD83, USft. coordinates of
     (N)3905237.44, (E)1471663.57; THENCE on a grid bearing (all bearings thenceforth based on grid meridian of said
     Zone 3) S 19° 32’ 08” E, 864.02’ to a recovered 5/8” rebar with 1-1/2” aluminum cap stamped 6484-S on the south
     side of Kodiak Street at the entrance to Anderson Elementary School, this being the true POINT OF BEGINNING
     for this description; THENCE leaving the south side of Kodiak Street, along lands now or formerly Anderson
     Elementary School S 19° 30’ 09” E, 200.01’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS-9236;
     THENCE continuing along said lot S 30° 27’ 15” W, 250.15’ to a recovered 5/8” rebar and 2” aluminum cap
     stamped LS-9236; THENCE continuing along said lot S 70° 34’ 30” W, 74.96’ to a recovered 5/8” rebar and 2”
     aluminum cap stamped LS-9236; THENCE along lands now or formerly CPS2-A N 18° 58’ 00” W, 358.07’ to a set
     5/8” rebar and 2” aluminum cap stamped LS 9327 along the south side of Kodiak Street; THENCE along the
     southerly side of Kodiak Street N 69° 53’ 29” E, 263.12’ to the POINT OF BEGINNING.

     Containing 79,789 SF, 1.8317 Acres, more or less.

     PARCEL FC1-A LEGAL DESCRIPTION

     A parcel of land located partially in Section 2, Township 3 South, Range 3 East, and Section 35, Township 2 South,
     Range 3 East, Fairbanks Meridian, Alaska, as shown on an ALTA survey prepared by Design Alaska, Inc., dated 8-
     24-13, and being more particularly described as follows:

     Commencing at a recovered 3” brass cap monument stamped EF-20 set on top of a concrete utilidor along the south
     side of North Street, said monument having established Alaska State Plane, Zone 3, NAD83, USft. coordinates of
     (N)3905237.44, (E)1471663.57; THENCE on a grid bearing (all bearings thenceforth based on grid meridian of
     said Zone 3) N 01° 39’ 41” W, 2871.48’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327 near the




USAF 000167
          Case 4:20-cv-00034-HRH     Document
                   EXH. 4 - USAF Master         107-4
                                        Development     Filed
                                                    & Mgmt     03/04/22
                                                           Agreement      Page 60 of 97
                                                                     with CAFL
                                                    Page 60 of 97
     northeasterly intersection of French Creek Drive and Manchu Drive, this being the true POINT OF BEGINNING for
     this description; THENCE crossing French Creek Drive S 69° 21’ 56” W, 88.26’ to a recovered 5/8” rebar and 2”
     aluminum cap stamped LS 9327; THENCE S 80°38’ 48” W, 691.42’ to a recovered 5/8” rebar and 2” aluminum cap
     stamped LS 9327; THENCE N 66° 55’ 24” W, 316.74’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS
     9327; THENCE N 52° 45’ 13” W, 769.28’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327;
     THENCE crossing a 50’ wide pipeline easement S 68° 05’ 52” W, 794.56’ to a recovered 5/8” rebar and 2”
     aluminum cap stamped LS 9327 on the easterly side of Arctic Avenue; THENCE along the easterly side of Arctic
     Avenue N 19° 33’ 51” W, 887.97’ to a set 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE leaving the
     easterly side of Arctic Avenue and crossing a 50‘ wide pipeline easement N 69° 21’ 46” E, 941.31’ to a set 5/8”
     rebar and 2” aluminum cap stamped LS 9327; THENCE N 78° 06’ 19” E, 328.54’ to a set 5/8” rebar and 2”
     aluminum cap stamped LS 9327; THENCE S 59° 07’ 01” E, 193.71’ to a set 5/8” rebar and 2” aluminum cap
     stamped LS 9327; THENCE S 11° 33’ 21” E, 315.82’ to a set 5/8” rebar and 2” aluminum cap stamped LS 9327;
     THENCE S 27° 52’ 59” E, 285.61’ to a set 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE S 60° 26’
     48” E, 348.75’ to a set 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE S 86° 24’ 12” E, 382.15’ to a
     set 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE S 48° 08’ 06” E, 443.79’ to a set 5/8” rebar and 2”
     aluminum cap stamped LS 9327; THENCE S 27° 45’ 20” E, 262.86’ to the POINT OF BEGINNING.

     Containing 1,962,592 SF, 45.0549 Acres, more or less.

              SUBJECT TO THE FOLLOWING EASEMENT FOR PIPELINE PURPOSES:

     A 50' wide strip of land centered on the existing Haines-Fairbanks pipeline crossing through lands now or formerly
     Lot FC1-A, being described in State of Alaska case abstract AKF 010143, and being more particularly described as
     follows:

     Commencing at a recovered 3” brass cap monument stamped EF-20 set on top of a concrete utilidor along the south
     side of North Street, said monument having established Alaska State Plane, Zone 3, NAD83, USft. coordinates of
     (N)3905237.44, (E)1471663.57; THENCE on a grid bearing (all bearings thenceforth based on grid meridian of
     said Zone 3) N 01° 39’ 41” W, 2871.48’ to a set 5/8” rebar and 2” aluminum cap stamped LS 9327 near the
     northeasterly intersection of French Creek Drive and Manchu Drive, THENCE crossing French Creek Drive S 69°
     21’ 56” W, 88.26’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE S 80° 38’ 48” W,
     691.42’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE N 66° 55’ 24” W, 316.74’ to a
     recovered 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE N 52° 45’ 13” W, 769.28’ to a recovered
     5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE S 68° 05’ 52” W, 39.41’ to a point, this being the true
     POINT OF BEGINNING for this description; THENCE along the southerly line of Lot FC1-A S 68° 05’ 52” W,
     56.98’ to a point; THENCE through lands now or formerly Lot FC1-A N 50° 32’ 26” W, 1006.39’ to a point;
     THENCE along the northerly line of Lot FC1-A N 69° 21’ 46” E, 57.69’ to a point; THENCE through lands now or
     formerly Lot FC1-A S 50° 32’ 26” E, 1004.94’ to the POINT OF BEGINNING.
     Containing 50,288 SF, 1.1545 Acres, more or less.


     PARCEL GH1 LEGAL DESCRIPTION

     A parcel of land located in Section 2, Township 3 South, Range 3 East, Fairbanks Meridian, Alaska, as shown on an
     ALTA survey prepared by Design Alaska, Inc., dated 8-24-13, and being more particularly described as follows:

     Commencing at a recovered 3” brass cap monument stamped EF-23 set on top of a concrete utilidor at the southwest
     corner of North Street and Koyuk Avenue, said monument having established Alaska State Plane, Zone 3, NAD83,
     USft. coordinates of (N)3905081.94, (E)1471250.53; THENCE on a grid bearing (all bearings thenceforth based on
     grid meridian of said Zone 3) N 10° 31’ 11” W, 1,223.74’ to a recovered 5/8” rebar and 2” aluminum cap stamped
     LS 9327, a corner of lands now or formerly Lot CPN1, this being the true POINT OF BEGINNING for this
     description; THENCE along lands now or formerly Lot CPN1 S 23°26’ 01” W, 204.93’ to a recovered 5/8” rebar
     and 2” aluminum cap stamped LS 9327; THENCE continuing along said lot S 14° 07’ 53” E, 129.85’ to a recovered
     5/8” rebar and 2” aluminum cap stamped LS 9327 in the bed of Atlas Loop; THENCE continuing in the bed of Atlas
     Loop S 19° 47’ 51” E, 5.48’ to a point; THENCE leaving the bed of Atlas Loop, along the northerly side of Polaris
     Street S 69° 39’ 37” W, 235.44’ to a point; THENCE leaving the northerly side of Polaris Road N 20° 20’ 23” W,




USAF 000168
          Case 4:20-cv-00034-HRH     Document
                   EXH. 4 - USAF Master         107-4
                                        Development     Filed
                                                    & Mgmt     03/04/22
                                                           Agreement      Page 61 of 97
                                                                     with CAFL
                                                    Page 61 of 97
     111.44’ to a point; THENCE S 69° 39’ 37” W, 82.34’ to a point; THENCE S 14° 58’ 13” E, 109.42’ to a point on
     the beginning of a non tangent curve on the northerly side of Polaris Street; THENCE along the northerly side of
     Polaris Street and along said non tangent curve to the right having a radius of 570.05’,and an arc length of 209.78’,
     and a chord bearing and distance of S 85° 34’ 20” W, 208.60’ to a point of tangency; THENCE continuing along
     said northerly side of Polaris Street N 83° 53’ 07” W, 48.64’ to the beginning of a tangent curve; THENCE
     continuing along said northerly side of Polaris Street along said tangent curve to the left having a radius of 480.05’
     an arc length of 218.13’ and a chord bearing and distance of S 83° 05’ 50” W, 216.26’ to a point of tangency;
     THENCE continuing along said northerly side of Polaris Street S 70° 04’ 48” W, 134.86’ to a recovered 5/8” rebar
     and 2” aluminum cap stamped LS 9327 at the northeast intersection of Polaris Street and Arctic Avenue; THENCE
     along the easterly side of Arctic Avenue N 19° 50’ 44” W, 185.86’ to a recovered 5/8” rebar and 2” aluminum cap
     stamped LS 9327; THENCE leaving the easterly side of Arctic Avenue N 30° 04’ 06” E, 266.36’ to a recovered 5/8”
     rebar and 2” aluminum cap stamped LS 9327; THENCE N 76° 48’ 51” E, 646.95’ to a recovered 5/8” rebar and 2”
     aluminum cap stamped LS 9327; THENCE S 81° 12’ 31” E, 256.96’ to the POINT OF BEGINNING.

     Containing 357,857 SF, 8.2153 Acres, more or less.

     PARCEL GH2-A LEGAL DESCRIPTION

     A parcel of land located in Section 2, Township 3 South, Range 3 East, Fairbanks Meridian, Alaska, as shown on a
     an ALTA survey prepared by Design Alaska, Inc., dated 8/24/13, and being more particularly described as follows:

     Commencing at a recovered 3” brass cap monument stamped EF-23 set on top of a concrete utilidor at the southwest
     corner of North Street and Koyuk Avenue, said monument having established Alaska State Plane, Zone 3, NAD83,
     USft. coordinates of (N)3905081.94, (E)1471250.53; THENCE on a grid bearing (all bearings thenceforth based on
     grid meridian of said Zone 3) N 57° 11’ 18” W, 464.15’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS
     9327, this being the true POINT OF BEGINNING for this description; THENCE S 83° 41’ 17” W, 195.85’ to a
     recovered 5/8” rebar and 2” aluminum cap stamped LS 9327 on the northerly side of Birch Street; THENCE along
     the northerly side of Birch Street S 65° 05’ 18” W, 43.09’ to a recovered 5/8” rebar and 2” aluminum cap stamped
     LS 9327; THENCE continuing along the northerly side of Birch Street S 40° 32’ 09” W, 60.69’ to a recovered 5/8”
     rebar and 2” aluminum cap stamped LS 9327; THENCE N 24° 49’ 50” W, 89.72’ to a set 5/8” rebar and 2”
     aluminum cap stamped LS 9327; THENCE S 71° 25’ 10” W, 298.23’ to a set 5/8” rebar and 2” aluminum cap
     stamped LS 9327 along the easterly side of Arctic Avenue; THENCE along the easterly side of Arctic Avenue N
     19° 50’ 44” W, 511.35’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327 at the southeast
     intersection of Arctic Avenue and Polaris Street; THENCE leaving the easterly side of Arctic Avenue along the
     southerly side of Polaris Street and crossing the bed of Ursa Loop N 70° 04’ 48” E, 134.93’ to the beginning of a
     tangent curve; THENCE continuing along the southerly side of Polaris Street and along said tangent curve to the
     right having a radius of 420.04’ an arc length of 190.86’ and a chord bearing and distance of N 83° 05’ 50” E,
     189.22’ to a point of tangency; THENCE continuing along the southerly side of Polaris Street S 83° 53’ 07” E,
     48.64’ to the beginning of a tangent curve; THENCE continuing along the southerly side of Polaris Street and along
     said tangent curve to the left having a radius of 630.06’ an arc length of 290.91’ and a chord bearing and distance of
     N 82° 53’ 15” E, 288.33’ to a point of tangency; THENCE continuing along the southerly side of Polaris Street and
     crossing the bed of Ursa Loop N 69° 39’ 37” E, 274.11’ to a point in the bed of Koyuk Avenue; THENCE leaving
     the southerly side of Polaris Street through the bed of Koyuk Avenue and along lands now or formerly Lot CPN2 S
     19° 47’ 51” E, 500.42’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE leaving the bed
     of Koyuk Avenue S 71° 09’ 59” W, 326.00’ to the POINT OF BEGINNING.

     Containing 460,992 SF, 10.5829 Acres, more or less.

     PARCEL GH2-B LEGAL DESCRIPTION

     A parcel of land located in Section 2, Township 3 South, Range 3 East, Fairbanks Meridian, Alaska, as shown on a
     an ALTA survey prepared by Design Alaska, Inc., dated 8/24/13, and being more particularly described as follows:

     Commencing at a recovered 3” brass cap monument stamped EF-23 set on top of a concrete utilidor at the southwest
     corner of North Street and Koyuk Avenue, said monument having established Alaska State Plane, Zone 3, NAD83,
     USft. coordinates of (N)3905081.94, (E)1471250.53; THENCE on a grid bearing (all bearings thenceforth based on



USAF 000169
          Case 4:20-cv-00034-HRH     Document
                   EXH. 4 - USAF Master         107-4
                                        Development     Filed
                                                    & Mgmt     03/04/22
                                                           Agreement      Page 62 of 97
                                                                     with CAFL
                                                      Page 62 of 97
     grid meridian of said Zone 3) N 75° 58’ 23” W, 683.66’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS
     9327, this being the true POINT OF BEGINNING for this description; THENCE along the north side of Birch Street
     S 71° 05’ 20” W, 305.99’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327 at the northeast
     intersection of Arctic Avenue and Birch Street; THENCE along the easterly side of Arctic Avenue N 19° 50’ 44” W,
     90.98’ to a set 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE N 71° 25’ 10” E, 298.23’ to a set 5/8”
     rebar and 2” aluminum cap stamped LS 9327; THENCE S 24°49’ 50” E, 89.72’ to the POINT OF BEGINNING.

     Containing 27,216 SF, 0.6248 Acres, more or less.

     PARCEL GH3 LEGAL DESCRIPTION

     A parcel of land located in Section 2, Township 3 South, Range 3 East, Fairbanks Meridian, Alaska, as shown on an
     ALTA survey prepared by Design Alaska, Inc., dated 8-24-13, and being more particularly described as follows:

     Commencing at a recovered 3” brass cap monument stamped EF-23 set on top of a concrete utilidor at the southwest
     corner of North Street and Koyuk Avenue, said monument having established Alaska State Plane, Zone 3, NAD83,
     USft. coordinates of (N)3905081.94, (E)1471250.53; THENCE on a grid bearing (all bearings thenceforth based on
     grid meridian of said Zone 3) S 86° 12’ 41” W, 265.78’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS
     9327 on the northerly side of North Street, this being the true POINT OF BEGINNING for this description;
     THENCE along the northerly side of North Street S 69° 59’ 46” W, 618.18’ to a recovered 5/8” rebar and 2”
     aluminum cap stamped LS 9327 at the northeast corner of Arctic Avenue and North Street; THENCE leaving the
     northerly side of North Street, along the easterly side of Arctic Avenue N 19° 50’ 44” W, 153.52’ to a set 5/8” rebar
     and 2” aluminum cap stamped LS 9327; THENCE leaving the easterly side of Arctic Avenue N 67° 14’ 22” E,
     134.14’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE N 77° 17’ 54” E, 179.44’ to a
     recovered 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE N 67° 38’ 00” E, 255.85’ to a recovered
     5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE S 38° 45’ 33” E, 155.99’ to the POINT OF
     BEGINNING.

     Containing 87,592 SF, 2.0108 Acres, more or less.

     PARCEL ML1-A LEGAL DESCRIPTION

     A parcel of land located in Section 1, Township 3 South, Range 3 East, Fairbanks Meridian, Alaska, as shown on an
     ALTA survey prepared by Design Alaska, Inc., dated 8-24-13, and being more particularly described as follows:

     Commencing at a recovered 3” brass cap monument stamped EF-20 set on top of a concrete utilidor along the south
     side of North Street, said monument having established Alaska State Plane, Zone 3, NAD83, USft. coordinates of
     (N)3905237.44, (E)1471663.57; THENCE on a grid bearing (all bearings thenceforth based on grid meridian of said
     Zone 3) N 41° 10’ 37” E, 1026.84’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327 near the
     southeasterly intersection of French Creek Drive and Moose Lake Drive, this being the true POINT OF
     BEGINNING for this description; THENCE crossing the bed of Moose Lake Drive N 18° 33’ 33” W, 81.70’ to a
     recovered 5/8” rebar and 2” aluminum cap stamped LS 9327 on the northerly side of Moose Lake Drive; THENCE
     along the northerly side of Moose Lake Drive N 80° 31’ 56” E, 560.07’ to a recovered 5/8” rebar and 2” aluminum
     cap stamped LS 9327; THENCE continuing along said northerly side of Moose Lake Drive S 70° 04’ 15” E, 604.12’
     to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE leaving the northerly side of Moose
     Lake Drive N 39° 38’ 35” E, 245.86’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE S
     49° 47’ 28” E, 817.89’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE S 26° 23’ 07” E,
     762.82’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE S 29° 17’ 59” W, 881.72’ to a
     set 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE N 23° 03’ 58” W, 687.41’ to a set 5/8” rebar and
     2” aluminum cap stamped LS 9327 near the northwest corner of Moose Lake Drive and Timberwolf Court;
     THENCE S 84° 28’ 00” W, 368.45’ to a set 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE N 03° 54’
     47” W, 485.59’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE N 22° 18’ 58” W,
     730.67’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE along the south side of Moose
     Lake Drive N 62° 40’ 54” W, 352.44’ to a set 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE
     continuing along the south side of Moose Lake Drive S 80° 03’ 39” W, 531.57’ to the POINT OF BEGINNING.




USAF 000170
          Case 4:20-cv-00034-HRH     Document
                   EXH. 4 - USAF Master         107-4
                                        Development     Filed
                                                    & Mgmt     03/04/22
                                                           Agreement      Page 63 of 97
                                                                     with CAFL
                                                     Page 63 of 97
     Containing 1,394,673 SF, 32.0173 Acres, more or less.



     PARCEL ML1-B LEGAL DESCRIPTION

     A parcel of land located in Section 1, Township 3 South, Range 3 East, Fairbanks Meridian, Alaska, as shown on an
     ALTA survey prepared by Design Alaska, Inc., dated 8-24-13, and being more particularly described as follows:

     Commencing at a recovered 3” brass cap monument stamped EF-20 set on top of a concrete utilidor along the south
     side of North Street, said monument having established Alaska State Plane, Zone 3, NAD83, USft. coordinates of
     (N)3905237.44, (E)1471663.57; THENCE on a grid bearing (all bearings thenceforth based on grid meridian of said
     Zone 3) N 41° 10’ 37” E, 1026.84’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327 near the
     southeasterly intersection of French Creek Drive and Moose Lake Drive; THENCE crossing the bed of Moose Lake
     Drive N 18° 33’ 33” W, 81.70’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327 on the northerly
     side of Moose Lake Drive; THENCE along the northerly side of Moose Lake Drive N 80° 31’ 56” E, 560.07’ to a
     recovered 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE continuing along said northerly side of
     Moose Lake Drive S 70° 04’ 15” E, 604.12’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327;
     THENCE leaving the northerly side of Moose Lake Drive N 39° 38’ 35” E, 245.86’ to a recovered 5/8” rebar and 2”
     aluminum cap stamped LS 9327; THENCE S 49° 47’ 28” E, 817.89’ to a recovered 5/8” rebar and 2” aluminum cap
     stamped LS 9327; THENCE S 26° 23’ 07” E, 762.82’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS
     9327; THENCE S 29° 17’ 59” W, 881.72’ to a set 5/8” rebar and 2” aluminum cap stamped LS 9327, this being the
     true POINT OF BEGINNING for this description; THENCE along the southerly side of Moose Lake Drive S 29°
     17’ 59” W, 730.41’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE along the southerly
     side of Moose Lake Drive S 79° 46’ 49” W, 464.75’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS
     9327; THENCE crossing the bed of Moose Lake Drive and along the easterly side of French Creek Drive N 25° 22’
     45” W, 160.14’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE along the northerly side
     of Moose Lake Drive N 79° 26’ 47” E, 502.57’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327;
     THENCE N 19° 46’ 28” E, 190.95’ to a set 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE N 26° 29’
     45” W, 487.01’ to a set 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE N 11° 27’ 03” W, 473.49’ to a
     set 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE N 84° 28’ 00” E, 368.45’ to a set 5/8” rebar and 2”
     aluminum cap stamped LS 9327 near the northwest intersection of Moose Lake Drive and Timberwolf Court;
     THENCE S 23° 03’ 58” E, 687.41’ to the POINT OF BEGINNING.

     Containing 476,622 SF, 10.9417 Acres, more or less.

     PARCEL RW1 LEGAL DESCRIPTION

     A parcel of land located partially in Sections 1 and 12, Township 3 South, Range 3 East, Fairbanks Meridian,
     Alaska, as shown on an ALTA survey prepared by Design Alaska, Inc., dated 8-24-13, and being more particularly
     described as follows:

     Commencing at a recovered 3” brass cap monument stamped EF-20 set on top of a concrete utilidor along the south
     side of North Street, said monument having established Alaska State Plane, Zone 3, NAD83, USft. coordinates of
     (N)3905237.44, (E)1471663.57; THENCE on a grid bearing (all bearings thenceforth based on grid meridian of said
     Zone 3) S 34° 40’ 34” E, 2431.17’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327 near the
     northeasterly intersection of Coman Avenue and Ravens Way, this being the true POINT OF BEGINNING for this
     description; THENCE along the northerly side of Coman Avenue S 36° 30’ 22” E, 292.44’ to a recovered 5/8” rebar
     and 2” aluminum cap stamped LS 9327; THENCE continuing along said avenue S 53° 24’ 54” E, 684.85’ to a
     recovered 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE along the easterly side of Coman Avenue
     S 22° 42’ 41” W, 348.50’ to a recovered 5/8” rebar and 2” aluminum cap stamped LS 9327; THENCE leaving the
     easterly side of Coman Avenue, along the southerly side of Broadway Street N 70° 01’ 39” W, 1,119.68’ to a
     recovered 5/8” rebar and 2” aluminum cap stamped LS 9327 on the easterly side of Ravens Way; THENCE along
     the easterly side of Ravens Way N 26° 39’ 22” E, 224.79’ to the beginning of a tangent curve; THENCE continuing
     along the easterly side of Ravens Way, along said tangent curve to the right with a radius of 906.52’, an arc length of
     533.61’ and a chord bearing and distance of S 43° 31’09” W, 525.93’ to the POINT OF BEGINNING.



USAF 000171
          Case 4:20-cv-00034-HRH     Document
                   EXH. 4 - USAF Master         107-4
                                        Development     Filed
                                                    & Mgmt     03/04/22
                                                           Agreement      Page 64 of 97
                                                                     with CAFL
                                                      Page 64 of 97
                   Containing 556,295 SF, 12.7708 Acres, more or less.




            USAF 000172
Case 4:20-cv-00034-HRH     Document
         EXH. 4 - USAF Master         107-4
                              Development     Filed
                                          & Mgmt     03/04/22
                                                 Agreement      Page 65 of 97
                                                           with CAFL
                                   Page 65 of 97
                                                EXHIBIT A-3

                                          EGLIN AIR FORCE BASE
                                              “Eglin Parcels”




                                                     A-3
           MDMA - Continental
           FINAL
    USAF 000173
Case 4:20-cv-00034-HRH     Document
         EXH. 4 - USAF Master         107-4
                              Development     Filed
                                          & Mgmt     03/04/22
                                                 Agreement      Page 66 of 97
                                                           with CAFL
                                Page 66 of 97
                                                Eglin AFB

     LEGAL DESCRIPTION - PARCEL B-1

     COMMENCE AT A 4"X4" CONCRETE MONUMENT STAMPED EGLIN MARKING THE SOUTHWEST
     CORNER OF SECTION 34, TOWNSHIP 1 SOUTH, RANGE 23 WEST, OKALOOSA COUNTY, FLORIDA;
     THENCE N 47°55'13" E, A DISTANCE OF 2375.39 FEET TO A POINT ON THE MEAN HIGH WATER LINE
     OF CHOCTAWHATCHEE BAY, ALSO BEING THE POINT OF BEGINNING;

     FROM SAID POINT OF BEGINNING THENCE CONTINUE NORTHWESTERLY ALONG SAID MEAN
     HIGH WATER LINE, (SAID LINE ALSO BEING THE MEAN HIGH WATER LINE OF AN INLET OF
     CHOCTAWHATCHEE BAY KNOWN AS BENS LAKE THENCE N 29°28'51" W A DISTANCE OF 58.28
     FEET; THENCE N 42°42'52" W A DISTANCE OF 123.32 FEET; THENCE N 13°34'24" W A DISTANCE OF
     122.21 FEET TO AN EXISTING IRON PIN W/CAP GCT (E.I.P.); THENCE N 8°28'44" W A DISTANCE OF
     84.92 FEET TO AN E.I.P.; THENCE N 11°31'21" E A DISTANCE OF 105.45 FEET TO AN E.I.P.; THENCE N
     36°06'38" W A DISTANCE OF 111.50 FEET TO AN E.I.P.; THENCE N 52°51'12" W A DISTANCE OF 88.33
     FEET TO AN E.I.P.; THENCE N 63°13'00" W A DISTANCE OF 109.99 FEET TO AN E.I.P.; THENCE N
     75°43'53" WEST A DISTANCE OF 60.64 FEET TO AN E.I.P.; THENCE N 4°27'09" W A DISTANCE OF 169.52
     FEET TO AN E.I.P.; THENCE N 0°22'54" W A DISTANCE OF 139.86 FEET TO AN E.I.P.; THENCE N
     15°27'43" W A DISTANCE OF 58.59 FEET; THENCE N 33°50'11" W A DISTANCE OF 99.67 FEET TO AN
     E.I.P.; THENCE N 1°50'58" E A DISTANCE OF 34.83 FEET; THENCE N 59°58'43" W A DISTANCE OF 17.86
     FEET; THENCE S 22°51'14" W A DISTANCE OF 40.10 FEET; THENCE N 68°04'47" W A DISTANCE OF
     81.34 FEET TO AN E.I.P.; THENCE N 63°45'30" W A DISTANCE OF 95.48 FEET TO AN E.I.P. W/CAP;
     THENCE N 80°36'49" W A DISTANCE OF 87.97 FEET; THENCE N 12°46'25" W A DISTANCE OF 155.28
     FEET TO AN E.I.P.; THENCE N 21°01'50" W A DISTANCE OF 60.74 FEET TO AN E.I.P.; THENCE N
     2°42'50" W A DISTANCE OF 82.17 FEET TO AN E.I.P.; THENCE N 35°48'58" W A DISTANCE OF 91.79
     FEET TO AN E.I.P.; THENCE N 39°26'45" W A DISTANCE OF 40.61 FEET; THENCE N 22°47'13" W A
     DISTANCE OF 75.95 FEET; THENCE N 88°52'19" W A DISTANCE OF 118.64 FEET TO AN E.I.P.; THENCE
     N 89°36'50" W A DISTANCE OF 45.03 FEET TO AN E.I.P.; THENCE N 89°43'38" W A DISTANCE OF 108.85
     FEET TO AN E.I.P.; THENCE N 45°55'53" W A DISTANCE OF 116.33 FEET TO AN E.I.P.; THENCE N
     50°49'24" W A DISTANCE OF 132.05 FEET TO AN E.I.P.; THENCE N 44°46'52" W A DISTANCE OF 35.47
     FEET TO AN E.I.P.; THENCE N 75°30'10" W A DISTANCE OF 110.76 FEET TO AN E.I.P.; THENCE N
     62°34'16" W A DISTANCE OF 176.72 FEET TO AN E.I.P.; THENCE N 75°52'24" W A DISTANCE OF 54.74
     FEET TO AN E.I.P.; THENCE N 67°38'03" W A DISTANCE OF 96.10 FEET TO AN E.I.P.; THENCE N
     72°51'54" W A DISTANCE OF 75.11 FEET TO AN E.I.P.; THENCE N 19°37'00" W A DISTANCE OF 105.52
     FEET; THENCE N 62°48'24" W A DISTANCE OF 114.04 FEET TO AN E.I.P.; THENCE S 87°05'43" W A
     DISTANCE OF 83.01 FEET; THENCE S 89°04'27" W A DISTANCE OF 55.15 FEET; THENCE S 35°26'17" W
     A DISTANCE OF 99.45 FEET TO AN E.I.P.; THENCE S 32°40'38" W A DISTANCE OF 117.71 FEET TO AN
     E.I.P.; THENCE S 31°49'43" W A DISTANCE OF 173.38 FEET; THENCE S 36°24'47" E A DISTANCE OF
     92.12 FEET TO AN E.I.P.; THENCE S 51°07'32" E A DISTANCE OF 133.82 FEET TO AN E.I.P.; THENCE S
     60°19'02" E A DISTANCE OF 171.72 FEET TO AN E.I.P.; THENCE S 67°26'43" E A DISTANCE OF 95.05
     FEET TO AN E.I.P.; THENCE S 66°53'32" E A DISTANCE OF 147.43 FEET TO AND E.I.P.; THENCE S
     71°18'51" E A DISTANCE OF 65.38 FEET TO AN E.I.P.; THENCE S 63°20'07" E A DISTANCE OF 52.42 FEET
     TO AN E.I.P.; THENCE S 28°58'57" E A DISTANCE OF 112.68 FEET TO AN E.I.P.; THENCE S 71°06'30" E A
     DISTANCE OF 95.92 FEET TO AN E.I.P.; THENCE S 39°46'39" E A DISTANCE OF 77.76 FEET TO AN
     E.I.P.; THENCE S 61°50'03" W A DISTANCE OF 211.49 FEET TO A SET IRON PIN W/CAP POLY #LB7527
     (S.I.P.); THENCE N 52°57'45" W A DISTANCE OF 300.95 FEET TO AN E.I.P.; THENCE N 60°27'09" W A
     DISTANCE OF 131.39 TO AN E.I.P.; THENCE N 36°41'29" W A DISTANCE OF 10.88 FEET TO AN E.I.P.;
     THENCE N 35°34'15" W A DISTANCE OF 28.07 FEET TO AN E.I.P.; THENCE N 60°14'44" W A DISTANCE
     OF 35.05 FEET TO AN E.I.P.; THENCE N 82°10'05" W A DISTANCE OF 26.86 FEET TO AN E.I.P.; THENCE
     N 60°05'30" W A DISTANCE OF 533.03 FEET TO A 1/2" W/CAP GCT; THENCE N 60°47'36" W A DISTANCE
     OF 12.36 FEET TO A S.I.P.; THENCE N 27° 12' 34" E A DISTANCE OF 48.86 FEET TO A S.I.P.; THENCE N
     46°22'36" E A DISTANCE OF 777.11 TO A S.I.P.; THENCE N 40°30' 52" E A DISTANCE OF 25.31 FEET TO A
     S.I.P.; THENCE N 46°22'54" E A DISTANCE OF 730.13 FEET TO A S.I.P.; THENCE S 54°57'17" E A




USAF 000174

         Case 4:20-cv-00034-HRH     Document
                  EXH. 4 - USAF Master         107-4
                                       Development     Filed
                                                   & Mgmt     03/04/22
                                                          Agreement      Page 67 of 97
                                                                    with CAFL
                                             Page 67 of 97
     DISTANCE OF 2.20 FEET TO AN S.I.P.; THENCE N 45°43'29" E A DISTANCE OF 23.36 FEET TO A S.I.P.;
     THENCE IN A CURVE TO THE RIGHT HAVING A RADIUS OF 50.00 FEET AN ARC LENGTH OF 54.21
     AND A CHORD BEARING AND DISTANCE OF N 85°41'41" E, 51.60 FEET TO A S.I.P.; THENCE IN A
     CURVE TO THE LEFT HAVING A RADIUS OF 644.24 FEET AN ARC LENGTH OF 341.69 FEET AND A
     CHORD BEARING AND DISTANCE OF S 76°36'51" E, 337.70 FEET TO A "X" CHISELED IN CONCRETE;
     THENCE S 3°39'30" W A DISTANCE OF 110.16 FEET; THENCE IN A CURVE TO THE LEFT HAVING A
     RADIUS OF 548.55 FEET AN ARC LENGTH OF 479.71 FEET AND A CHORD BEARING AND DISTANCE
     OF S 19°16'25" E, 464.57 FEET TO A S.I.P.; THENCE S 49°24'38" E A DISTANCE OF 530.74 FEET TO A
     S.I.P.; THENCE IN A CURVE TO THE RIGHT HAVING A RADIUS OF 2203.07 FEET AN ARC LENGTH OF
     415.99 FEET AND A CHORD BEARING AND DISTANCE OF S 45°09'50" E, 415.37 FEET TO A S.I.P.;
     THENCE IN A CURVE TO THE RIGHT HAVING A RADIUS OF 1314.02 FEET AN ARC LENGTH OF 540.62
     FEET AND A CHORD BEARING AND DISTANCE OF S 28°24'27" E, 536.82 FEET; THENCE N 70°06'20" E
     A DISTANCE OF 169.00 FEET; THENCE IN A CURVE TO THE RIGHT HAVING A RADIUS OF 243.84
     FEET AN ARC LENGTH OF 259.61 FEET AND A CHORD BEARING AND DISTANCE OF S 79°01'53" E,
     247.52 FEET TO A S.I.P.; THENCE N 39°27'36" E A DISTANCE OF 872.19 FEET TO A S.I.P.; THENCE IN A
     CURVE TO THE RIGHT HAVING A RADIUS OF 851.23 FEET AN ARC LENGTH OF 797.80 FEET AND A
     CHORD BEARING AND DISTANCE OF N 63°17'52" E, 768.92 FEET TO A S.I.P.; THENCE S 89°16'22" E A
     DISTANCE OF 416.33 FEET TO A S.I.P.; THENCE S 21°46'26" W A DISTANCE OF 29.75 FEET TO A SI.P.;
     THENCE IN A CURVE TO THE LEFT HAVING A RADIUS OF 976.82 FEET AN ARC LENGTH OF 149.68
     FEET AND A CHORD BEARING AND DISTANCE OF S 17°10'44" W, 149.53 FEET TO A S.I.P.; THENCE IN
     A CURVE TO THE LEFT HAVING A RADIUS OF 233.95 FEET AN ARC LENGTH OF 49.07 FEET AND A
     CHORD BEARING AND DISTANCE OF S 5°38'55" W, 48.98 FEET TO A S.I.P.; THENCE S 44°22'36" E A
     DISTANCE OF 18.23 FEET TO A S.I.P.; THENCE S 85°58'51" E A DISTANCE OF 71.22 FEET TO A S.I.P.;
     THENCE IN A CURVE TO THE LEFT HAVING A RADIUS OF 675.18 FEET AN ARC LENGTH OF 84.73
     FEET AND A CHORD BEARING AND DISTANCE OF N 89°40'33" E, 84.67 FEET TO A S.I.P.;
     THENCE IN A CURVE TO THE LEFT HAVING A RADIUS OF 382.93 FEET AN ARC LENGTH OF 206.09
     FEET AND A CHORD BEARING AND DISTANCE OF N 65°03'18" E, 203.61 FEET TO A S.I.P.; THENCE N
     43°37'10" E A DISTANCE OF 33.58 FEET TO A E.I.P.; THENCE S 49°41'36" E A DISTANCE OF 90.09 FEET
     TO A S.I.P.; THENCE N 89°59'00" E A DISTANCE OF 69.60 FEET TO A S.I.P.; THENCE N 71°34'57" E A
     DISTANCE OF 277.06 FEET TO S.I.P.; THENCE S 1°57'39" E A DISTANCE OF 197.31 FEET TO AN E.I.P.;
     THENCE S 43°36'45" E A DISTANCE OF 145.72 FEET TO AN E.I.P.; THENCE S 82°11'51" E A DISTANCE
     OF 46.99 FEET TO AN E.I.P.; THENCE S 15°34'57" E A DISTANCE OF 488.53 FEET TO AN E.I.P.; THENCE
     S 87°52'13" W A DISTANCE OF 121.85 FEET TO A S.I.P.; THENCE S 67°02'59" W A DISTANCE OF 110.07
     FEET TO AN E.I.P.; THENCE S 66°09'57" W A DISTANCE OF 105.38 FEET TO A S.I.P.; THENCE N
     84°16'52" W A DISTANCE OF 131.62 FEET TO A S.I.P.; THENCE S 77°29'06" W A DISTANCE OF 209.81
     FEET TO AN E.I.P.; THENCE S 74°31'45" W A DISTANCE OF 123.98 FEET; THENCE S 73°31'27" W A
     DISTANCE OF 80.50; THENCE S 67°24'31" W A DISTANCE OF 100.22 FEET; THENCE S 77°32'52" W A
     DISTANCE OF 86.74 FEET TO AN E.I.P.; THENCE S 66°47'31" W A DISTANCE OF 127.21 FEET TO AN
     E.I.P.; THENCE S 62°46'57" W A DISTANCE OF 98.92 FEET; THENCE S 67°36'46" W A DISTANCE OF 71.30
     FEET TO AN E.I.P.; THENCE S 46°32'39" W A DISTANCE OF 96.61 TO AN E.I.P.; THENCE S 34°34'37" W A
     DISTANCE OF 96.00 FEET TO A S.I.P.; THENCE S 48°48'55" W A DISTANCE OF 136.53 FEET TO AN E.I.P.;
     THENCE S 70°04'59" W A DISTANCE OF 114.84 FEET TO AN E.I.P.; THENCE S73°06'58" W A DISTANCE
     OF 117.55 FEET TO AN E.I.P.; THENCE S 68°36'30" W A DISTANCE OF 111.40 TO AN E.I.P.; THENCE
     S67°33'41" W A DISTANCE OF 169.57 FEET TO AN E.I.P.; THENCE S 67°06'57" W A DISTANCE OF 99.73
     FEET TO AN E.I.P.; THENCE S 60°56'42" W A DISTANCE OF 158.55 FEET TO AN E.I.P.; THENCE S
     58°34'15" W A DISTANCE OF 126.96 FEET TO AN E.I.P.; THENCE S 73°53'56" W A DISTANCE OF 91.86
     FEET TO AN E.I.P.; THENCE S80°52'42" W A DISTANCE OF 90.63 FEET TO AN E.I.P.; THENCE S
     74°27'48"W A DISTANCE OF 98.34 FEET TO A S.I.P.; THENCE S 64°54'35" W A DISTANCE OF 106.92
     FEET TO AN E.I.P.; THENCE S 9°27'18" W A DISTANCE OF 44.52 FEET TO AN E.I.P.; THENCE S 57°29'15"
     W A DISTANCE OF 100.43 FEET TO AN E.I.P.; THENCE S 56°22'38" W A DISTANCE OF 88.66 FEET TO
     AN E.I.P.; THENCE S 58°08'07" W A DISTANCE OF 96.59 FEET TO AN E.I.P.; THENCE S 68°54'23" W A
     DISTANCE OF 64.97 TO THE POINT OF BEGINNING. SAID PARCEL LYING IN THE AND BEING A PART
     OF SECTIONS 27, 33, 34, AND ALL OF TOWNSHIP 1 SOUTH, RANGE 23 WEST, OKALOOSA COUNTY,
     FLORIDA AND CONTAINING 119.291 ACRES MORE OR LESS.

     LEGAL DESCRIPTION - PARCEL B-2




USAF 000175
         Case 4:20-cv-00034-HRH     Document
                  EXH. 4 - USAF Master         107-4
                                       Development     Filed
                                                   & Mgmt     03/04/22
                                                          Agreement      Page 68 of 97
                                                                    with CAFL
                                             Page 68 of 97
     COMMENCE AT A 4"X4" CONCRETE MONUMENT STAMPED EGLIN MARKING THE SOUTHWEST
     CORNER OF SECTION 34, TOWNSHIP 1 SOUTH, RANGE 23 WEST, OKALOOSA COUNTY, FLORIDA;
     THENCE N 3°14'44" E A DISTANCE OF 4548.54 FEET TO A EXISTING IRON PIN W/CAP GCT (E.I.P.)
     AND THE POINT OF BEGINNING.

     FROM SAID POINT OF BEGINNING N 25°24'15"E A DISTANCE OF 520.75 FEET TO A E.I.P.; THENCE N
     85°36'48" E A DISTANCE OF 95.08 FEET TO AN E.I.P.; THENCE S 41°47'23" E A DISTANCE OF 299.44
     FEET TO AN E.I.P.; THENCE S 48°13'07" W A DISTANCE OF 164.59 FEET TO AN E.I.P.; THENCE S
     52°56'11" E A DISTANCE OF 304.10 FEET TO AN SET IRON PIN W/CAP POLY #LB7527 (S.I.P.); THENCE
     IN A CURVE TO THE RIGHT HAVING A RADIUS OF 650.12 FEET AN ARC LENGTH OF 600.51 FEET
     AND A CHORD BEARING AND DISTANCE OF N 89°33'25" W, 579.39 FEET TO AN E.I.P.; THENCE N
     59°42'42" W A DISTANCE OF 67.52 FEET TO THE POINT OF BEGINNING. SAID PARCEL LYING IN AND
     BEING A PART OF THENW 1/4 OF THE NW 1/4 OF SECTION 34, TOWNSHIP 1 SOUTH, RANGE 23
     WEST, OKALOOSA COUNTY, FLORIDA AND CONTAINING 4.725 ACRES MORE OR LESS.

     LEGAL DESCRIPTION - PARCEL B-3

     COMMENCE AT A 4"X4" CONCRETE MONUMENT STAMPED EGLIN MARKING THE SW CORNER OF
     SECTION 34, TOWNSHIP 1 S, RANGE 23 W, OKALOOSA COUNTY, FLORIDA; THENCE N 8°07'28" E, A
     DISTANCE OF 4435.07 FEET TO A CHISELED "X" IN CONCRETE, ALSO BEING THE POINT OF
     BEGINNING.

     FROM SAID POINT OF BEGINNING THENCE IN A CURVE TO THE LEFT HAVING A RADIUS OF 644.24
     FEET AN ARC LENGTH OF 442.81 FEET AND A CHORD BEARING AND DISTANCE OF N 68°30'04" E,
     434.14 FEET TO A SET IRON PIN W/CAP POLY #LB7527 (S.I.P.); THENCE N 50°28'31" E A DISTANCE OF
     1048.63 FEET TO A S.I.P.; THENCE IN A CURVE TO THE LEFT HAVING RADIUS OF 581.38 FEET AN
     ARC LENGTH OF 654.29 FEET AND A CHORD BEARING AND DISTANCE OF N 21°34'54" E, 620.30 TO A
     S.I.P.; THENCE LEAVING HATCHEE ROAD N 88°10'00" E A DISTANCE OF 846.52 FEET TO AN
     EXISTING IRON PIN W/CAP GCT (E.I.P.); THENCE N 58°23'45" E A DISTANCE OF 347.01 FEET TO AN
     E.I.P.; THENCE N 68°38'42" E A DISTANCE OF 454.88 FEET TO A S.I.P.; THENCE S 55°16'26" E A
     DISTANCE OF 26.46 FEET TO AN E.I.P.; THENCE S 26°34'39" W A DISTANCE OF 38.07 FEET TO AN
     E.I.P.; THENCE S 88°41'43" E A DISTANCE OF 195.65 FEET TO AN E.I.P.; THENCE S 79°15'22" E A
     DISTANCE OF 146.30 FEET TO AN E.I.P.; THENCE S 58°32'12" E A DISTANCE OF 121.84 FEET TO AN
     E.I.P.; THENCE S 17°35'25" E A DISTANCE OF 82.05 FEET TO AN E.I.P.; THENCE S 0°13'16" W A
     DISTANCE OF 141.63 FEET TO AN E.I.P.; THENCE S 31°24'04" E A DISTANCE OF 139.11 FEET TO AN
     E.I.P.; THENCE S 15°40'05" E A DISTANCE OF 153.84 FEET TO AN E.I.P.; THENCE S 16°24'52" E A
     DISTANCE OF 146.69 FEET TO AN E.I.P.; THENCE S 50°16'04" E A DISTANCE OF 162.99 FEET TO AN
     E.I.P.; THENCE S 44°48'23" E A DISTANCE OF 116.81 FEET TO AN E.I.P.; THENCE S 19°54'32" W A
     DISTANCE OF 118.70 FEET TO AN E.I.P.; THENCE S 22°01'53" W A DISTANCE OF 150.48 FEET TO AN
     E.I.P.; THENCE S 0°18'03" E A DISTANCE OF 138.36 FEET TO AN E.I.P.; THENCE S 26°16'40" W A
     DISTANCE OF 152.89 FEET TO AN E.I.P.; THENCE S 18°19'03" W A DISTANCE OF 123.99 FEET TO AN
     E.I.P.; THENCE S 2°00'06" W A DISTANCE OF 118.76 FEET TO AN E.I.P.; THENCE S 13°29'46" E A
     DISTANCE OF 148.56 FEET TO AN E.I.P.; THENCE S 29°50'54" E A DISTANCE OF 124.31 FEET TO AN
     E.I.P.; THENCE S 28°14'56" E A DISTANCE OF 134.32 FEET TO AN E.I.P.; THENCE S 4°59'40" W A
     DISTANCE OF 169.36 FEET TO AN E.I.P.; THENCE S 24°27'43" E A DISTANCE OF 130.78 FEET TO AN
     E.I.P.; THENCE S 17°54'23" E A DISTANCE OF 136.36 FEET TO AN E.I.P. W/CAP GCT; THENCE S
     71°34'57" W A DISTANCE OF 277.06 FEET TO S.I.P.; THENCE S 89°59'00" W A DISTANCE OF 69.60 FEET
     TO A S.I.P.; THENCE N 49°41'36" W A DISTANCE OF 90.09 FEET TO A S.I.P.; THENCE S 43°37'10" W A
     DISTANCE OF 33.58 FEET TO A S.I.P.; THENCE IN A CURVE TO THE RIGHT HAVING A RADIUS OF
     382.93 FEET AN ARC LENGTH OF 206.09 FEET AND A CHORD BEARING AND DISTANCE OF S
     65°03'18" W, 203.61 FEET TO A S.I.P.; THENCE IN A CURVE TO THE RIGHT HAVING A RADIUS OF
     675.18 FEET AN ARC LENGTH OF 84.73 FEET AND A CHORD BEARING AND DISTANCE OF S 89°40'33"
     W, 84.67 FEET TO A S.I.P.; THENCE N 85°58'51" W A DISTANCE OF 71.22 FEET TO A S.I.P.; THENCE N
     44°22'36" W A DISTANCE OF 18.23 FEET TO A S.I.P.; THENCE IN A CURVE TO THE RIGHT HAVING A
     RADIUS OF 233.95 FEET AN ARC LENGTH OF 49.07 FEET AND A CHORD BEARING AND DISTANCE OF




USAF 000176

         Case 4:20-cv-00034-HRH     Document
                  EXH. 4 - USAF Master         107-4
                                       Development     Filed
                                                   & Mgmt     03/04/22
                                                          Agreement      Page 69 of 97
                                                                    with CAFL
                                            Page 69 of 97
     N 5°38'55" E, 48.98 FEET TO A S.I.P.; THENCE IN A CURVE TO THE RIGHT HAVING A RADIUS OF
     976.82 FEET AN ARC LENGTH OF 149.68 FEET AND A CHORD BEARING AND DISTANCE OF N
     17°10'44" E, 149.53 FEET TO A S.I.P.; THENCE N 21°46'26" E A DISTANCE OF 29.75 FEET TO A SI.P.;
     THENCE N 89°16'22" W A DISTANCE OF 416.33 FEET TO A S.I.P.; THENCE IN A CURVE TO THE LEFT
     HAVING A RADIUS OF 851.23 FEET AN ARC LENGTH OF 797.80 FEET AND A CHORD BEARING AND
     DISTANCE OF S 63°17'52" W, 768.92 FEET TO A S.I.P.; THENCE S 39°27'36" W A DISTANCE OF 872.19
     FEET; THENCE IN A CURVE TO THE LEFT HAVING A RADIUS OF 243.84 FEET AN ARC LENGTH OF
     259.61 FEET AND A CHORD BEARING AND DISTANCE OF N 79°01'53" W, 247.52 FEET TO A S.I.P.;
     THENCE S 70°06'20" W A DISTANCE OF 169.00 FEET; THENCE IN A CURVE TO THE LEFT HAVING A
     RADIUS OF 1314.02 AN ARC LENGTH OF 540.62 FEET AND A CHORD BEARING AND DISTANCE OF N
     28°24'27" W, 536.82 FEET; THENCE IN A CURVE TO THE LEFT HAVING A RADIUS OF 2203.07 AN ARC
     LENGTH OF 415.99 FEET AND A CHORD BEARING AND DISTANCE OF N 45°09'50"W, 415.37 FEET TO A
     S.I.P.; THENCE N 49°24'38" W A DISTANCE OF 530.74 FEET TO A S.I.P.; THENCE IN A CURVE TO THE
     RIGHT HAVING A RADIUS OF 548.55 FEET AN ARC LENGTH OF 479.71 AND A CHORD BEARING AND
     DISTANCE OF N 19°16'25" W, 464.57 FEET TO A S.I.P.; THENCE N 3°39'30" E A DISTANCE OF 110.16
     FEET TO THE POINT OF BEGINNING. SAID PARCEL LYING IN THE AND BEING A PART OF
     SECTIONS 27, 33, 34, AND ALL OF TOWNSHIP 1 SOUTH, RANGE 23 WEST, OKALOOSA COUNTY,
     FLORIDA AND CONTAINING 178.164 ACRES MORE OR LESS.

     LEGAL DESCRPITION - PARCEL D

     COMMENCING AT THE SOUTHEAST CORNER OF SECTION 33, TOWNSHIP 1 SOUTH , RANGE 23
     WEST, OKALOOSA COUNTY, FLORIDA. SAID POINT ALSO BEING THE POINT OF BEGINNING.

     FROM SAID POINT OF BEGINNING THENCE N 87°43'24" W A DISTANCE OF 502.43 FEET TO A SET
     IRON PIN WITH CAP POLY #LB7527 (S.I.P.); THENCE N 2°16'36" E A DISTANCE OF 404.60 FEET TO A
     S.I.P.; THENCE N 89°05'06" W A DISTANCE OF 481.26 FEET TO A S.I.P.; THENCE S 2°16'36" W A
     DISTANCE OF 393.17 FEET TO A S.I.P.; THENCE N 87°43'24" W A DISTANCE OF 338.16 FEET TO A 4"
     ALUMINUM DISK STAMPED EGLIN 2013; THENCE N 87°43'47" W A DISTANCE OF 1321.53 FEET TO A
     4"X4" C.M. STAMPED EGLIN 1980; THENCE N 87°40'12" W A DISTANCE OF 1319.91 TO A 4"X4" C.M.
     STAMPED EGLIN 1980; THENCE N 87°40'58"W A DISTANCE OF 1319.45 FEET TO A 4"X4" C.M.
     STAMPED ELGIN 2013; THENCE N 87°39'22" W A DISTANCE OF 1319.81 FEET TO A 4" ALUMINUM
     DISK STAMPED EGLIN 2013; THENCE N 87°37'34" W A DISTANCE OF 1319.66 FEET TO A 4"X4" C.M.
     STAMPED EGLIN 1980; THENCE N 2°16'06" E A DISTANCE OF 2156.44 FEET TO A 4" ALUMINUM DISK
     STAMPED EGLIN 1980; THENCE N 87°48'23" W A DISTANCE OF 665.59 FEET TO A 4" ALUMINUM DISK
     STAMPED EGLIN 1980; THENCE IN A CURVE TO THE RIGHT HAVING A RADIUS OF 11,346.26 FEET
     AN ARC LENGTH OF 2030.97 FEET AND A CHORD BEARING AND DISTANCE OF N 45°23'10" E, 2028.26
     FEET TO A S.I.P.; THENCE S 39°33'04" E A DISTANCE OF 18.73 FEET TO A S.I.P.; THENCE IN A CURVE
     TO THE RIGHT HAVING A RADIUS OF 5654.58 FEET AN ARC LENGTH OF 413.30 FEET AND A CHORD
     BEARING AND DISTANCE OF N 57°28'18" E, 413.20 FEET TO A S.I.P.; THENCE IN A CURVE TO THE
     RIGHT HAVING A RADIUS OF 2789.79 FEET AN ARC LENGTH OF 469.73 FEET AND A CHORD
     BEARING AND DISTANCE OF N 64°23'21" E, 469.18 FEET TO A S.I.P.; THENCE N 69°12'46" E A
     DISTANCE OF 657.51 FEET TO A S.I.P.; THENCE S 20°47'14" E A DISTANCE OF 35.00 FEET TO A S.I.P.;
     THENCE IN A CURVE TO THE LEFT HAVING A RADIUS OF 958.83 FEET AN ARC LENGTH OF 445.71
     FEET AND A CHORD BEARING AND DISTANCE OF N 55°53'46" E, 441.71 FEET TO A S.I.P.; THENCE N
     90°00'00" E A DISTANCE OF 248.89 FEET TO A E.I.P. W/CAP FEI; THENCE S 2°13'34" W A DISTANCE OF
     1032.76 FEET TO A E.I.P. W/CAP FEI; THENCE S 2°13'05" W A DISTANCE OF 304.68 FEET TO A S.I.P.;
     THENCE S 88°48'53" E A DISTANCE OF 398.02 FEET TO A S.I.P.; THENCE IN A CURVE TO THE LEFT
     HAVING A RADIUS OF 978.82 AN ARC LENGTH OF 405.18 FEET AND A CHORD BEARING AND
     DISTANCE OF N 78°27'06" E, 402.29 FEET TO A S.I.P.; THENCE N 67°12'03" E A DISTANCE OF 289.07
     FEET TO A S.I.P.; THENCE IN A CURVE TO THE RIGHT HAVING A RADIUS OF 868.01 FEET AN ARC
     LENGTH OF 348.82 FEET AND A CHORD BEARING AND DISTANCE OF N 78°21'28" E, 346.47 FEET TO A
     S.I.P.; THENCE S 88°56'09" E A DISTANCE OF 82.31 FEET TO A S.I.P.; THENCE S 84°54'30" E A
     DISTANCE OF 67.43 FEET TO A S.I.P.; THENCE S 89°04'19" E A DISTANCE OF 776.11 FEET TO A S.I.P.;
     THENCE IN A CURVE TO THE LEFT HAVING A RADIUS OF 2027.74 FEET AN ARC LENGTH OF 319.36
     FEET AND A CHORD BEARING A DISTANCE OF N 86°08'16" E, 319.03 FEET TO A S.I.P.; THENCE IN A




USAF 000177
         Case 4:20-cv-00034-HRH     Document
                  EXH. 4 - USAF Master         107-4
                                       Development     Filed
                                                   & Mgmt     03/04/22
                                                          Agreement      Page 70 of 97
                                                                    with CAFL
                                            Page 70 of 97
     CURVE TO THE LEFT HAVING A RADIUS OF 490.44 FEET AND AN ARC LENGTH OF 395.34 FEET AND
     A CHORD BEARING AND DISTANCE OF N 58°47'47" E, 384.73 FEET TO A S.I.P.; THENCE N 37°34'06" E A
     DISTANCE OF 59.89 FEET TO A E.I.P. W/CAP GCT; THENCE S 60°14'45" E A DISTANCE OF 328.07 FEET
     TO A E.I.P. 5/8" W/CAP DRMP; THENCE S 64°13'57" E A DISTANCE OF 58.27 FEET TO A E.I.P. W/CAP
     DRMP; THENCE S 59°54'48" E A DISTANCE OF 149.02 FEET TO AN EIP 5/8" W/CAP DRMP; THENCE S
     47°24'25" E A DISTANCE OF 39.71 FEET TO A E.I.P.; THENCE S 60°16'50" E A DISTANCE OF 52.02 FEET
     TO A S.I.P.; THENCE S 29°07'38" W A DISTANCE OF 51.39 FEET TO A S.I.P.; THENCE S 59°31'52" E A
     DISTANCE OF 63.36 FEET TO A S.I.P.; THENCE N 29°24'33" E A DISTANCE OF 52.25 FEET TO A S.I.P.;
     THENCE S 60°16'09" E A DISTANCE OF 148.07 FEET TO A E.I.P.; THENCE S 69°28'33" E A DISTANCE OF
     57.57 FEET TO AN E.I.P. 5/8" W/CAP DRMP; THENCE
     S 60°16'19" E A DISTANCE OF 1129.65 FEET TO A E.I.P. 5/8" W/CAP DRMP; THENCE S 56°45'44" E A
     DISTANCE OF 279.90 FEET TOA E.I.P. 5/8" ; THENCE IN A CURVE TO THE RIGHT HAVING A RADIUS
     OF 791.81 FEET AN ARC LENGTH OF 427.47 FEET AND A CHORD BEARING AND DISTANCE OF S
     33°40'19" E, 422.30 FEET TO A E.I.P. 5/8"; THENCE S 18°24'46" E A DISTANCE OF 135.23 FEET TO A E.I.P.
     5/8" W/CAP DRMP; THENCE S 18°23'44" E A DISTANCE OF 316.90 FEET TO A E.I.P. 1/2" W/CAP DRMP;
     THENCE S 46°30'11" W A DISTANCE OF 1269.40 FEET TO AN EIP W/CAP DRMP; THENCE S 55°58'30" E
     A DISTANCE OF 934.89 FEET TO A E.I.P. 1/2" W/CAP #LB6679; THENCE N 39°13'33" E A DISTANCE OF
     266.12 FEET TO A E.I.P. 1/2" W.CAP #LB6679; THENCE S 50°31'22" E A DISTANCE OF 481.78 FEET TO A
     S.I.P.; THENCE ALONG THE HIGH WATER LINE S 41°42'38" W A DISTANCE OF 42.91 FEET TO A S.I.P.;
     THENCE S 30°45'34" W A DISTANCE OF 91.22 FEET TO A S.I.P.; THENCE S 20°43'11" W A DISTANCE OF
     165.42 FEET TO A S.I.P.; THENCE S 29°15'14" W A DISTANCE OF 82.59 FEET TO A S.I.P.; THENCE S
     45°14'03" W A DISTANCE OF 226.18 FEET TO A S.I.P.; THENCE S 28°34'20" W A DISTANCE OF 29.01
     FEET TO A S.I.P.; THENCE S 63°32'03" E A DISTANCE OF 24.77 FEET TO A S.I.P. THENCE N 87°42'54" W
     A DISTANCE OF 367.41 FEET TO THE POINT OF BEGINNING. SAID PARCEL LYING IN AND BEING IN
     A PORTION OF SECTION 32, 33 & 34, TOWNSHIP 1 SOUTH , RANGE 23 WEST, OKALOOSA COUNTY,
     FLORIDA AND CONTAINING 655.117 ACRES MORE OR LESS.

     LEGAL DESCRIPTION - PARCEL E

     COMMENCE AT THE NW CORNER OF SECTION 32 T-1-S, R-23-W OKALOOSA COUNTY, FLORIDA
     AND BEING A 4"X4" C.M. STAMPED EGLIN. THENCE ALONG NORTHERLY LINE OF SECTION SOUTH
     87°55'49" EAST A DISTANCE OF 2018.76 FEET; THENCE SOUTH 00°00'00" EAST A DISTANCE OF 421.84
     FEET TO A 6"X6" CONCRETE MONUMENT AND ALSO BEING THE POINT OF BEGINNING.

     FROM SAID POINT OF BEGINNING THENCE SOUTH 46°13'05" EAST A DISTANCE OF 499.32 FEET TO A
     SET IRON PIN W/CAP POLY #LB7527 (S.I.P.); THENCE SOUTH 78°49'55" WEST A DISTANCE OF 199.48
     FEET TO A S.I.P.; THENCE SOUTH 11°10'05" EAST A DISTANCE OF 30.00 FEET TO A S.I.P.; THENCE
     NORTH 78°49'55" EAST A DISTANCE OF 220.52 FEET TO A S.I.P.; THENCE SOUTH 46°13'05" EAST A
     DISTANCE OF 1056.15 FEET TO A STAMPED DRPM #2648; THENCE IN A CURVE TO THE LEFT
     HAVING A RADIUS OF 11527.18, AN ARC LENGTH OF 2670.56 FEET AND A CHORD BEARING AND
     DISTANCE OF SOUTH 43°51'56 WEST, 2664.60 FEET TO AN EXISTING IRON PIN STAMPED DRMP
     #2648; THENCE NORTH 62°42'04" WEST A DISTANCE OF 454.81 FEET TO THE EDGE OF PIQUITO
     BAYOU; THENCE MEANDERING AROUND SAID BAYOU AS MARKED BY A PREVIOUS SURVEY BY
     DMRP NORTH 62°41'30" WEST A DISTANCE OF 99.78 FEET; THENCE NORTH 24°25'24" WEST A
     DISTANCE OF 42.72 FEET; THENCE NORTH 10°44'28" EAST A DISTANCE OF 29.47 FEET; THENCE
     SOUTH 88°37'46" EAST A DISTANCE OF 28.12 FEET; THENCE NORTH 28°07'06" EAST A DISTANCE OF
     160.86 FEET TO A EXISTING NAIL; THENCE NORTH 12°12'40" EAST A DISTANCE OF 215.08 FEET;
     THENCE NORTH 4°30'46" WEST A DISTANCE OF 201.46 FEET TO AN EXISTING NAIL; THENCE NORTH
     61°15'19" WEST A DISTANCE OF 163.95 FEET TO AN EXISTING NAIL; THENCE NORTH 21°41'10" WEST
     A DISTANCE OF 82.07 FEET TO AN EXISTING NAIL; THENCE NORTH 15°52'31" EAST A DISTANCE OF
     83.51 FEET TO AN EXISTING NAIL; THENCE NORTH 10°02'08" EAST A DISTANCE OF 64.25 FEET TO
     AN EXISTING NAIL; THENCE NORTH 1°31'41" WEST A DISTANCE OF 139.07 FEET; THENCE NORTH
     30°07'46" WEST A DISTANCE OF 130.16 FEET; THENCE NORTH 0°19'20" WEST A DISTANCE OF 157.69
     FEET TO AN EXISTING NAIL; THENCE NORTH 13°43'40" WEST A DISTANCE OF 126.21 FEET TO AN
     EXISTING NAIL; THENCE NORTH 1°27'42" WEST A DISTANCE OF 93.89 FEET TO AN EXISTING NAIL;
     THENCE NORTH 23°51'59" EAST A DISTANCE OF 81.45 FEET TO AN EXISTING NAIL; THENCE NORTH




USAF 000178
         Case 4:20-cv-00034-HRH     Document
                  EXH. 4 - USAF Master         107-4
                                       Development     Filed
                                                   & Mgmt     03/04/22
                                                          Agreement      Page 71 of 97
                                                                    with CAFL
                                               Page 71 of 97
     23°31'03" EAST A DISTANCE OF 118.10 FEET TO AN EXISTING NAIL; THENCE NORTH 48°26'36" EAST
     A DISTANCE OF 96.07 FEET TO AN EXISTING NAIL; THENCE SOUTH 82°53'08" EAST A DISTANCE OF
     125.53 FEET TO AN EXISTING NAIL; THENCE LEAVING EDGE OF PIQUITO BAYOU NORTH 33°53'09"
     EAST A DISTANCE OF 504.09 FEET TO A 3/4" RBR; THENCE NORTH 18°19'43" EAST A DISTANCE OF
     145.29 FEET TO A 3/4" RBR; THENCE NORTH 41°36'44" EAST A DISTANCE OF 270.14 FEET TO A 1/2"
     RBR; THENCE NORTH 66°03'31" EAST A DISTANCE OF 577.78 FEET THE POINT OF BEGINNING. SAID
     PARCEL LYING IN THE NORTH HALF OF SECTION 32, T-1-S, R-23-W OKALOOSA COUNTY, FLORIDA
     AND CONTAINING 90.64± ACRES MORE OR LESS.

     LEGAL DESCRIPTION - PARCEL I

     COMMENCE AT THE NW CORNER OF SECTION 27, T-2-N, R-25-W OKALOOSA COUNTY, FLORIDA
     AND BEING A 2 1/2" x 30" ROUND ALUMINUM BREAKAWAY MONUMENT WITH 3 1/4" ALUMINUM
     CAP STAMPED "DEPARTMENT OF AGRICULTURE & CONSUMER SERVICES, DIVISION OF FORESTRY
     GCY LB 4108". THENCE SOUTH 0°00'00" EAST A DISTANCE OF 10187.64 FEET; THENCE SOUTH
     90°00'00" EAST A DISTANCE OF 2357.78 FEET TO AN EXISTING MAG NAIL AND WASHER; THENCE
     SOUTH 67°38'20" EAST A DISTANCE OF 579.63 FEET TO AN EXISTING MAG NAIL AND WASHER;
     THENCE IN A CURVE TO THE RIGHT HAVING A RADIUS OF 552.75 FEET AN ARC LENGTH OF 167.71
     FEET AND A CHORD BEARING AND DISTANCE OF SOUTH 58°56'49" EAST, 167.07 FEET TO AN
     EXISTING MAG NAIL AND WASHER AND BEING THE POINT OF BEGINNING.

     FROM SAID POINT OF BEGINNING THENCE NORTH 29°50'08" EAST A DISTANCE OF 18.66 FEET TO
     AN EXISTING 5/8" REBAR WITH CAP STAMP DRMP (E.I.P.); THENCE NORTH 79°59'56" EAST A
     DISTANCE OF 194.98 FEET TO A E.I.P.; THENCE SOUTH 82°54'05" EAST A DISTANCE OF 462.23 FEET
     TO AN E.I.P.; THENCE SOUTH 61°14'50" EAST A DISTANCE OF 203.94 FEET TO AN E.I.P.; THENCE
     SOUTH 4°29'26" WEST A DISTANCE OF 464.03 FEET TO AN E.I.P.; THENCE NORTH 84°48'11" WEST A
     DISTANCE OF 474.99 FEET TO AN E.I.P.; THENCE NORTH 61°27'41" WEST A DISTANCE OF 405.80
     FEET TO AN E.I.P.; THENCE NORTH 2°28'51" WEST A DISTANCE OF 264.66 FEET TO AN E.I.P.;
     THENCE NORTH 30°06'03" EAST A DISTANCE OF 76.83 FEET TO THE POINT OF BEGINNING. SAID
     PARCEL LYING IN AND BEING A PART OF THE SOUTH HALF OF THE SOUTHEAST QUARTER OF
     SECTION 34, TOWNSHIP 2 NORTH, RANGE 25 WEST AND THE NORTH HALF OF THE NORTHEAST
     QUARTER OF SECTION 3, TOWNSHIP 2 NORTH, RANGE 25 WEST, OKALOOSA COUNTY, FLORIDA
     AND CONTAINING 9.88 ACRES MORE OR LESS.




USAF 000179
         Case 4:20-cv-00034-HRH     Document
                  EXH. 4 - USAF Master         107-4
                                       Development     Filed
                                                   & Mgmt     03/04/22
                                                          Agreement      Page 72 of 97
                                                                    with CAFL
                                          Page 72 of 97
                                                 EXHIBIT A-4

                                             HURLBURT FIELD
                                            “Hurlburt Field Parcels”




                                                      A-4
           MDMA - Continental
           FINAL
    USAF 000180

Case 4:20-cv-00034-HRH     Document
         EXH. 4 - USAF Master         107-4
                              Development     Filed
                                          & Mgmt     03/04/22
                                                 Agreement      Page 73 of 97
                                                           with CAFL
                                Page 73 of 97
                                             Hurlburt AFB

     LEGAL DESCRIPTION - PARCEL J-1 (AS FURNISHED)

     A PARCEL OF LAND LYING IN SECTION 13, TOWNSHIP 2 SOUTH, RANGE 25 WEST, OKALOOSA
     COUNTY, FLORIDA, BEING MORE PARTICULARLY DESCRIBED AS FOLLOWS:

     COMMENCE AT THE EAST 1/4 CORNER OF SECTION 14, TOWNSHIP 2 SOUTH, RANGE 25 WEST;
     THENCE S 01°58'03" W, A DISTANCE OF 1051.35 FEET TO THE NORTH RIGHT-OF-WAY LINE OF U.S.
     HIGHWAY 98 (A 200.00 FOOT WIDE RIGHT-OF-WAY); THENCE S 86°34'10" E ALONG SAID NORTH
     RIGHT-OF-WAY LINE,L A DISTANCE OF 1070.49 FEET TO THE POINT OF BEGINNING OF THE HEREIN
     DESCRIBED PARCEL; THENCE DEPARTING SAID NORTH RIGHT-OF-WAY LINE RUN N 22°38'32" W, A
     DISTANCE OF 396.27 FEET; THENCE N 38°22'03" W, A DISTANCE OF 467.31 FEET; THENCE N 00°41'12"
     W, A DISTANCE OF 55.50 FEET; THENCE N 26°05'28" W, A DISTANCE OF 200.21 FEET; THENCE N
     10°16'53" W, A DISTANCE OF 303.20 FEET; THENCE N 46°23'15" E, A DISTANCE OF 586.37; THENCE S
     08°45'52" E, A DISTANCE OF 376.95 FEET; THENCE N 87°18'42" E, A DISTANCE OF 61.92 FEET; THENCE
     N 14°34'26" E, A DISTANCE OF 380.22 FEET; THENCE S 89°35'19" E, A DISTANCE OF 967.36 FEET;
     THENCE S 40°01'07" E, A DISTANCE OF 87.72 FEET; THENCE S 02°25'11" E, A DISTANCE OF 185.21
     FEET; THENCE S 88°14'24" W, A DISTANCE OF 53.66 FEET; THENCE S 88°11'32" W, A DISTANCE OF
     46.09 FEET; THENCE S 87°54'31" W, A DISTANCE OF 121.12 FEET; THENCE N 02°09'54" W, A DISTANCE
     OF 65.65 FEET; THENCE S 87°05'19" W, A DISTANCE OF 35.85 FEET; THENCE N 02°22'40" W, A
     DISTANCE OF 90.10 FEET; THENCE S 89°14'06" W, A DISTANCE OF 231.27 FEET; THENCE S 02°10'05" E,
     A DISTANCE OF 269.12 FEET; THENCE S 53°48'48" E, A DISTANCE OF 237.60 FEET; THENCE N 88°55'09"
     E, A DISTANCE 230.98 FEET; THENCE N 28°51'39" E, A DISTANCE OF 125.36 FEET; THENCE N 86°59'16"
     E, A DISTANCE OF 89.83 FEET; THENCE N 77°36'41" E, A DISTANCE OF 183.80 FEET; THENCE S
     14°56'19" E, A DISTANCE OF 150.17 FEET; THENCE N 78°56'06" E, A DISTANCE OF 89.94 FEET; THENCE
     N 87°12'38" E, A DISTANCE OF 76.85 FEET; THENCE S 86°05'40" E, DISTANCE OF 672.00 FEET; THENCE
     N 82°50'44" E, A DISTANCE OF 92.05 FEET; THENCE S 06°03'04" W, A DISTANCE OF 211.85 FEET;
     THENCE S 83°21'17" W, A DISTANCE OF 46.58 FEET; THENCE S 27°16'46" W, A DISTANCE OF 49.20
     FEET; THENCE S 03°54'34" W, A DISTANCE OF 138.24 FEET; THENCE S 12°25'22" W, A DISTANCE OF
     124.63 FEET; THENCE S 20°37'46" W, A DISTANCE OF 120.37 FEET; THENCE S 21°33'01" W, A
     DISTANCE OF 133.02 FEET; THENCE S 24°48'05" W, A DISTANCE OF 169.43 FEET; THENCE S 36°44'02"
     W, A DISTANCE OF 180.36 FEET; THENCE S 39°38'37" W, A DISTANCE OF 188.92 FEET; THENCE S
     80°51'36" W, A DISTANCE OF 192.97 FEET; THENCE S 03°34'26" W, A DISTANCE OF 5.79 FEET; THENCE
     N 86°34'30" W, A DISTANCE OF 529.64 FEET; THENCE N 03°21'58" E, A DISTANCE OF 11.82 FEET;
     THENCE N 86°30'35" W, A DISTANCE OF 545.85 FEET; THENCE N 10°35'50" E, A DISTANCE OF 128.52
     FEET; THENCE N 28°59'57" W, A DISTANCE OF 110.26 FEET; THENCE N 13°49'02" W, A DISTANCE OF
     135.71 FEET; THENCE N 05°02'50" E, A DISTANCE OF 59.90 FEET; THENCE N 28°36'01" W, A DISTANCE
     OF 36.14 FEET; THENCE N 13°38'18" W, A DISTANCE OF 58.02 FEET; THENCE N 31°07'25" E, A
     DISTANCE OF 46.49 FEET; THENCE N 23°24'02" W, A DISTANCE OF 79.39 FEET; THENCE N 75°29'08" W,
     A DISTANCE OF 110.17 FEET; THENCE S 10°11'52" E, A DISTANCE OF 371.04 FEET; THENCE S 20°14'04"
     W, A DISTANCE OF 193.34 FEET; THENCE S 02°06'57" W, A DISTANCE OF 99.81 FEET TO SAID NORTH
     RIGHT-OF-WAY LINE OF U.S. HIGHWAY 98; THENCE N 86°34'10" W ALONG SAID NORTH RIGHT-OF-
     WAY LINE, A DISTANCE OF 331.50 FEET TO THE POINT OF BEGINNING.. CONTAINING 78.721 ACRES
     MORE OR LESS.

     LEGAL DESCRIPTION - PARCEL J-2    (AS SURVEYED)

     BEING MORE PARTICULARLY DESCRIBED AS FOLLOWS:

     COMMENCE AT THE EAST 1/4 CORNER OF SECTION 14, TOWNSHIP 2 SOUTH, RANGE 25 WEST;
     THENCE S 01°58'03" W, A DISTANCE OF 1051.35 FEET TO THE NORTH RIGHT-OF-WAY LINE OF U.S.
     HIGHWAY 98 (A 200.00 FOOT WIDE RIGHT-OF-WAY); THENCE S 86°39'12" E ALONG SAID NORTH
     RIGHT-OF-WAY LINE, A DISTANCE OF 2683.22 FEET; THENCE N2°46'46" E, A DISTANCE OF 5.73 FEET;



USAF 000181

         Case 4:20-cv-00034-HRH     Document
                  EXH. 4 - USAF Master         107-4
                                       Development     Filed
                                                   & Mgmt     03/04/22
                                                          Agreement      Page 74 of 97
                                                                    with CAFL
                                            Page 74 of 97
     THENCE N 80°53'37" E, A DISTANCE OF 193.04 FEET; THENCE N 39°37'28" E A DISTANCE OF 189.05
     FEET; THENCE N 36°45'14" E A DISTANCE OF 180.31 FEET; THENCE N 24°46'29" E A DISTANCE OF
     169.44 FEET; THENCE N 21°34'11" E A DISTANCE OF 133.01 FEET; THENCE N 20°36'13" E A DISTANCE
     OF 120.15 FEET; THENCE N 12°26'22" E A DISTANCE OF 124.83 FEET; THENCE N 3°57'24" E A
     DISTANCE OF 138.23 FEET; THENCE N 27°13'36" E A DISTANCE OF 49.20 FEET; THENCE N 83°21'58" E
     A DISTANCE OF 46.69 FEET; THENCE

     N 6°02'53" E A DISTANCE OF 211.73 FEET; THENCE S 82°53'31" W A DISTANCE OF 92.15 TO THE POINT
     OF BEGINNING.

     FROM SAID POINT OF BEGINNING THENCE N 86°05'04" W, A DISTANCE OF 672.03 FEET TO AN EIP
     MACTEC #6969; THENCE S 87°02'13" W, A DISTANCE OF 76.55 FEET TO AN EIP MACTEC #6969;
     THENCE S 79°02'32" W, A DISTANCE OF 90.11 FEET TO AN EIP MACTEC #6969; THENCE N 14°57'28" W,
     A DISTANCE OF 150.10 FEET TO AN EIP MACTEC #6969; THENCE N 64°09'56" E, A DISTANCE OF 145.72
     FEET TO AN EIP DRMP #3648; THENCE S 85°29'53" E, A DISTANCE OF 724.28 FEET TO AN EIP DRMP
     #3648; THENCE S 10°12'36" E, A DISTANCE OF 152.17 FEET TO AN EIP DRMP #2648; S 12°47'43" W, A
     DISTANCE OF 27.39 FEET TO AN EIP MACTEC #696 AND ALSO BEING THE POINT OF BEGINNING.
     SAID PARCEL OF LAND LYING IN SECTION 14, TOWNSHIP 2 SOUTH, RANGE 25 WEST, OKALOOSA
     COUNTY, FLORIDA AND CONTAINING 3.48 ACRES MORE OR LESS.

     LEGAL DESCRIPTION - PARCEL K

     A PARCEL OF LAND LYING IN SECTION 13, TOWNSHIP 2 SOUTH, RANGE 25 WEST, OKALOOSA
     COUNTY, FLORIDA,; BEING MORE PARTICULARLY DESCRIBED AS FOLLOWS:

     COMMENCE AT THE EAST QUARTER CORNER OF SECTION 14, TOWNSHIP 2 SOUTH, RANGE 25
     WEST; THENCE S 01°58'03" W, A DISTANCE OF 1251.35 FEET TO THE SOUTH RIGHT-OF-WAY LINE OF
     U.S. HIGHWAY 98 (A 200.00 FOOT WIDE RIGHT-OF-WAY); THENCE S 86°34'10" E ALONG SAID SOUTH
     RIGHT-OF-WAY LINE, A DISTANCE OF 649.07 FEET; THENCE DEPARTING SAID SOUTH RIGHT-OF-
     WAY LINE RUN S 05°42'12" W, A DISTANCE OF 11.20 FEET TO THE POINT OF BEGINNING OF THE
     HEREIN DESCRIBED PARCEL; THENCE RUN S 86°50'58" E, A DISTANCE OF 2067.83 FEET; THENCE
     RUN

     S 02°16'05" W, A DISTANCE OF 36.74 FEET; THENCE S 13°09'43" E, A DISTANCE OF 22.32 FEET THENCE
     S 62°42'38" E, A DISTANCE OF 15.19 FEET; THENCE S 85°16'26" E, A DISTANCE OF 16.19 FEET; THENCE
     S 06°20'54" E, A DISTANCE OF 53.10 FEET; THENCE S 55°26'48" W, A DISTANCE OF 82.20 FEET;
     THENCE S 26° 18'16" E, A DISTANCE OF 279.66 FEET; THENCE

     S 69°48'01" W A DISTANCE OF 186.97 FEET; THENCE N 89°03'58" W, A DISTANCE OF 294.30 FEET;
     THENCE N 80°42'02" W, A DISTANCE OF 247.59 FEET; THENCE N 68°43'54" W A DISTANCE OF 135.23
     FEET; THENCE N 35°26'02" W, A DISTANCE OF 241.16 FEET; THENCE N 86°26'09" W, A DISTANCE OF
     293.97 FEET; THENCE S 21°56'42" W, A DISTANCE OF 42.98 FEET; THENCE S14°24'39" W, A DISTANCE
     OF 316.02 FEET; THENCE S 23°21'28" E, A DISTANCE OF 158.12 FEET; THENCE S 12°24'40" E, A
     DISTANCE OF 216.95 FEET TO A SEAWALL ALONG THE SANTA ROSA SOUND (AS NOW
     ESTABLISHED); THENCE

     S 71°40'11" W, ALONG SAID SEAWALL A DISTANCE OF 207.94 FEET; THENCE S 89°12'32" W, ALONG
     SAID SEAWALL A DISTANCE OF 232.22 FEET; THENCE N 75°17'18" W, ALONG SAID SEAWALL A
     DISTANCE OF 117.10 FEET; THENCE N 82°58'41" W, ALONG SAID SEAWALL A DISTANCE OF 321.10
     FEET; THENCE DEPARTING SAID SEAWALL S 86°42'57" W, A DISTANCE OF 105.90 FEET; THENCE N
     14°09'27" E, A DISTANCE OF 76.95 FEET; THENCE N 23°17'35" E, A DISTANCE OF 111.35 FEET; THENCE
     N 34°42'00" E, A DISTANCE OF 156.52 FEET; THENCE N 02°58'55" W, A DISTANCE OF 105.98 FEET;
     THENCE N 43°56'48" W, A DISTANCE OF 146.76 FEET; THENCE N 00°20'40" E, A DISTANCE OF 216.03
     FEET; THENCE N 20°01'47" E, A DISTANCE OF 143.36 FEET; THENCE N 17°01'54" W, A DISTANCE OF
     109.51 FEET; THENCE N 05°42'12" E, A DISTANCE OF 22.73 FEET TO THE POINT OF BEGINNING.
     CONTAINING 30.756 ACRES, MORE OR LESS.



USAF 000182
         Case 4:20-cv-00034-HRH     Document
                  EXH. 4 - USAF Master         107-4
                                       Development     Filed
                                                   & Mgmt     03/04/22
                                                          Agreement      Page 75 of 97
                                                                    with CAFL
                                            Page 75 of 97
     LEGAL DESCRIPTION - PARCEL L

     COMMENCING AT THE NORTH EAST CORNER OF THE SOUTH WEST QUARTER OF SECTION 14,
     TOWNSHIP 2 SOUTH, RANGE 25 WEST; THENCE S 01°58'03"W, A DISTANCE OF 1051.35 FEET TO THE
     NORTH RIGHT-OF-WAY LINE OF U.S. HIGHWAY 98 (A 200.00 FOOT WIDE RIGHT-OF-WAY); THENCE
     S 86°39'12" E ALONG SAID NORTH RIGHT-OF-WAY LINE, A DISTANCE OF 2683.22 FEET; THENCE
     DEPARTING SAID NORTH RIGHT-OF-WAY LINE RUN N 02°46'46" E, A DISTANCE OF 5.73 FEET;
     THENCE N 81°00'08" E, A DISTANCE OF 193.04 FEET; THENCE N 39°37'28" E, A DISTANCE OF 189.05
     FEET; THENCE N 36°45'14" E, A DISTANCE OF 180.31 FEET; THENCE N 24°46'29" E, A DISTANCE OF
     169.44 FEET; THENCE N 21°33'18" E, A DISTANCE OF 133.02 FEET; THENCE N 20°36'13" E, A DISTANCE
     OF 120.15 FEET; THENCE N 12°26'22" E, A DISTANCE OF 124.83 FEET; THENCE N 3°57'24" E, A
     DISTANCE OF 138.23 FEET; THENCE N 27°13'36" E, A DISTANCE OF 49.20 FEET; THENCE N 83°21'34" E,
     A DISTANCE OF 46.69 FEET; THENCE N 06°02'53" E, A DISTANCE OF 211.73 FEET; THENCE S 83°53'31"
     W, A DISTANCE OF 92.44 FEET; THENCE N 10°12'36" W, A DISTANCE OF 152.17 FEET; THENCE N
     85°29'53" W, A DISTANCE OF 724.28 FEET TO THE POINT OF BEGINNING

     FROM SAID POINT OF BEGINNING THENCE S 64°09'56" W, A DISTANCE OF 145.72 FEET; THENCE N
     13°32'41" W, A DISTANCE OF 42.83 FEET; THENCE S 80°16'46" W, A DISTANCE OF 101.86 FEET;
     THENCE N 19°33'57" W, A DISTANCE OF 249.83 FEET; THENCE N 39°10'14" W, A DISTANCE OF 249.72
     FEET; THENCE N 48°26'12" W, A DISTANCE OF 111.35 FEET; THENCE N 20°43'12" W, A DISTANCE OF
     43.07 FEET; THENCE N 02°05'41" W, A DISTANCE OF 79.30 FEET; THENCE N 37°44'27" E, A DISTANCE
     OF 256.70 FEET; THENCE N 18°52'02" E, A DISTANCE OF 197.39 FEET; THENCE N 32°57'22" E, A
     DISTANCE OF 692.78 FEET, THENCE N 70°04'53" E, A DISTANCE OF 229.71 FEET; THENCE N 89°29'38"
     E, A DISTANCE OF 189.12 FEET; THENCE S 83°53'41" E, A DISTANCE OF 235.01 FEET; THENCE S
     32°22'03" E, A DISTANCE OF 198.55 FEET; THENCE S 04°29'39" W, A DISTANCE OF 504.24 FEET;
     THENCE S 19°57'42" W, A DISTANCE OF 200.10 FEET; THENCE S 34°37'30" W, A DISTANCE OF 65.56
     FEET; THENCE S 51°07'04" W, A DISTANCE OF 613.64 FEET; THENCE S 12°13'39" W, A DISTANCE OF
     119.86 FEET; THENCE S 29°32'34" W, A DISTANCE OF 223.68 FEET TO THE POINT OF BEGINNING.
     SAID PARCEL BEING LOCATED IN SECTION 13, TOWNSHIP 2 SOUTH, RANGE 25 WEST, OKALOOSA
     COUNTY, FLORIDA AND CONTAINING 31.10 ACRES MORE OR LESS.

     LEGAL DESCRIPTION - PARCEL M

     A PARCEL OF LAND LYING IN SECTION 13, TOWNSHIP 2 SOUTH, RANGE 25 WEST, AND SECTION 18,
     TOWNSHIP 2 SOUTH, RANGE 24 WEST, OKALOOSA COUNTY,              FLORIDA; BEING MORE
     PARTICULARLY DESCRIBED AS FOLLOWS:

     COMMENCE AT THE EAST 1/4 CORNER OF SECTION 14, TOWNSHIP 2 SOUTH, RANGE 25 WEST;
     THENCE S 01°58'03" W, A DISTANCE OF 1051.35 FEET TO THE NORTH RIGHT-OF-WAY LINE OF U.S.
     HIGHWAY 98 ( A 200.00 FOOT WIDE RIGHT-OF-WAY); THENCE S 86°34'10" E ALONG SAID NORTH
     RIGHT-OF-WAY LINE, A DISTANCE OF 6015.91 FEET; THENCE DEPARTING SAID NORTH RIGHT-OF-
     WAY LINE RUN S 01°34'28" W, A DISTANCE OF 200.10 FEET TO THE SOUTH RIGHT-OF-WAY LINE OF
     SAID U.S. HIGHWAY 98; THENCE S 86°34'10 E ALONG SAID SOUTH RIGHT-OF-WAY LINE, A
     DISTANCE OF 677.92 FEET; THENCE DEPARTING SAID SOUTH RIGHT-OF-WAY LINE RUN S 25°13'07"
     E, A DISTANCE OF 274.20 FEET; THENCE S 41°21'06" E, A DISTANCE OF 311.72 FEET; THENCE N
     88°11'52" W, A DISTANCE OF 433.06 FEET TO THE POINT OF BEGINNING OF THE HEREIN DESCRIBED
     PARCEL; THENCE S 46°15'38" W, A DISTANCE OF 436.48 FEET; THENCE S 08°52'28" W, A DISTANCE OF
     329.15 FEET; THENCE S 34°56'31" W. A DISTANCE OF 151.39 FEET; THENCE N 73°23'35" W, A
     DISTANCE OF 407.47 FEET; THENCE N 73°40'53"W, A DISTANCE OF 190.81 FEET; THENCE N 76°51'57"
     W, A DISTANCE OF 213.39 FEET; THENCE N 28°28'00" W, A DISTANCE OF 287.24 FEET; THENCE N
     04°13'40" E, A DISTANCE OF 140.60 FEET; THENCE N 03°05'22" E, A DISTANCE OF 234.78 FEET;
     THENCE N 01°46'55" E, A DISTANCE OF 376.91 FEET; THENCE N 78°24'42" E, A DISTANCE OF 59.34
     FEET; THENCE S 67°58'12" E, A DISTANCE OF 168.10 FEET;THENCE S 58°48'39" E, A DISTANCE OF
     81.99 FEET; THENCE S 28°32'22" E, A DISTANCE OF 360.51 FEET; THENCE S 87°54'29" E, A DISTANCE
     OF 880.66 FEET; THENCE S 00°01'37" W, A DISTANCE OF 28.92 FEET TO THE POINT OF BEGINNING.
     CONTAINING 20.391 ACRES, MORE OR LESS.




USAF 000183
         Case 4:20-cv-00034-HRH     Document
                  EXH. 4 - USAF Master         107-4
                                       Development     Filed
                                                   & Mgmt     03/04/22
                                                          Agreement      Page 76 of 97
                                                                    with CAFL
                                            Page 76 of 97
                                                EXHIBIT A-5

                                    McCONNELL AIR FORCE BASE
                                        “McConnell Parcels”




                                                    A-5
         MDMA - Continental
         FINAL
  USAF 000184
Case 4:20-cv-00034-HRH     Document
         EXH. 4 - USAF Master         107-4
                              Development     Filed
                                          & Mgmt     03/04/22
                                                 Agreement      Page 77 of 97
                                                           with CAFL
                                Page 77 of 97
                                                       McConnell AFB

     Parcel “A” (Capehart West)

     Legal Description:

     All that part of the Southwest Quarter of Section 5, Township 28 South, Range 2 East of the 6 th Principal Meridian
     in Sedgwick County, Kansas, being more particularly described as follows:

     COMMENCING at the northwest corner of the Southwest Quarter of said Section 5;

     thence North 89°19’51” East, along the north line of the Northwest Quarter of the Southwest Quarter of said Section
     5, a distance of 65.00 feet to a point on the easterly right-of-way line of Rock Road, as now established and the true
     POINT OF BEGINNING of land being described;

     thence continuing North 89°19’51” East, along the north line of the Northwest Quarter of the Southwest Quarter of
     said Section 5, a distance of 657.87 feet;

     thence South 27°46’31” East, a distance of 1169.94 feet;

     thence southeasterly along a tangent curve to the left, said curve having a radius of 380.00 feet, a central angle of
     30°59’49”, an arc distance of 205.58 feet, a chord bearing of South 43°16’26” East and a chord distance of 203.08
     feet;

     thence South 58°46’20” East, a distance of 555.33 feet;

     thence South 30°49’27” West, a distance of 1312.28 feet to a point on the northerly right-of-way line of 31 st Street,
     as now established, said point being 50.00 feet northerly of the south line of the Southwest Quarter of said Section 5,
     as measured at right angle to such south line;

     thence South 89°13’38” West, along said northerly right-of-way line of 31st Street and being 50.00 feet northerly of
     and parallel with the south line of the Southwest Quarter of said Section 5, a distance of 1118.29 feet to a point on
     the easterly right-of-way line of said Rock Road, said point being 55.00 feet easterly of the west line of the
     Southwest Quarter of said Section 5, as measured at right angles to such west line;

     thence North 00°48’10” West, along said easterly right-of-way line of Rock Road and being 55.00 feet easterly of
     and parallel with the west line of the Southwest Quarter of said Section 5, a distance of 1820.49 feet;

     thence North 89°11’50” East, along said easterly right-of-way line of Rock Road, a distance of 10.00 feet;

     thence North 00°48’10” West, along said easterly right-of-way line of Rock Road and being 65.00 feet easterly of
     and parallel with the west line of the Southwest Quarter of said Section 5, a distance of 784.85 feet to the POINT OF
     BEGINNING.

     The above described tract of land contains 3,250,016 square feet or 74.61 acres, more or less;

     EXCEPTING THEREFROM: (ROCK ROAD SECURITY GATE)

     All that part of the Southwest Quarter of Section 5, Township 28 South, Range 2 East of the 6 th Principal Meridian
     in Sedgwick County, Kansas, being more particularly described as follows:

     COMMENCING at the northwest corner of the Southwest Quarter of said Section 5;

     thence North 89°19’51” East, along the north line of the Northwest Quarter of the Southwest Quarter of said Section
     5, a distance of 566.73 feet;




USAF 000185
          Case 4:20-cv-00034-HRH     Document
                   EXH. 4 - USAF Master         107-4
                                        Development     Filed
                                                    & Mgmt     03/04/22
                                                           Agreement      Page 78 of 97
                                                                     with CAFL
                                                      Page 78 of 97
     thence South 00°40’09” East, a distance of 71.39 feet to the true POINT OF BEGINNING of land being described;

     thence South 75°17’29” East, a distance of 54.07 feet;

     thence southeasterly and southerly along a tangent curve to the right, said curve having a radius of 5.00 feet, a
     central angle of 77°12’39”, an arc distance of 6.74 feet, a chord bearing of South 36°41’09” East and a chord
     distance of 6.24 feet;

     thence South 01°55’10” West, a distance of 4.63 feet;

     thence southerly, southwesterly and westerly along a tangent curve to the right, said curve having a radius of 5.00
     feet, a central angle of 87°12’52”, an arc distance of 7.61 feet, a chord bearing of South 45°31’36” West and a chord
     distance of 6.90 feet;

     thence South 89°08’02” West, a distance of 48.56 feet;

     thence westerly and northwesterly along a tangent curve to the right, said curve having a radius of 25.00 feet, a
     central angle of 22°06’50”, an arc distance of 9.65 feet, a chord bearing of North 79°48’33” West and a chord
     distance of 9.59 feet;

     thence North 68°45’08” West, a distance of 3.69 feet;

     thence North 22°03’31” East, a distance of 27.94 feet to the POINT OF BEGINNING.

     The above described tract of land contains 1,332 square feet or 0.03 acres, more or less.

     ALSO EXCEPTING THEREFROM: (ROCK ROAD PEDESTRIAN BRIDGE)

     All that part of the Southwest Quarter of Section 5, Township 28 South, Range 2 East of the 6 th Principal Meridian
     in Sedgwick County, Kansas, being more particularly described as follows:

     All that portion of the pedestrian bridge crossing Rock Road near the intersection of Rock Road and 31 st Street and
     being in the southwest corner of the above described Tract “A” (Capehart West); such portion of said pedestrian
     bridge being excepted herein is all that part of said pedestrian bridge structure located west of the security gate
     located on and within said bridge structure.

     ALSO EXCEPTING THEREFROM: (PERIMETER BOUNDARY WALL AND/OR FENCE)

     All that part of the Southwest Quarter of Section 5, Township 28 South, Range 2 East of the 6 th Principal Meridian
     in Sedgwick County, Kansas, being more particularly described as follows:

     All of such perimeter boundary wall and/or fence generally located along the northerly right-of-way line of 31 st
     Street, the easterly right-of-way line of Rock Road and the northerly line of the Southwest Quarter of Section 5.

     Basis of Bearings: All bearings in this legal description are based on McConnell Air Force Base Horizontal Control
     Network (NAD83 Kansas South Zone).

     Parcel “B” (Capehart East)

     Legal Description:

     All that part of the Southwest Quarter of Section 5, Township 28 South, Range 2 East of the 6 th Principal Meridian
     in Sedgwick County, Kansas, being more particularly described as follows:

     COMMENCING at the northwest corner of the Northwest Quarter of the Southwest Quarter of said Section 5;




USAF 000186
          Case 4:20-cv-00034-HRH     Document
                   EXH. 4 - USAF Master         107-4
                                        Development     Filed
                                                    & Mgmt     03/04/22
                                                           Agreement      Page 79 of 97
                                                                     with CAFL
                                                      Page 79 of 97
     thence North 89°19’51” East, along the north line of the Northwest Quarter of the Southwest Quarter of said Section
     5, a distance of 722.87 feet to the true POINT OF BEGINNING of land being described;

     thence continuing North 89°19’51” East, along the north line of the Northwest Quarter of the Southwest Quarter of
     said Section 5, a distance of 599.51 feet to the northwest corner of the Northeast Quarter of the Southwest Quarter of
     said Section 5;

     thence North 89°20’05” East, along the north line of the Northeast Quarter of the Southwest Quarter of said Section
     5, a distance of 693.77 feet;

     thence South 00°39’55” East, a distance of 159.84 feet;

     thence South 89°11’29” West, a distance of 47.02 feet;

     thence South 02°30’05” West, a distance of 320.46 feet;

     thence North 89°10’05” East, a distance of 112.23 feet;

     thence easterly, southeasterly, southerly and southwesterly along a tangent curve to the right, said curve having a
     radius of 111.50 feet, a central angle of 104°11’06”, an arc distance of 202.75 feet, a chord bearing of South
     38°44’23” East and a chord distance of 175.95 feet;

     thence North 90°00’00” West, a distance of 170.88 feet;

     thence South 30°40’24” West, a distance of 809.18 feet;

     thence North 58°46’20” West, a distance of 220.19 feet;

     thence northwesterly along a tangent curve to the right, said curve having a radius of 380.00 feet, a central angle of
     30°59’49”, an arc distance of 205.58 feet, a chord bearing of North 43°16’26” West and a chord distance of 203.08
     feet;

     thence North 27°46’31” West, a distance of 1169.94 feet to the POINT OF BEGINNING.

     The above described tract of land contains 1,081,705 square feet or 24.83 acres, more or less.
     EXCEPTING THEREFROM: (PERIMETER BOUNDARY WALL AND/OR FENCE)

     All that part of the Southwest Quarter of Section 5, Township 28 South, Range 2 East of the 6 th Principal Meridian
     in Sedgwick County, Kansas, being more particularly described as follows:

     All of such perimeter boundary wall and/or fence generally located along the northerly line of the Southwest Quarter
     of Section 5.

     Basis of Bearings: All bearings in this legal description are based on McConnell Air Force Base Horizontal Control
     Network (NAD83 Kansas South Zone).

     Parcel “C” (PAIP)

     Legal Description:

     All that part of the South One-half of Section 5, Township 28 South, Range 2 East of the 6 th Principal Meridian in
     Sedgwick County, Kansas, being more particularly described as follows:

     COMMENCING at the northwest corner of the Southwest Quarter of said Section 5;




USAF 000187
          Case 4:20-cv-00034-HRH     Document
                   EXH. 4 - USAF Master         107-4
                                        Development     Filed
                                                    & Mgmt     03/04/22
                                                           Agreement      Page 80 of 97
                                                                     with CAFL
                                                      Page 80 of 97
     thence North 89°19’51” East, along the north line of the Northwest Quarter of the Southwest Quarter of said Section
     5, a distance of 1322.38 feet to the northwest corner of the Northeast Quarter of the Southwest Quarter of said
     Section 5;

     thence North 89°20’05” East, along the north line of the Northeast Quarter of the Southwest Quarter of said Section
     5, a distance of 693.77 feet to the true POINT OF BEGINNING of land being described;

     thence continuing North 89°20’05” East, along the north line of the Northeast Quarter of the Southwest Quarter of
     said Section 5, a distance of 628.87 feet to the northwest corner of the Southeast Quarter of said Section 5;

     thence North 89°26’41” East, along the north line of the Southeast Quarter of said Section 5, a distance of 15.92
     feet;

     thence South 00°41’41” East, a distance of 606.72 feet;

     thence South 89°26’49” West, a distance of 0.63 feet;

     thence South 01°06’46” East, a distance of 689.41 feet;

     thence South 88°43’18” West, a distance of 20.88 feet to a point on the east line of the Southwest Quarter of said
     Section 5;

     thence South 00°40’12” East, along the east line of the Southwest Quarter of said Section 5, a distance of 165.36
     feet;

     thence South 89°16’58” West, a distance of 373.04 feet;

     thence South 30°36’58” West, a distance of 296.76 feet;

     thence southwesterly, westerly and northwesterly along a tangent curve to the right, said curve having a radius of
     5.00 feet, a central angle of 89°37’06”, an arc distance of 7.82 feet, a chord bearing of South 75°25’31” West and a
     chord distance of 7.05 feet;

     thence North 59°45’57” West, a distance of 5.81 feet;

     thence northwesterly, northerly and northeasterly along a tangent curve to the right, said curve having a radius of
     5.00 feet, a central angle of 89°57’29”, an arc distance of 7.85 feet, a chord bearing of North 14°47’12” West and a
     chord distance of 7.07 feet;

     thence North 30°11’33” East, a distance of 13.36 feet;

     thence North 59°16’17” West, a distance of 226.98 feet;

     thence South 30°27’45” West, a distance of 12.57 feet;

     thence southwesterly, westerly and northwesterly along a tangent curve to the right, said curve having a radius of
     5.00 feet, a central angle of 112°16’56”, an arc distance of 9.80 feet, a chord bearing of South 86°36’13” West and a
     chord distance of 8.31 feet;

     thence North 37°15’19” West, a distance of 4.06 feet;

     thence northwesterly, northerly and northeasterly along a tangent curve to the right, said curve having a radius of
     7.00 feet, a central angle of 68°30’14”, an arc distance of 8.37 feet, a chord bearing of North 03°00’12” West and a
     chord distance of 7.88 feet;

     thence North 31°14’55” East, a distance of 9.15 feet;




USAF 000188
          Case 4:20-cv-00034-HRH     Document
                   EXH. 4 - USAF Master         107-4
                                        Development     Filed
                                                    & Mgmt     03/04/22
                                                           Agreement      Page 81 of 97
                                                                     with CAFL
                                                     Page 81 of 97
     thence North 59°16’17” West, a distance of 78.81 feet;

     thence North 30°49’27” East, a distance of 52.42 feet;

     thence North 58°46’20” West, a distance of 335.14 feet;

     thence North 30°40’24” East, a distance of 809.18 feet;

     thence South 90°00’00” East, a distance of 170.88 feet;

     thence northerly, northwesterly and westerly along a tangent curve to the left, said curve having a radius of 111.50
     feet, a central angle of 104°11’06”, an arc distance of 202.75 feet, a chord bearing of North 38°44’23” West and a
     chord distance of 175.95 feet;

     thence South 89°10’05” West, a distance of 112.23 feet;

     thence North 02°30’05” East, a distance of 320.46 feet;

     thence North 89°11’29” East, a distance of 47.02 feet;

     thence North 00°39’55” West, a distance of 159.84 feet to the POINT OF BEGINNING.

     The above described tract of land contains 1,206,266 square feet or 27.69 acres, more or less.

     EXCEPTING THEREFROM (PERIMETER BOUNDARY WALL AND/OR FENCE):

     All that part of the Southwest Quarter of Section 5, Township 28 South, Range 2 East of the 6 th Principal Meridian
     in Sedgwick County, Kansas, being more particularly described as follows:

     All of such perimeter boundary wall and/or fence generally located along the northerly and easterly lines of the
     Southwest Quarter of said Section 5.

     Basis of Bearings: All bearings in this legal description are based on McConnell Air Force Base Horizontal Control
     Network (NAD83 Kansas South Zone).

     Parcel “D” (Spicer)

     Legal Description:

     All that part of the South One-half of Section 5, Township 28 South, Range 2 East of the 6 th Principal Meridian in
     Sedgwick County, Kansas, being more particularly described as follows:

     COMMENCING at the southeast corner of the Southwest Quarter of said Section 5;

     thence North 00°40’12” West, along the east line of the Southwest Quarter of said Section 5, a distance of 40.00 feet
     to a point on the northerly right-of-way line of 31st Street, as now established and the true POINT OF BEGINNING
     of land being described;

     thence continuing North 00°40’12” West, along the east line of the Southwest Quarter of said Section 5 and along
     the said northerly right-of-way line of 31st Street, a distance of 10.00 feet;

     thence South 89°13’38” West, along said northerly right-of-way line of 31st Street and being 50.00 feet northerly of
     and parallel with the south line of the Southwest Quarter of said Section 5, a distance of 1465.71 feet;

     thence North 30°49’27” East, a distance of 876.56 feet;




USAF 000189

          Case 4:20-cv-00034-HRH     Document
                   EXH. 4 - USAF Master         107-4
                                        Development     Filed
                                                    & Mgmt     03/04/22
                                                           Agreement      Page 82 of 97
                                                                     with CAFL
                                                      Page 82 of 97
     thence South 59°10’33” East, a distance of 73.73 feet;

     thence northeasterly along a non-tangent curve to the right, said curve having a radius of 100.00 feet, a central angle
     of 03°42’20”, an arc distance of 6.47 feet, a chord bearing of North 76°10’27” East and a chord distance of 6.47
     feet;

     thence North 78°01’37” East, a distance of 50.58 feet;

     thence northeasterly along a tangent curve to the left, said curve having a radius of 500.00 feet, a central angle of
     03°09’43”, an arc distance of 27.59 feet, a chord bearing of North 76°26’45” East and a chord distance of 27.59 feet;

     thence North 74°51’54” East, a distance of 51.74 feet;

     thence northeasterly, easterly and southeasterly along a tangent curve to the right, said curve having a radius of
     65.00 feet, a central angle of 41°13’31”, an arc distance of 46.77 feet, a chord bearing of South 84°31’21” East and a
     chord distance of 45.77 feet;

     thence South 63°54’35” East, a distance of 43.42 feet;

     thence southeasterly and easterly along a tangent curve to the left, said curve having a radius of 70.00 feet, a central
     angle of 37°45’56”, an arc distance of 46.14 feet, a chord bearing of South 82°47’33” East and a chord distance of
     45.31 feet;

     thence North 78°19’29” East, a distance of 24.55 feet;

     thence northeasterly along a tangent curve to the left, said curve having a radius of 500.00 feet, a central angle of
     03°38’10”, an arc distance of 31.73 feet, a chord bearing of North 76°30’24” East and a chord distance of 31.72 feet;

     thence North 74°41’20” East, a distance of 3.16 feet;

     thence northeasterly along a tangent curve to the left, said curve having a radius of 200.00 feet, a central angle of
     09°28’17”, an arc distance of 33.06 feet, a chord bearing of North 69°57’11” East and a chord distance of 33.02 feet;

     thence North 30°39’59” East, a distance of 180.52 feet;

     thence North 59°16’17” West, a distance of 24.04 feet;

     thence North 30°36’58” East, a distance of 283.50 feet;

     thence North 89°16’58” East, a distance of 373.04 feet to a point on the east line of the Southwest Quarter of said
     Section 5;

     thence South 00°40’12” East, along the east line of the Southwest Quarter of said Section 5, a distance of 362.86
     feet;

     thence North 89°24’21” East, a distance of 297.59 feet;

     thence South 00°33’20” East, a distance of 372.80 feet;

     thence North 89°08’05” East, a distance of 3.16 feet to a point on the northerly extension of the west line of Hong’s
     Addition, a platted subdivision of land in Sedgwick County, Kansas;

     thence South 00°40’12” East, along said northerly extension of the west line of Hong’s Addition and along the west
     line of said Hong’s Addition, a distance of 413.21 feet to a point on the northerly right-of-way line of 31 st Street, as




USAF 000190

          Case 4:20-cv-00034-HRH     Document
                   EXH. 4 - USAF Master         107-4
                                        Development     Filed
                                                    & Mgmt     03/04/22
                                                           Agreement      Page 83 of 97
                                                                     with CAFL
                                                       Page 83 of 97
     now established, said point being 40.00 feet northerly of the south line of the Southeast Quarter of said Section 5, as
     measured at right angle to such south line;

     thence South 89°24’21” West, along said northerly right-of-way line of 31st Street and being 40.00 feet northerly of
     and parallel with the south line of the Southeast Quarter of said Section 5, a distance of 81.05 feet;

     thence North 02°13’14” West, a distance of 23.05 feet;

     thence South 87°18’53” West, a distance of 19.53 feet;

     thence North 00°07’04” West, a distance of 125.63 feet;
     thence South 89°44’03” West, a distance of 101.39 feet;

     thence South 00°10’11” West, a distance of 22.62 feet;

     thence South 89°57’39” West, a distance of 2.88 feet;

     thence South 00°08’42” East, a distance of 94.37 feet;

     thence North 89°01’30” East, a distance of 26.54 feet;

     thence South 00°38’39” East, a distance of 31.76 feet to a point on the northerly right-of-way line of 31 st Street, as
     now established, said point being 40.00 feet northerly of the south line of the Southeast Quarter of said Section 5, as
     measured at right angle to such south line;

     thence South 89°24’21” West, along said northerly right-of-way line of 31st Street and being 40.00 feet northerly of
     and parallel with the south line of the Southeast Quarter of said Section 5, a distance of 121.09 feet to the POINT
     OF BEGINNING.

     The above described tract of land contains 1,322,184 square feet or 30.35 acres, more or less.

     EXCEPTING THEREFROM (PERIMETER BOUNDARY WALL AND/OR FENCE):

     All that part of the Southwest Quarter and the Southeast Quarter of Section 5, Township 28 South, Range 2 East of
     the 6th Principal Meridian in Sedgwick County, Kansas, being more particularly described as follows:

     All of such perimeter boundary wall and/or fence generally located along the northerly right-of-way line of 31 st
     Street, the westerly line of Hong’s Addition and easterly line of the Southwest Quarter of said Section 5.

     Basis of Bearings: All bearings in this legal description are based on McConnell Air Force Base Horizontal Control
     Network (NAD83 Kansas South Zone).

     Parcel “E” (Winfield)

     Legal Description:

     All that part of the Southeast Quarter of Section 6, Township 28 South, Range 2 East of the 6th Principal Meridian in
     Sedgwick County, Kansas, being more particularly described as follows:

     COMMENCING at the southeast corner of the Southeast Quarter of said Section 6;

     thence North 00°48’10” West, along the east line of the Southeast Quarter of said Section 6, a distance of 659.10
     feet;

     thence South 89°11’50” West, a distance of 377.61 feet to the true POINT OF BEGINNING of land being
     described;




USAF 000191
          Case 4:20-cv-00034-HRH     Document
                   EXH. 4 - USAF Master         107-4
                                        Development     Filed
                                                    & Mgmt     03/04/22
                                                           Agreement      Page 84 of 97
                                                                     with CAFL
                                                      Page 84 of 97
     thence South 89°10’00” West, a distance of 427.00 feet;

     thence North 00°50’00” West, a distance of 306.00 feet;

     thence North 89°10’00” East, a distance of 427.00 feet;

     thence South 00°50’00” East, a distance of 306.00 feet to the POINT OF BEGINNING.


     The above described tract of land contains 130,662 square feet or 3.00 acres, more or less.

     Basis of Bearings: All bearings in this legal description are based on McConnell Air Force Base Horizontal Control
     Network (NAD83 Kansas South Zone).




USAF 000192

          Case 4:20-cv-00034-HRH     Document
                   EXH. 4 - USAF Master         107-4
                                        Development     Filed
                                                    & Mgmt     03/04/22
                                                           Agreement      Page 85 of 97
                                                                     with CAFL
                                                      Page 85 of 97
                                                EXHIBIT A-6

                             SEYMOUR JOHNSON AIR FORCE BASE
                                  “Seymour Johnson Parcels”




                                                    A-6
       MDMA - Continental
       FINAL
USAF 000193
Case 4:20-cv-00034-HRH     Document
         EXH. 4 - USAF Master         107-4
                              Development     Filed
                                          & Mgmt     03/04/22
                                                 Agreement      Page 86 of 97
                                                           with CAFL
                                Page 86 of 97
                                                    Seymour Johnson AFB

     LEGAL DESCRIPTION



     NORTH CAROLINA -- WAYNE COUNTY
     PORTION OF PROPERTY OF
     SEYMOUR JOHNSON AIR FORCE BASE
     4th CIVIL ENGINEER SQUADRON

     PARCEL A
     WAYNE MANOR WEST

     Commencing at an iron rod with cap located on the western side of Oak Forest Rd. (NCSR 1711), being McKim &
     Creed Control #1, having NC Grid Coordinates (N): 588,356.3340 (E): 2,316,295.4550, NAD 83 (2007) Datum;
     thence N 84°53'04" W, 7210.59 feet to an existing iron rod with cap; the Point of Beginning, said point being S
     44°59'22" W, 245.54 feet from a pk nail set in the centerline road intersection of Biggs St and Ream St; thence from
     said point of beginning, N 47°07'27" W, 15.95 feet to an existing iron rod with cap; thence N 47°03'45" W, 628.52
     feet to an existing iron rod with cap; thence N 34°25'13" W, 174.73 feet to an existing iron rod with cap; thence N
     45°58'25" W, 124.86 feet to an existing iron rod with cap; thence N 02°02'54" W, 243.67 feet to an existing iron
     rod with cap; thence N 25°07'26" E, 170.59 feet to an existing iron rod with cap; thence N 40°36'08" E, 31.58 feet to
     a set iron rod with cap; thence N 63°42'44" E, 38.47 feet to a set iron rod with cap; thence N 66°25'30" E, 20.61 feet
     to a set iron rod with cap; thence N 76°26'55" E, 28.74 feet to a set iron rod with cap; thence N 87°21'07" E, 449.25
     feet to an existing “X” in concrete; thence leaving said line, S 03°33'21" W, 288.94 feet to an existing iron rod with
     cap; thence S 83°32'22" E, 222.77 feet to a set iron rod with cap; thence in a southeasterly direction with a non-
     tangent curve turning to the left with a radius of 199.46 feet, an arc length of 64.35 feet, having a chord bearing of S
     40°12'52" E and a chord distance of 64.07 feet, to a set iron rod with cap; thence S 48°14'46" E, 271.63 feet to a set
     iron rod with cap; thence in a southerly direction with a non-tangent curve turning to the right with a radius of 18.67
     feet, an arc length of 29.52 feet, having a chord bearing of S 04°46'22" E and a chord distance of 26.54 feet, to a set
     iron rod with cap; thence in a southwesterly direction with a non-tangent curve turning to the left with a radius of
     512.22 feet, an arc length of 157.75 feet, having a chord bearing of S 30°30'42" W and a chord distance of 157.13
     feet, to a set iron rod with cap; thence S 23°37'33" W, 82.04 feet to a set iron rod with cap; thence in a southwesterly
     direction with a non-tangent curve turning to the right with a radius of 409.42 feet, an arc length of 118.14 feet,
     having a chord bearing of S 29°53'16" W and a chord distance of 117.73 feet, to a set iron rod with cap; thence S
     41°31'53" W, 350.39 feet to the Point of Beginning; containing 16.46 acres, more or less.


     PARCEL D-1
     BERKELEY VILLAGE NORTH

     Commencing at an iron rod with cap located on the western side of Oak Forest Rd. (NCSR 1711), being McKim &
     Creed Control #1, having NC Grid Coordinates (N): 588,356.3340 (E): 2,316,295.4550, NAD 83 (2007) Datum;
     thence N 60°23'45" W, 3818.03 feet to a set iron rod with cap, the Point of Beginning, thence S 22°11'03" W,
     338.77 feet to a set iron rod with cap, on the southern side of Scriven Road; thence with said road in a westerly
     direction with a non-tangent curve turning to the left with a radius of 1106.01 feet, an arc length of 283.19 feet,
     having a chord bearing of S 78°18'40" W and a chord distance of 282.42 feet, to a set iron rod with cap; thence S
     73°01'39" W, 452.82 feet to a set iron rod with cap; thence leaving the southern side of Scriven Road in a southerly
     direction with a non-tangent curve turning to the left with a radius of 19.23 feet, an arc length of 39.36 feet, having a
     chord bearing of S 17°06'23" W and a chord distance of 32.84 feet, to a set “X” in concrete in the eastern side of
     Chandler Road; thence with said road in a southeasterly direction with a non-tangent curve turning to the left with a
     radius of 1471.49 feet, an arc length of 148.62 feet, having a chord bearing of S 45°00'04" E and a chord distance of
     148.55 feet, to a set “X” in concrete; thence S 48°11'42" E, 379.34 feet to an existing “X” in concrete; thence in a
     southeasterly direction with a non-tangent curve turning to the right with a radius of 1563.15 feet, an arc length of




USAF 000194

          Case 4:20-cv-00034-HRH     Document
                   EXH. 4 - USAF Master         107-4
                                        Development     Filed
                                                    & Mgmt     03/04/22
                                                           Agreement      Page 87 of 97
                                                                     with CAFL
                                                       Page 87 of 97
     316.65 feet, having a chord bearing of S 41°56'11" E and a chord distance of 316.11 feet, to a set pk nail in Selfridge
     Road; thence along Selfridge Road S 84°09'49" W, 368.90 feet to a set pk nail; thence with said road in a westerly
     direction with a non-tangent curve turning to the left with a radius of 455.00 feet, an arc length of 332.54 feet,
     having a chord bearing of S 63°13'33" W and a chord distance of 325.19 feet, to a set pk nail in Westover Road;
     thence leaving Westover Road and in a southwesterly direction S 42°17'17" W, 104.01 feet to set iron rod; thence in
     a northwesterly direction N 89°00'00" W, 120.59 feet to an existing iron rod with cap; thence

     N 48°18'59" W, 215.87 feet to an existing iron rod with cap; thence S 42°50'05" W, 8.38 feet to an existing iron rod
     with cap; thence N 48°05'16" W, 16.89 feet to an existing iron rod; thence N 41°52'39" E, 8.25 feet to an existing
     iron rod with cap; thence N 48°17'13" W, 411.20 feet to a set “X” in concrete on the southern side of Scriven Road;
     thence with said road in a westerly direction with a non-tangent curve turning to the right with a radius of 259.35
     feet, an arc length of 248.68 feet, having a chord bearing of S 76°33'21" W and a chord distance of 239.26 feet, to an
     existing iron rod with cap; thence N 78°36'16" W, 211.18 feet to an existing pk nail; thence in a westerly direction
     with a non-tangent curve turning to the left with a radius of 223.07 feet, an arc length of 164.92 feet, having a chord
     bearing of S 86°17'45" W and a chord distance of 161.19 feet, to an existing iron rod with cap; thence S 70°19'01"
     W, 38.81 feet to an existing iron rod with cap; thence leaving said road S 13°50'06" E, 24.26 feet to a set iron rod
     with cap; thence S 68°01'54" W, 25.12 feet to a set iron rod with cap; thence N 25°20'08" W, 25.19 feet to a set iron
     rod with cap in the southern side of Scriven Road; thence with said road S 70°11'09" W, 37.08 feet to a set pk nail
     on the northern side of Wright Brothers Avenue; thence N 41°30'55" W, 62.78 feet crossing Scriven Road to an
     existing iron rod with cap on the northern side of Wright Brothers Avenue and the northern side of Scriven Road;
     thence with the northern side of Scriven Road N 69°33'50" E, 123.84 feet to an existing iron rod with cap; thence in
     a easterly direction with a non-tangent curve turning to the right with a radius of 283.07 feet, an arc length of 209.36
     feet, having a chord bearing of N 86°18'23" E and a chord distance of 204.62 feet, to an existing iron rod with cap;
     thence S 78°40'55" E, 207.52 feet to an existing iron rod with cap; thence in a easterly direction with a non-tangent
     curve turning to the left with a radius of 199.35 feet, an arc length of 183.35 feet, having a chord bearing of N
     77°40'31" E and a chord distance of 176.95 feet, to an existing iron rod with cap; thence leaving Scriven Road N
     48°14'36" W, 727.64 feet to a set iron rod with cap; thence N 29°48'51" E, 45.48 feet to a set iron rod with cap;
     thence N 30°26'58" E, 180.84 feet to a set iron rod with cap; thence N 25°27'29" E, 148.46 feet to a set iron rod with
     cap; thence N 28°39'46" E, 288.37 feet to a set iron rod with cap; thence N 61°24'56" E, 323.90 feet to a set iron rod
     with cap; thence N 70°18'46" E, 28.11 feet to a set iron rod with cap; thence N 60°50'12" E, 265.07 feet to a set iron
     rod with cap; thence N 61°41'37" E, 334.72 feet to a set iron rod with cap; thence S 59°15'17" E, 1177.07 feet to the
     Point of Beginning, containing 56.06 acres, more or less.



     PARCEL D-2
     BERKELEY VILLAGE NORTH

     Commencing at an iron rod with cap located on the western side of Oak Forest Rd. (NCSR 1711), being McKim &
     Creed Control #1, having NC Grid Coordinates (N): 588,356.3340 (E): 2,316,295.4550, NAD 83 (2007) Datum;
     thence N 60°23'45" W, 3818.03 feet to a set iron rod with cap; thence S 22°11'03" W, 338.77 feet to a set iron rod
     with cap, on the southern side of Scriven Road; thence with said road in a westerly direction with a non-tangent
     curve turning to the left with a radius of 1106.01 feet, an arc length of 283.19 feet, having a chord bearing of S
     78°18'40" W and a chord distance of 282.42 feet, to a set iron rod with cap; thence S 73°01'39" W, 452.82 feet to a
     set iron rod with cap; thence leaving the southern side of Scriven Road in a southerly direction with a non-tangent
     curve turning to the left with a radius of 19.23 feet, an arc length of 39.36 feet, having a chord bearing of S
     17°06'23" W and a chord distance of 32.84 feet, to a set “X” in concrete in the eastern side of Chandler Road; thence
     with said road in a southeasterly direction with a non-tangent curve turning to the left with a radius of 1471.49 feet,
     an arc length of 148.62 feet, having a chord bearing of S 45°00'04" E and a chord distance of 148.55 feet, to a set
     “X” in concrete; thence S 48°11'42" E, 379.34 feet to an existing “X” in concrete; thence in a southeasterly direction
     with a non-tangent curve turning to the right with a radius of 1563.15 feet, an arc length of 316.65 feet, having a
     chord bearing of S 41°56'11" E and a chord distance of 316.11 feet, to a set pk nail, the Point of Beginning; thence
     continuing along said road in a southeasterly direction with a non-tangent curve turning to the right with a radius of
     1563.15 feet, an arc length of 843.36 feet, having a chord bearing of S 20°40'36" E and a chord distance of 833.17
     feet, to a set iron rod; thence leaving said road in a southeasterly direction with a non-tangent curve turning to the
     left with a radius of 18.90 feet, an arc length of 29.31 feet, having a chord bearing of S 48°10'49" E and a chord




USAF 000195
          Case 4:20-cv-00034-HRH     Document
                   EXH. 4 - USAF Master         107-4
                                        Development     Filed
                                                    & Mgmt     03/04/22
                                                           Agreement      Page 88 of 97
                                                                     with CAFL
                                                       Page 88 of 97
     distance of 26.46 feet, to an existing iron rod with cap in the northern side of Squier Avenue; thence with the
     northern side of Squier Avenue and crossing Etchberger Road N 86°46'58" E, 583.17 feet to an existing pk nail on
     the eastern side of Etchberger Road; thence with the eastern side of said road, S 03°25'03" E, 468.59 feet to an
     existing pk nail; thence leaving said road in a easterly direction with a non-tangent curve turning to the left with a
     radius of 1327.56 feet, an arc length of 472.93 feet, having a chord bearing of N 75°42'58" E and a chord distance of
     470.43 feet, to an existing iron rod with cap; thence S 22°05'33" E, 134.51 feet to an existing iron rod in the northern
     side of Maxwell Street; thence with the northern side of said street in a westerly direction with a non-tangent curve
     turning to the right with a radius of 1462.04 feet, an arc length of 495.53 feet, having a chord bearing of S 75°28'17"
     W and a chord distance of 493.17 feet, to an existing iron rod with cap; thence in a northwesterly direction with a
     non-tangent curve turning to the right with a radius of 18.67 feet, an arc length of 31.06 feet, having a chord bearing
     of N 51°17'10" W and a chord distance of 27.60 feet, to an existing iron rod with cap in the eastern side of
     Etchberger Road; thence with eastern side of said road S 03°24'59" E, 360.45 feet to a set iron rod with cap in the
     southern side of Kenly Road; thence with the southern side of said road S 85°54'40" W, 580.71 feet to an existing
     iron rod with cap in the eastern side of Colman Road; thence crossing Kenly Road, N 04°07'28" W, 46.24 feet to a
     set “X” in concrete on the northern side of Kenly Road; thence with the northern side of said road S 86°53'00" W,
     437.15 feet to a set iron rod with cap; thence S 86°53'00" W, 64.84 feet to a set iron rod with cap; thence S
     82°04'36" W, 119.35 feet to a set pk nail in Westover Road; thence in a westerly direction with a tangent curve
     turning to the left with a radius of 1017.50 feet, an arc length of 425.06 feet, having a chord bearing of S 70°06'34"
     W and a chord distance of 421.97 feet, to a set iron rod with cap; thence S 58°08'31" W, 208.34 feet to a set iron rod
     with cap; thence in a southwesterly direction with a tangent curve turning to the left with a radius of 1917.50 feet, an
     arc length of 549.01 feet, having a chord bearing of S 49°56'23" W and a chord distance of 547.14 feet, to a set “X”
     in concrete; thence S 41°44'14" W, 19.72 feet to a set pk nail in Kenly Road; thence leaving said road N 48°15'19"
     W, 57.54 feet to an existing iron rod with cap; thence N 48°14'46" W, 783.06 feet to an existing iron rod with cap;
     thence N 02°14'17" W, 181.10 feet to an existing iron rod with cap; thence N 41°35'14" E, 588.82 feet to an existing
     iron rod with cap; thence N 49°17'43" W, 6.08 feet to an existing iron rod with cap; thence N 41°18'55" E, 146.30
     feet to an existing iron rod with cap; thence S 50°47'42" E, 32.07 feet to an existing iron rod with cap; thence N
     38°47'29" E, 93.75 feet to an existing iron rod with cap; thence N 48°06'54" W, 24.26 feet to an existing iron rod
     with cap; thence N 42°21'44" E, 288.03 feet to an existing iron rod with cap; thence N 48°24'17" W, 33.52 feet to
     an existing iron rod with cap; thence N 21°38'43" E, 151.76 feet to an existing iron rod with cap; thence N 03°21'40"
     W, 31.06 feet to an existing iron rod with cap; thence N 47°55'28" W, 16.85 feet to an existing iron rod with cap;
     thence N 43°22'53" E, 89.84 feet to an existing iron rod with cap; thence N 40°16'12" E, 340.58 feet to an existing
     iron rod with cap; thence in a southeasterly direction S 89°00'00" E, 120.59 feet to a set iron rod; thence N
     42°17'17" E, 104.01 feet to a set pk nail in Westover Road; thence leaving Westover Road and along Selfridge Road
     in a easterly direction with a non-tangent curve turning to the right with a radius of 455.00 feet, an arc length of
     332.54 feet, having a chord bearing of N 63°13'33" E and a chord distance of 325.19 feet to a set pk nail; thence
     along Selfridge Road N 84°09'49" E, 368.90 feet to a set pk nail, the Point of Beginning, containing 85.45 acres,
     more or less.



     PARCEL E
     BERKELEY VILLAGE EAST

     Commencing at an iron rod with cap located on the western side of Oak Forest Rd. (NCSR 1711), being McKim &
     Creed Control #1, having NC Grid Coordinates (N): 588,356.3340 (E): 2,316,295.4550, NAD 83 (2007) Datum;
     thence N 60°23'45" W, 3818.03 feet to a set iron rod with cap; the Point of Beginning, thence S 59°15'01" E, 813.57
     feet to a set iron rod with cap; thence S 59°18'56" E, 302.07 feet to a set iron rod with cap; thence S 59°21'28" E,
     515.77 feet to a set iron rod with cap; thence S 60°21'51" E, 59.58 feet to a set iron rod with cap; thence S 58°53'03"
     E, 119.10 feet to a set iron rod with cap; thence S 59°26'04" E, 265.81 feet to a set iron rod with cap; thence S
     60°07'59" E, 134.63 feet to a set iron rod with cap; thence S 59°17'09" E, 308.00 feet to a set iron rod with cap;
     thence S 58°25'57" E, 64.33 feet to a set iron rod with cap; thence S 59°21'53" E, 371.59 feet to a set iron rod with
     cap; thence S 57°27'01" E, 21.65 feet to a set iron rod with cap; thence S 41°37'30" W, 964.09 feet to a set iron rod
     with cap in the southeasterly side of Kenly Road; thence along the southeasterly side of Kenly Road, in a
     southwesterly direction with a non-tangent curve turning to the right with a radius of 1787.20 feet, an arc length of
     396.07 feet, having a chord bearing of S 47°59'03" W and a chord distance of 395.26 feet, to a set iron rod with cap;
     thence in a westerly direction with a compound tangent curve turning to the right with a radius of 1787.20 feet, an




USAF 000196
          Case 4:20-cv-00034-HRH     Document
                   EXH. 4 - USAF Master         107-4
                                        Development     Filed
                                                    & Mgmt     03/04/22
                                                           Agreement      Page 89 of 97
                                                                     with CAFL
                                                       Page 89 of 97
     arc length of 991.04 feet, having a chord bearing of S 70°13'07" W and a chord distance of 978.39 feet, to a set iron
     rod with cap, said corner being S 88°02'55" E, 307.36 feet from a pk nail set in the centerline intersection of Kenly
     Road and Bolling Drive; thence leaving the southeasterly side of Kenly Road and following the eastern side of
     Etchberger Road, N 03°24'59" W, 360.45 feet to an existing iron rod with cap on the north side of Maxwell Street;
     thence following the northern side of Maxwell Street in a southeasterly direction with a non-tangent curve turning to
     the left with a radius of 18.67 feet, an arc length of 31.06 feet, having a chord bearing of S 51°17'10" E and a chord
     distance of 27.60 feet, to an existing iron rod with cap; thence in a easterly direction with a non-tangent curve
     turning to the left with a radius of 1462.04 feet, an arc length of 495.53 feet, having a chord bearing of N 75°28'17"
     E and a chord distance of 493.17 feet, to an existing iron rod with cap; thence leaving said street N 22°05'33" W,
     134.51 feet to an existing iron rod with cap; thence in a westerly direction with a non-tangent curve turning to the
     right with a radius of 1327.56 feet, an arc length of 472.93 feet, having a chord bearing of S 75°42'58" W and a
     chord distance of 470.43feet, to an existing pk nail in the eastern side of Etchberger Road; thence with said road, N
     03°25'03" W, 468.59 feet to an existing pk nail in the northern side of Squier Avenue; thence with the northern side
     of said road, S 86°46'58" W, 583.17 feet to an existing iron rod with cap; thence in a northwesterly direction with a
     non-tangent curve turning to the right with a radius of 18.90 feet, an arc length of 29.31 feet, having a chord bearing
     of N 48°10'49" W and a chord distance of 26.46 feet, to a set iron rod with cap in the eastern side of Chandler Road;
     thence along the eastern side of said road, in a northwesterly direction with a non-tangent curve turning to the left
     with a radius of 1563.15 feet, an arc length of 1160.01 feet, having a chord bearing of N 26°28'48" W and a chord
     distance of 1133.58 feet, to an existing “X” in concrete; thence N 48°11'42" W, 379.34 feet to a set “X” in concrete;
     thence in a northwesterly direction with a non-tangent curve turning to the right with a radius of 1471.49 feet, an arc
     length of 148.62 feet, having a chord bearing of N 45°00'04" W and a chord distance of 148.55 feet, to a set “X” in
     concrete; thence in a northerly direction with a non-tangent curve turning to the right with a radius of 19.23 feet, an
     arc length of 39.36 feet, having a chord bearing of N 17°06'23" E and a chord distance of 32.84 feet, to a set iron rod
     with cap in the southern side of Scriven Road; thence with the southern side of said road, N 73°01'39" E, 452.82 feet
     to a set iron rod with cap; thence in a easterly direction with a non-tangent curve turning to the right with a radius of
     1106.01 feet, an arc length of 283.19 feet, having a chord bearing of N 78°18'40" E and a chord distance of 282.42
     feet, to a set iron rod with cap; thence leaving Scriven Road, N 22°11'03" E, 338.77 feet to the Point of Beginning,
     containing 98.16 acres more or less.


     PARCEL F
     BERKELEY VILLAGE SOUTH

     Commencing at an iron rod with cap located on the western side of Oak Forest Rd. (NCSR 1711), being McKim &
     Creed Control #1, having NC Grid Coordinates (N): 588,356.3340 (E): 2,316,295.4550, NAD 83 (2007) Datum;
     thence, S 72°12'10" W, 3068.73 feet to a pk nail set in the centerline intersection of Kenly Road and Bolling Drive;
     thence, N 88°54'00" W, 275.33 feet to a survey control monument marked “SJAFB 13”; thence, S 00°31'53" W,
     11.04 feet to a set “X” in concrete in the northern side of Kenly Road; the Point of Beginning, thence crossing said
     road, S 04°07'28" E, 46.24 feet to an existing iron rod with cap on the south side of Kenly Road and east side of
     Colman Road; thence along the east side of Colman Road, S 03°58'27" E, 1573.08 feet to an existing iron rod with
     cap; thence leaving said road, N 87°12'51" E, 17.75 feet to an existing iron rod with cap; thence parallel with
     Colman Road, S 01°13'08" W, 128.28 feet to an existing iron rod with cap; thence crossing Colman Road, N
     86°45'27" W, 78.14 feet to an existing iron rod with cap on the west side of said road; thence along the west side of
     Colman Road, N 01°14'00" E, 120.70 feet to an existing iron rod with cap; thence, N 03°52'44" W, 184.15 feet to a
     set iron rod with cap; thence leaving said road, S 78°25'39" W, 296.13 feet to a set iron rod with cap; thence, N
     67°39'44" W, 530.52 feet to a set iron rod with cap; thence, N 54°54'33" W, 1036.76 feet to an existing iron rod with
     cap on the south side of Kenly Road; thence crossing said road, N 48°15'19" W, 47.50 feet to a set pk nail on the
     north side of Kenly Road; thence along the north side of said road, N 41°44'14" E, 19.72 feet to a set “X” in
     concrete; thence in a northeasterly direction with a tangent curve turning to the right with a radius of 1917.50 feet,
     an arc length of 549.01 feet, having a chord bearing of N 49°56'23" E and a chord distance of 547.14 feet, to a set
     iron rod with cap; thence, N 58°08'31" E, 208.34 feet to a set iron rod with cap; thence in a easterly direction with a
     tangent curve turning to the right with a radius of 1017.50 feet, an arc length of 425.05 feet, having a chord bearing
     of N 70°06'34" E and a chord distance of 421.97 feet, to a set pk nail in Westover Road; thence, N 82°04'36" E,
     119.35 feet to a set iron rod with cap; thence, N 86°53'00" E, 64.84 feet to a set iron rod with cap; thence, N
     86°53'00" E, 437.15 feet to the Point of Beginning, containing 39.43 acres, more or less.




USAF 000197
          Case 4:20-cv-00034-HRH     Document
                   EXH. 4 - USAF Master         107-4
                                        Development     Filed
                                                    & Mgmt     03/04/22
                                                           Agreement      Page 90 of 97
                                                                     with CAFL
                                                       Page 90 of 97
     PARCEL J
     KENLY STREET ALIGNMENT

     Beginning, at a set pk nail in the north side of Kenly Road, the western most corner of Parcel F, thence crossing said
     road, S 48°15'19" E, 47.50 feet to an existing iron rod with cap; thence along the southern side of Kenly Road, S
     41°44'44" W, 213.32 feet to a set iron rod with cap; thence leaving said road S 46°33'03" E, 59.16 feet to a set iron
     rod with cap; thence S 44°30'08" W, 26.69 feet to a set iron rod with cap in the northeast side of Vermont Garrison
     Street; thence along said street N 49°09'23" W, 57.86 feet to a set pk nail; thence N 49°09'07" W, 105.05 feet to an
     existing iron rod with cap; thence, N 41°44'44" E, 244.29 feet to an existing iron rod with cap; thence, S 48°15'19"
     E, 57.54 feet to the Point of Beginning, containing 0.62 acres, more or less.


     PARCEL G
     PROPOSED SPORTS COMPLEX

     Commencing at an iron rod with cap located on the western side of Oak Forest Rd. (NCSR 1711), being McKim &
     Creed Control #1, having NC Grid Coordinates (N): 588,356.3340 (E): 2,316,295.4550, NAD 83 (2007) Datum;
     thence N 64°10'02" W, 844.35 feet to a set iron rod with cap; the Point of Beginning, said point being N 54°42'37"
     E, 160.70 feet from a pk nail set in the centerline road intersection of Scriven Rd and Kenly Rd; thence from said
     point of beginning, S 59°14'14" E , 436.50 feet to a set iron rod with cap; thence S 58°49'23" E, 273.27 feet to a set
     iron rod with cap; thence S 59°02'31" E, 94.20 feet to a set iron rod with cap; thence S 37°32'16" W, 40.40 feet to an
     iron rod set with cap; thence S 35°29'43" W, 56.27 feet to an iron rod set with cap; thence S 33°22'08" W, 30.84 feet
     to an iron rod set with cap; thence S 32°12'56" W, 21.51 feet to a set iron rod with cap; thence N 57°40'53" W, 29.58
     feet to a set iron rod with cap; thence S 32°42'00" W, 32.96 feet to a set iron rod with cap; thence S 57°21'08" E,
     29.85 feet to a set iron rod with cap; thence S 31°55'01" W, 531.39 feet to a set iron rod with cap; thence S
     31°56'05" W, 248.16 feet to a set iron rod with cap; thence S 31°55'25" W, 416.13 feet to a set iron rod with cap;
     thence S 31°13'04" W, 95.72 feet to a set iron rod with cap; thence S 30°26'56" W, 77.81 feet to a set iron rod with
     cap; thence S 29°39'55" W, 24.66 feet to a set iron rod with cap; thence N 60°26'24" W, 318.85 feet to a set iron rod
     with cap; thence in a northwesterly direction with a non-tangent curve turning to the left with a radius of 597.97 feet,
     an arc length of 281.40 feet, having a chord bearing of N 34°42'03" W and a chord distance of 278.81 feet, to a set
     iron rod with cap; thence N 45°14'42" W, 303.36 feet to a set iron rod with cap; thence in a northwesterly direction
     with a non-tangent curve turning to the right with a radius of 1951.02 feet, an arc length of 171.79 feet, having a
     chord bearing of N 39°17'31" W and a chord distance of 171.74 feet, to a set iron rod with cap; thence N 41°34'14"
     W, 40.06 feet to a set iron rod with cap located on the southeasterly side of Kenly Road; thence along the
     southeasterly side of Kenly Road, in a northeasterly direction with a non-tangent curve turning to the left with a
     radius of 1787.20 feet, an arc length of 396.07 feet, having a chord bearing of N 47°59'03" E and a chord distance of
     395.26 feet, to a set iron rod with cap; thence N 41°37'30" E, 964.09 feet to the Point of Beginning; containing 31.62
     acres more or less.




USAF 000198

          Case 4:20-cv-00034-HRH     Document
                   EXH. 4 - USAF Master         107-4
                                        Development     Filed
                                                    & Mgmt     03/04/22
                                                           Agreement      Page 91 of 97
                                                                     with CAFL
                                                       Page 91 of 97
                                            EXHIBIT B

                          CONTINENTAL GROUP AF PROJECT DOCUMENTS


     Note: The date of all of the following documents is the Effective Date unless otherwise
     indicated.

            1.     Lease of Property number AFMC-ED-1-13-001, relating to certain real property,
     personal property and improvements on Edwards Air Force Base, by and between the UNITED
     STATES OF AMERICA, acting by and through the Secretary of the Air Force, and the Project
     Owner (“Edwards AFB Lease”);

             2.     Lease of Property number USAF-FTQW-13-2-0001, relating to certain real
     property, personal property and improvements on Eielson Air Force Base, by and between the
     UNITED STATES OF AMERICA, acting by and through the Secretary of the Air Force, and the
     Project Owner (“Eielson AFB Lease”);

            3.     Lease of Property number FTFA-EG-1-11-007, relating to certain real property,
     personal property and improvements near on Eglin Air Force Base, by and between the UNITED
     STATES OF AMERICA, acting by and through the Secretary of the Air Force, and the Project
     Owner (“Eglin AFB Lease”);

            4.     Lease of Property number FTFA-EG-1-11-008, relating to certain real property,
     personal property and improvements on or near Hurlburt Field, by and between the UNITED
     STATES OF AMERICA, acting by and through the Secretary of the Air Force and the Project
     Owner (“Hurlburt Field Lease”);

            5.      Lease of Property number O/LEA/AMC/MCC/13-0001, relating to certain real
     property, personal property and improvements on or near McConnell Air Force Base, by and
     between the UNITED STATES OF AMERICA, acting by and through the Secretary of the Air
     Force and the Project Owner (“McConnell AFB Lease”);

            6.      Lease of Property number USAF-ACC-VKAG-3-13-013, relating to certain real
     property, personal property and improvements on or near Seymour Johnson Air Force Base, by
     and between the UNITED STATES OF AMERICA, acting by and through the Secretary of the
     Air Force and the Project Owner (“Seymour Johnson AFB Lease”);

            7.      Memorandum of Lease of Property relating to the Edwards AFB Lease, by and
     between the UNITED STATES OF AMERICA, acting by and through the Secretary of the Air
     Force, and the Project Owner, to be recorded in the land records of Kern County, California;

            8.      Memorandum of Lease of Property relating to the Eielson AFB Lease, by and
     between the UNITED STATES OF AMERICA, acting by and through the Secretary of the Air
     Force, and the Project Owner, to be recorded in the land records of Fairbanks, Alaska;




                                                 B-1
     MDMA - Continental
     FINAL
USAF 000199
           Case 4:20-cv-00034-HRH     Document
                    EXH. 4 - USAF Master         107-4
                                         Development     Filed
                                                     & Mgmt     03/04/22
                                                            Agreement      Page 92 of 97
                                                                      with CAFL
                                           Page 92 of 97
            9.      Memorandum of Lease of Property relating to the Eglin AFB Lease, by and
     between the UNITED STATES OF AMERICA, acting by and through the Secretary of the Air
     Force, and the Project Owner, to be recorded in the land records of Okaloosa County, Florida;

            10.     Memorandum of Lease of Property relating to the Hurlburt Field Lease, by and
     between the UNITED STATES OF AMERICA, acting by and through the Secretary of the Air
     Force, and the Project Owner, to be recorded in the land records of Okaloosa County, Florida

            11.     Memorandum of Lease of Property relating to the McConnell AFB Lease, by and
     between the UNITED STATES OF AMERICA, acting by and through the Secretary of the Air
     Force, and the Project Owner, to be recorded in the land records of Sedgwick, Kansas;

             12.    Memorandum of Lease of Property relating to the Seymour Johnson AFB Lease,
     by and between the UNITED STATES OF AMERICA, acting by and through the Secretary of
     the Air Force, and the Project Owner, to be recorded in the land records of Wayne County, North
     Carolina;

            13.     Quitclaim Deed, relating to Edwards Air Force Base, by the United States of
     America, acting by and through the Secretary of the Air Force, to the Project Owner, to be
     recorded in the land records of Kern County, California;

            14.     Quitclaim Deed, relating to Eielson Air Force Base, by the United States of
     America, acting by and through the Secretary of the Air Force, to the Project Owner, to be
     recorded in the land records of Fairbanks, Alaska;

            15.     Quitclaim Deed, relating to Eglin Air Force Base, by the United States of
     America, acting by and through the Secretary of the Air Force, to the Project Owner to be
     recorded in the land records of Okaloosa, Florida;

             16.    Quitclaim Deed, relating to Hurlburt Field, by the United States of America,
     acting by and through the Secretary of the Air Force, to the Project Owner, to be recorded in the
     land records of Okaloosa County, Florida;

            17.     Quitclaim Deed, relating to McConnell Air Force Base, by the United States of
     America, acting by and through the Secretary of the Air Force, to the Project Owner, to be
     recorded in the land records of Sedgwick, Kansas;

             18.    Quitclaim Deed, relating to Seymour Johnson Air Force Base, by the United
     States of America, acting by and through the Secretary of the Air Force, to the Project Owner, to
     be recorded in the land records of Wayne County, North Carolina;

            19.    Lockbox Agreement by and among the United States of America, acting by and
     through the Secretary of the Air Force, the Project Owner, Senior Lender, and Lockbox Agent;

           20.    Deed of Trust, Security Agreement and Agreement to Share Proceeds, relating to
     Edwards Air Force Base, by the Project Owner and the United States of America, acting by and



                                                   B-2
     MDMA - Continental
     FINAL
USAF 000200
           Case 4:20-cv-00034-HRH     Document
                    EXH. 4 - USAF Master         107-4
                                         Development     Filed
                                                     & Mgmt     03/04/22
                                                            Agreement      Page 93 of 97
                                                                      with CAFL
                                             Page 93 of 97
     through the Secretary of the Air Force, to be recorded in the land records of Kern County,
     California;

            21.    Deed of Trust, Security Agreement and Agreement to Share Proceeds, relating to
     Eielson Air Force Base, by the Project Owner and the United States of America, acting by and
     through the Secretary of the Air Force, to be recorded in the land records of Fairbanks, Alaska;

             22.   Deed of Trust, Security Agreement and Agreement to Share Proceeds, relating to
     Eglin Air Force Base, by the Project Owner and the United States of America, acting by and
     through the Secretary of the Air Force, to be recorded in the land records of Okaloosa County,
     Florida

            23.     Deed of Trust, Security Agreement and Agreement to Share Proceeds relating to
     Hurlburt Field, by the Project Owner and the United States of America, acting by and through
     the Secretary of the Air Force, to be recorded in the land records of Okaloosa County, Florida;

            24.    Deed of Trust, Security Agreement and Agreement to Share Proceeds relating to
     McConnell Air Force Base, by the Project Owner and the United States of America, acting by
     and through the Secretary of the Air Force, to be recorded in the land records of Sedgwick,
     Kansas;

           25.     Deed of Trust, Security Agreement and Agreement to Share Proceeds relating to
     Seymour Johnson Air Force Base, by the Project Owner and the United States of America, acting
     by and through the Secretary of the Air Force, to be recorded in the land records of Wayne
     County, North Carolina;

           26.     Master Development and Management Agreement, between the United States of
     America, acting by and through the Secretary of the Air Force and the Project Owner;

            27.    Project Operating Agreement, between the United States of America, acting by
     and through the Secretary of the Air Force and the Project Owner;

            28.    BRAC Purchase Option Agreement (Continental Group), by and between the
     United States of America, acting by and through the Secretary of the Air Force and the Project
     Owner;

             29.   Memorandum of Purchase Option, relating to Edwards Air Force Base, by and
     among the United States of America, acting by and through the Secretary of the Air Force and
     the Project Owner, to be recorded in Kern County, California;

             30.   Memorandum of Purchase Option, relating to Eielson Air Force Base, by and
     among the United States of America, acting by and through the Secretary of the Air Force and
     the Project Owner, to be recorded in Fairbanks, Alaska;

             31.   Memorandum of Purchase Option, relating to Eglin Air Force Base, by and
     among the United States of America, acting by and through the Secretary of the Air Force and
     the Project Owner, to be recorded in Okaloosa County, Florida;


                                                   B-3
     MDMA - Continental
     FINAL
USAF 000201
           Case 4:20-cv-00034-HRH     Document
                    EXH. 4 - USAF Master         107-4
                                         Development     Filed
                                                     & Mgmt     03/04/22
                                                            Agreement      Page 94 of 97
                                                                      with CAFL
                                             Page 94 of 97
            32.    Memorandum of Purchase Option, relating to Hurlburt Field, by and among the
     United States of America, acting by and through the Secretary of the Air Force and the Project
     Owner, to be recorded in Okaloosa County, Florida;

             33.   Memorandum of Purchase Option, relating to McConnell Air Force Base, by and
     among the United States of America, acting by and through the Secretary of the Air Force and
     the Project Owner, to be recorded in Jackson County, Mississippi;

            34.     Memorandum of Purchase Option, relating to Seymour Johnson Air Force Base,
     by and among the United States of America, acting by and through the Secretary of the Air Force
     and the Project Owner, to be recorded in Jackson County, Mississippi;

            35.     Utility Services Agreement, relating to Edwards Air Force Base, by and between
     the United States of America, acting by and through the Secretary of the Air Force, represented
     by the Edwards Air Force Base Civil Engineer, and the Project Owner;

            36.     Utility Services Agreement, relating to Eielson Air Force Base, by and between
     the United States of America, acting by and through the Secretary of the Air Force, represented
     by the Eielson Air Force Base Civil Engineer, and the Project Owner;

             37.    Utility Services Agreement, relating to Eglin Air Force Base, by and between the
     United States of America, acting by and through the Secretary of the Air Force, represented by
     the Eglin Air Force Base Civil Engineer, and the Project Owner;

            38.     Utility Services Agreement, relating to Hurlburt Field, by and between the United
     States of America, acting by and through the Secretary of the Air Force, represented by the
     Hurlburt Field Civil Engineer, and the Project Owner;

            39.     Utility Services Agreement, relating to McConnell Air Force Base, by and
     between the United States of America, acting by and through the Secretary of the Air Force,
     represented by the McConnell Air Force Base Civil Engineer, and the Project Owner;

            40.     Utility Services Agreement, relating to Seymour Johnson Air Force Base, by and
     between the United States of America, acting by and through the Secretary of the Air Force,
     represented by the Seymour Johnson Air Force Base Civil Engineer, and the Project Owner;

             41.    UCC 1 Financing Statement to be filed in the Office of the Secretary of State for
     the State of Delaware by the United States Department of the Air Force.




                                                   B-4
     MDMA - Continental
     FINAL
USAF 000202
           Case 4:20-cv-00034-HRH     Document
                    EXH. 4 - USAF Master         107-4
                                         Development     Filed
                                                     & Mgmt     03/04/22
                                                            Agreement      Page 95 of 97
                                                                      with CAFL
                                             Page 95 of 97
                                               EXHIBIT C
                                            REVIEWED PLANS

     Civil Design Documents
             Edwards Air Force Base, Military Family Housing – 4/22/2103 Plans: Revised per 35% review
              Comments (Approval 35% proceed to 65% 8/30/2013)
             Eglin Air Force Base, Military Family Housing – 4/22/2103 Plans: Revised per 35% review
              Comments (Approval 35% proceed to 65% 8/30/2013)
             Eielson AFB – 0% Submitted
             Hurlburt Field, Military Family Housing – 4/22/2103 Plans: Revised per 35% review Comments
              (Approval 35% proceed to 65% 8/30/2013)
             McConnell Air Force Base, Military Family Housing – 4/22/2103 Plans: Revised per 35% review
              Comments (Approval 35% proceed to 65% 8/30/2013)
             Seymour Johnson Air Force Base, Military Family Housing – 4/22/2103 Plans: Revised per 35%
              review Comments (Approval 35% proceed to 65% 8/30/2013)
         
     Amenity Design Documents
             Edwards Air Force Base, Military Family Housing – 4/22/2103 Plans: Revised per 35% review
              Comments (Approval 35% proceed to 65% 8/30/2013)
             Eglin Air Force Base, Military Family Housing – 4/22/2103 Plans: Revised per 35% review
              Comments (Approval 35% proceed to 65% 8/30/2013)
             Eielson AFB – 0% Submitted
             Hurlburt Field, Military Family Housing – 4/22/2103 Plans: Revised per 35% review Comments
              (Approval 35% proceed to 65% 8/30/2013)
             McConnell Air Force Base, Military Family Housing – 4/22/2103 Plans: Revised per 35% review
              Comments (Approval 35% proceed to 65% 8/30/2013)
             Seymour Johnson Air Force Base, Military Family Housing –
                     4/22/13 (Amenity) Plan: Rev per 35% Comments (Approval to proceed to 65% -
              8/30/2013)
                     8/28/13 (Sports Fields) Plan: 15% design concept (Approval to proceed to 35% -
              8/30/2013)

     Renovation Design Documents
             Edwards Air Force Base, Military Family Housing – 4/22/2103 Plans: Revised per 35% review
              Comments (Approval 35% proceed to 65% 8/30/2013)
             Eielson AFB – included in scope outline of Renovation specs – 100% Approval 8/30/2103
             McConnell Air Force Base, Military Family Housing – 4/22/2103 Plans: Revised per 35% review
              Comments (Approval 35% proceed to 65% 8/30/2013)
             Seymour Johnson Air Force Base, Military Family Housing – 4/22/2103 Plans: Revised per 35%
              review Comments (Approval 35% proceed to 65% 8/30/2013)




                                                      C-1
     MDMA - Continental
     FINAL
USAF 000203
          Case 4:20-cv-00034-HRH     Document
                   EXH. 4 - USAF Master         107-4
                                        Development     Filed
                                                    & Mgmt     03/04/22
                                                           Agreement      Page 96 of 97
                                                                     with CAFL
                                                Page 96 of 97
              Continued

     New Home Design Documents
             Eglin Air Force Base, Military Family Housing – 4/22/2103 Plans: Revised per 35% review
              Comments (Approval 35% proceed to 65% 8/30/2013)
             Hurlburt Field, Military Family Housing – 4/22/2103 Plans: Revised per 35% review Comments
              (Approval 35% proceed to 65% 8/30/2013)
             McConnell Air Force Base, Military Family Housing – 4/22/2103 Plans: Revised per 35% review
              Comments (Approval 35% proceed to 65% 8/30/2013)

     Community Center Design Documents
             Edwards Air Force Base, Military Family Housing – 4/22/2103 Plans: Revised per 35% review
              Comments (Approval 35% proceed to 65% 8/30/2013)
             Eglin Air Force Base, Military Family Housing – 4/22/2103 Plans: Revised per 35% review
              Comments (Approval 35% proceed to 65% 8/30/2013)
             Eielson AFB – 15% Submitted 8/28/2103 (Approved to proceed to 35% 8/30/2013)
             Hurlburt Field, Military Family Housing – 4/22/2103 Plans: Revised per 35% review Comments
              (Approval 35% proceed to 65% 8/30/2013)
             McConnell Air Force Base, Military Family Housing – 4/22/2103 Plans: Revised per 35% review
              Comments (Approval 35% proceed to 65% 8/30/2013)
             Seymour Johnson Air Force Base, Military Family Housing – 4/22/2103 Plans: Revised per 35%
              review Comments (Approval 35% proceed to 65% 8/30/2013)




                                                     C-2
     MDMA - Continental
     FINAL
USAF 000204

          Case 4:20-cv-00034-HRH     Document
                   EXH. 4 - USAF Master         107-4
                                        Development     Filed
                                                    & Mgmt     03/04/22
                                                           Agreement      Page 97 of 97
                                                                     with CAFL
                                               Page 97 of 97
